Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 1 of
                                      184

                                                                       Page 1
                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                               CASE NO.:     2:16cv14413

             TAVARES DOCHER, by and through
             JANICE DOCHER-NEELEY, his mother
             and legal guardian,

                               Plaintiff,
             vs.
             CHRISTOPHER NEWMAN,
             individually; CLAYTON MANGRUM,
             individually; CALVIN ROBINSON,
             individually; WADE COURTEMANCHE,
             individually; KEN J. MASCARA, as
             SHERIFF of ST. LUCIE COUNTY,
             Florida; JOSE ROSARIO,
             individually; and the ST. LUCIE
             COUNTY FIRE DISTRICT, an
             independent special district,

                            Defendants.
             ________________________________/



                                      DEPOSITION OF

                                      JOSE ROSARIO

                                       VOLUME 1
                                  Pages 1 through 159

                              Thursday, April 13, 2017
                               10:00 a.m. - 1:18 p.m.

                                 Phipps Reporting
                           Bayshore Professional Center
                   1680 Southwest Bayshore Boulevard, Suite 100
                              Port St. Lucie, Florida



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Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 2 of
                                      184

                                                                       Page 2
                            Stenographically Reported By:
                                   Ninette Butler
                              RPR, CRR, CRC, RSA, FPR




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Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 3 of
                                      184

                                                                       Page 3
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Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 4 of
                                      184

                                                                       Page 4
        1
        2                               I N D E X
        3    Examination                                           Page
        4                   VOLUME 1 (Pages 1 - 159)
        5    JOSE ROSARIO
        6    Direct            By Mr. Hecht                           5
             Cross             By Ms. Barranco                      113
        7
             Certificate of Oath                                    156
        8    Certificate of Reporter                                157
             Read and Sign Letter to Witness                        158
        9    Errata Sheet (forwarded upon execution)                159
       10
       11                         PLAINTIFF EXHIBITS
       12
             No.                                                   Page
       13
              1     Emergency Medical Guidelines, Fourth              48
       14           Edition
       15     2     06/17/14 letter from Brian Blizzard               52
                    to Janite Docher-Neeley
       16
              3     05/11/14 Incident Report                          55
       17
              4     02/15/06 Emergency Medical                        95
       18           Guidelines, Combative Patients
       19
       20                          DEFENSE EXHIBITS
       21
       22    No.                                                   Page
       23     1     St. Lucie County Sheriff's Office               142
                    Statement Form
       24
       25


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Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 5 of
                                      184

                                                                       Page 5
        1          The following proceedings began at 10:00 a.m.:
        2                COURT REPORTER:      Raise your right hand,
        3          please.
        4                Do you solemnly swear or affirm the
        5          testimony you will give today will be the
        6          truth, the whole truth, and nothing but the
        7          truth?
        8                THE WITNESS:     Yes, I do.
        9                             JOSE ROSARIO,
       10    having been sworn by the Clerk testified as follows:
       11                         DIRECT EXAMINATION
       12    BY MR. HECHT:
       13          Q.    Could you please state your name?
       14          A.    Jose Rosario.
       15          Q.    And what is your date of birth?
       16          A.
       17          Q.    Where do you live?       What city?
       18          A.    Port St. Lucie.
       19          Q.    Do you have any plans of moving in the
       20    next year?
       21          A.    No.
       22          Q.    Who's your current employer?
       23          A.    St. Lucie County Fire District.
       24          Q.    How long have you worked for the St. Lucie
       25    County Fire District?


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Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 6 of
                                      184

                                                                       Page 6
        1          A.    Since February 28, 2005.
        2          Q.    And when you began working at the
        3    St. Lucie County Fire District, what was your
        4    position there?
        5          A.    Firefighter/EMT.
        6          Q.    What is a firefighter/EMT?
        7          A.    It's someone who stays certified as a
        8    Class 2 firefighter and emergency medical
        9    technician, basic-level medical care.
       10          Q.    What is a Class 2 firefighter?
       11          A.    A Class 2 firefighter is someone who is
       12    able to show up on scene on a call, mitigate the
       13    call and overhaul.
       14          Q.    And you said you were also an EMT, which
       15    is basic-level medical care; is that correct?
       16          A.    Yes.
       17          Q.    Is there a level of medical care that is
       18    more advanced than an EMT?
       19          A.    Yes.    That's a paramedic.
       20          Q.    So tell me the difference between being an
       21    EMT and being a paramedic.
       22          A.    Being a paramedic requires you to do extra
       23    schooling and requires you to work under a certain
       24    set of protocols that is approved by a medical
       25    physician, and we are able to administer medication


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Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 7 of
                                      184

                                                                       Page 7
        1    on a need basis depending on the situation that we
        2    receive when somebody calls 911.
        3          Q.    During your employment with the St. Lucie
        4    County Fire District, have you held any other
        5    positions besides a firefighter and an EMT?
        6          A.    I am a paramedic.
        7          Q.    When did you become a paramedic?
        8          A.    In 2006.     And I was a -- we have to go
        9    through a process, apprenticeship process.            Since
       10    July of 2007, I was officially under the St. Lucie
       11    County Fire District, able to function as a
       12    paramedic.
       13          Q.    And tell me what sort of training did you
       14    have to go through to become a paramedic.
       15          A.    Paramedic training derives from -- you
       16    have to have an EMT prior to paramedic training.
       17    That's sort of a prerequisite.         In paramedic
       18    training, there's a variety of things that you have
       19    to learn when it comes to etiology, how certain
       20    body -- how your body reacts to certain medications.
       21    So you learn the -- what certain doses of
       22    medications that would work within our protocol,
       23    what they do for the body, how they react.            They
       24    also have to learn advanced cardiac life support,
       25    which is when the body stops working and how we are


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Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 8 of
                                      184

                                                                       Page 8
        1    able to revive that.       And that also, in terms -- it
        2    includes medications also and electric therapy.
        3          Q.    Do you get a license or a certificate when
        4    you became a paramedic in 2006, 2007?
        5          A.    Yes.
        6          Q.    Do you have to renew that?
        7          A.    Yes.
        8          Q.    How often?
        9          A.    Every two years.
       10          Q.    And have you done that since 2006 and
       11    2007?
       12          A.    It is a requirement to stay employed at
       13    St. Lucie County Fire District.          We do what they
       14    call CEUs, different classes, a variety of issues
       15    that we may run on, will be counted towards credit
       16    for our certificates.       ACLS is also another one,
       17    renewal ACLS, to be able to send that over to the
       18    State and renew our certificate.
       19          Q.    BLS stands for what?
       20          A.    Basic life support.
       21          Q.    And ACLS?
       22          A.    Advanced cardiac life support.
       23          Q.    And you're certified in both?
       24          A.    Yes.
       25          Q.    Tell me about your education, beginning


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Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 9 of
                                      184

                                                                         Page 9
        1    with high school.
        2          A.    High school, B honor roll.         After high
        3    school, I went to look for -- find a career, so I
        4    ventured off into the nitty-gritty and I started
        5    working for UPS for a little bit.
        6                After that, when I saw that that's not the
        7    route I wanted to go, I started doing -- working for
        8    an insurance company, working for Allstate, selling
        9    car insurance and homeowners insurance.            Then I
       10    didn't want to do that either.         I wanted to do what
       11    I wanted to do since I was a child, and I went to
       12    EMT school.     And so I went through the process,
       13    through IRSC, through EMT school.          And after that --
       14    you need that to become a firefighter certified.              So
       15    I had to go through fire school also.           So I went
       16    through that process and fire school.           And I got
       17    hired ten months later.        And I maintained my EMT
       18    license for a year to learn the department, you
       19    know, learn the aspects of being an EMT.
       20                And then I went and took an admin in
       21    physiology, which is a prerequisite for medic
       22    school, so I went to medic school.          And that took
       23    about a year, medic school, and then an
       24    apprenticeship program that the district has, and
       25    then I was released.


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Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 10 of
                                      184

                                                                       Page 10
        1                 And since then, I have taken courses,
        2    online courses for management.          I got my AA degree
        3    in fire administration.        And I'm currently in -- I'm
        4    sorry -- in fire science.         I'm currently in my --
        5    working to get my bachelor's degree in fire
        6    administration.
        7           Q.    What were the years that you worked for
        8    UPS?
        9           A.    That was probably, I want to say -- I'm
       10    just guessing -- 2001.        This is a while ago.
       11           Q.    2001 to when?
       12           A.    It was only -- it was within a year.
       13           Q.    Okay.   You worked at UPS for one year or
       14    less?
       15           A.    Yes.    The same thing with Allstate --
       16           Q.    All right.
       17           A.    -- which was the company I was working
       18    for, the insurance.
       19           Q.    And you sold car insurance?
       20           A.    Car insurance and homeowners insurance.
       21           Q.    And you did that for a year or less?
       22           A.    Yes.
       23           Q.    Was that both, the UPS and working for
       24    Allstate, was that all within Port St. Lucie?
       25           A.    No.    UPS was down here in Brevard


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Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 11 of
                                      184

                                                                       Page 11
        1    initially until I transferred over to Fort Pierce,
        2    the UPS location.       And the Allstate agency was in
        3    Vero Beach.
        4          Q.     So Blue Heron was in Riviera Beach?
        5          A.     Palm Beach.     I'm not 100 percent.
        6          Q.     Blue Heron is in Riviera Beach.
        7          A.     Okay.   Yeah.    Sure.    Yeah.   It was a long
        8    drive.     I had to be there at 4:00 in the morning.
        9          Q.     All right.     And where did you go to medic
       10    school?
       11          A.     IRSC.
       12          Q.     Where is that?
       13          A.     In Fort Pierce.
       14          Q.     Okay.   All right.     During your entire
       15    career working for the St. Lucie County Fire
       16    District, have you held any other positions besides
       17    firefighter, EMT, and paramedic?
       18          A.     I'm currently in the special operations
       19    division in my job.
       20          Q.     What is that?
       21          A.     Special operations is a set of our job
       22    that requires us to do specialty type of rescues,
       23    which includes high angle rescues, trans rescues,
       24    confined space, VMR, HazMat, things like that.
       25                 So those things are -- I had to take extra


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Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 12 of
                                      184

                                                                       Page 12
        1    classes to be certified in those to be accepted in a
        2    special operations team.
        3          Q.     And tell me specifically about your
        4    training, whether it was during your training to
        5    become an EMT/firefighter or your training to become
        6    a paramedic as it relates to administering sedatives
        7    such as Ativan.
        8          A.     My training -- that would all fall under
        9    paramedic.     EMT do not do invasive procedures, but
       10    further training teaches us to do things such as
       11    needle cric, cricothyrotomy, chest decompression,
       12    IV, IV drug administration, and look for
       13    interactions after.       So the training that came -- in
       14    terms of the Ativan came through my paramedic
       15    training.
       16          Q.     Okay.   And how long does paramedic
       17    training last?
       18          A.     Approximately one year.
       19          Q.     And during that one year, how much time is
       20    to -- strike that.
       21                 How much -- strike that.
       22                 During that one year of training, how much
       23    time is devoted to training you how to administer
       24    sedatives such as Ativan?
       25          A.     I can't tell you a specific number.          I'd


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Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 13 of
                                      184

                                                                        Page 13
        1    have to look back at the IRSC's itinerary as to --
        2    in terms of like -- we had drug carts.            We had
        3    various types of drugs.        We don't only just work
        4    with sedatives.      We work with cardiac drugs.         We
        5    work with drugs that are able to raise your blood
        6    sugar level, other forms of cardiac drugs that are
        7    able to restart your heart, stop your heart.             It's a
        8    wide variety of medications that we can use.             So
        9    what they -- they didn't specifically teach on one
       10    thing or another.       They just -- it was a broad thing
       11    because it was through public college and not
       12    specifically St. Lucie County Fire District, so they
       13    weren't teaching specifically St. Lucie County
       14    district fire protocols.        They were teaching
       15    generally about these medications, so wherever you
       16    are to be hired, you were able to reference back
       17    what you were taught.
       18          Q.     Do you still have your syllabus from 2006,
       19    2007 when you underwent your paramedic training?
       20          A.     I do not.
       21          Q.     Was there a course specifically that was
       22    devoted to administering sedatives such as Ativan
       23    during your one-year training?
       24          A.     Not that I'm aware of.
       25          Q.     So just tell me specifically during the


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Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 14 of
                                      184

                                                                       Page 14
        1    one-year training, how was the training broken down
        2    in terms of training you how to administer sedatives
        3    such as Ativan or other benzodiazepines?
        4          A.     That portion of the training came a lot
        5    later on in the training.         And it was presented as
        6    a -- a group of issues that may occur that you would
        7    consider using benzodiazepines.          One of them is
        8    intubation, to be able to sedate somebody to be able
        9    to stick a tube down their throat to breathe for
       10    them.    Another one is patients that are violent, to
       11    be able to help remove them from the situation so
       12    they don't cause harm to themselves or to others.
       13    And so that was sort of spread out.           And in terms of
       14    specific, hey, this is just for that and this for
       15    that, they sort of put it all in one basket and say,
       16    hey, this is what Ativan does.          This is the
       17    interactions.      These are the dosages and these are
       18    the uses that you may be able to use them.
       19                 Now, after that training, like I said, we
       20    have to constantly maintain our CEUs for paramedic
       21    licensing.     So since 2007, I've maintained my
       22    license consistently, so the district has provided
       23    training, ACLS training, which touches on uses of
       24    Ativan, postintubation, to keep us refreshed on the
       25    drug interactions and the usage on the medications


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Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 15 of
                                      184

                                                                       Page 15
        1    specifically.
        2          Q.     Are you able to tell me since 2007 how
        3    many continuing hours of education you have
        4    undergone as it relates to administering Ativan?
        5          A.     No.    That would be through the Fire
        6    District.
        7          Q.     The Fire District would have your CLEs or
        8    continuing education?
        9          A.     Yes.    Yes.
       10          Q.     Have you ever, during your career with the
       11    St. Lucie County Fire District, been reprimanded or
       12    suspended for any reason?
       13          A.     I have been reprimanded for, like, hitting
       14    the building backing up when I was -- you know,
       15    stuff like that but not for medical reasons.             And
       16    that you can pull up on -- it's public record.
       17          Q.     Sure.   Let's talk about, as you phrased
       18    it, the "stuff like that."         What is it that you
       19    backed up, I'm assuming, in an ambulance --
       20          A.     Uh-huh.
       21          Q.     -- and hit something?
       22          A.     I was backing into the bay at Station 5
       23    and I -- the apron for backing up is real short, and
       24    I didn't cut hard enough, and I hit one of the
       25    posts, the bumper.


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Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 16 of
                                      184

                                                                       Page 16
        1          Q.     When was that?
        2          A.     Probably two thousand -- I'm just
        3    guessing.     It would be around 2006.
        4          Q.     Okay.   Besides that, any sort of other
        5    reprimands or suspensions for any reason?
        6          A.     No suspensions.      There was another one
        7    where the garage door came down on the -- on the
        8    light bar on the engine, and still don't know why it
        9    came down.     The door was open, but -- I'm not sure
       10    if it was just partially open.          I'm not -- either
       11    way, they have to -- because it was damage to
       12    property, I got written up for that.
       13          Q.     Okay.   Anything else besides those two
       14    instances?
       15          A.     I can't think of any right now.
       16          Q.     Okay.   What is respiratory depression?
       17          A.     It's caused by a variety of external
       18    issues.    Respiratory depression is when the
       19    respiration of a person is reduced by either an
       20    external factor or a chemical factor.            It reduces
       21    somebody's respiration rate from normal to below
       22    normal.
       23          Q.     Can respiratory depression be fatal?
       24                 MR. NEWMAN:     Object to form.
       25                 You can answer.


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Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 17 of
                                      184

                                                                       Page 17
        1                 MS. BARRANCO:     Same objection.
        2          A.     Respiratory depression, if not treated,
        3    can be fatal.
        4    BY MR. HECHT:
        5          Q.     Someone can die from respiratory
        6    depression?
        7                 MR. NEWMAN:     Object to form.
        8                 MS. BARRANCO:     Form.
        9          A.     If not treated, it can be fatal.
       10    BY MR. HECHT:
       11          Q.     Can someone -- strike that.
       12                 Can respiratory depression cause someone
       13    to go into a coma?
       14                 MR. NEWMAN:     Object to form.
       15                 MS. BARRANCO:     Form.
       16          A.     It's on a case-by-case basis because it
       17    depends on whether they're being treated at the time
       18    of depression or not.
       19    BY MR. HECHT:
       20          Q.     Can severe respiratory depression cause
       21    someone to go into a coma?
       22                 MR. NEWMAN:     Object to form.      It's vague.
       23          Incomplete hypothetical.
       24                 MS. BARRANCO:     Form.
       25                 MR. NEWMAN:     You can answer.


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Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 18 of
                                      184

                                                                       Page 18
        1          A.     The -- it's on a case-by-case basis as to
        2    what severe is.
        3    BY MR. HECHT:
        4          Q.     Well, in your training and experience,
        5    have you learned what severe respiratory depression
        6    means?
        7          A.     I have seen a variety of respiratory
        8    depression and, as a paramedic, I try to stay ahead
        9    of the game instead of catching up.           So we have the
       10    option to be able to take over somebody's
       11    respiratory drive when we deem that is insufficient.
       12          Q.     Is there a difference to you between mild,
       13    moderate, and severe respiratory depression?
       14                 MR. NEWMAN:     Object to form.
       15          A.     On a case-by-case basis, there is.
       16    BY MR. HECHT:
       17          Q.     If I asked you to define what mild
       18    respiratory depression is versus moderate
       19    respiratory depression versus severe respiratory
       20    depression, would you be able to do that?
       21          A.     I can differentiate severe respiratory
       22    depression with mild.        In the middle section is very
       23    objective.
       24          Q.     All right.     Tell me the difference between
       25    mild respiratory depression and severe respiratory


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Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 19 of
                                      184

                                                                       Page 19
        1    depression.
        2                 MR. NEWMAN:     Object to form.
        3          A.     Somebody who is in mild respiratory
        4    depression is -- I want to say -- to use the word
        5    "respiratory depression," it almost makes it an
        6    oxymoron.     Basically it's a short-of-breath person
        7    that is still able to maintain their own airway and
        8    can have a length of time without damaging any
        9    organs or their brain because of their lack of
       10    breathing.
       11                 And opposite, somebody who is in severe
       12    respiratory distress is someone who needs
       13    intervention to help prevent any brain damage or
       14    organ failure.
       15    BY MR. HECHT:
       16          Q.     Are you able to define the signs and
       17    symptoms of respiratory depression?
       18          A.     I can define -- not to -- not in fact.           I
       19    can do it by my experiences.
       20          Q.     Sure.   Yeah.    Tell me, based on your
       21    training and experience, what the signs and symptoms
       22    are of respiratory depression.
       23          A.     Well, initially, if I'm approaching a
       24    patient -- we get called for a respiratory.             So, in
       25    my mind, I'm thinking of respiratory algorithms as


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Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 20 of
                                      184

                                                                       Page 20
        1    to how I'm going to treat this.
        2                 Respiratory ailments come in various
        3    forms, and so I cannot treat one respiratory ailment
        4    like I do every single other, so they're all going
        5    to be specific to that patient.
        6                 The mild form would probably be in terms
        7    of, like, anxiety, when somebody is mentally getting
        8    themselves into a state of mind where they feel like
        9    they cannot catch their breath.          Something like that
       10    may or may not require Ativan to relax them.             Or if
       11    you're able to speak with them and calm them down
       12    and get their heart rate back down, then you've done
       13    your job.
       14                 Then you can move over to something in
       15    terms of some sort of ailment, physical ailment like
       16    COPD, asthma, emphysema.        And with that, you're able
       17    to assess the patient's lungs.          You're able to
       18    assess their heart rate.        Usually when your heart
       19    rate increases, it's because there is a lack of
       20    oxygen.    Your body is trying to compensate.           And
       21    so -- and also we are able to assess their oxygen
       22    saturation.     And you sort of put those together and
       23    how our patient is presenting physically -- do they
       24    have pursed lip?       Are they trying to -- are they
       25    retracting?     There's just various forms of signs


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Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 21 of
                                      184

                                                                       Page 21
        1    that you can see on a patient that, hey, this
        2    patient is lacking oxygen and they're in a hypoxic
        3    drive at this time.       So at that point you would
        4    intervene based on is it congestive heart failure?
        5    Is it COPD?     And your medication varies from that
        6    point on.
        7          Q.     Would a sighing pattern of breathing be a
        8    symptom of respiratory depression?
        9          A.     Depending on the situation because
       10    somebody who is athletic and in good shape will
       11    breathe differently from somebody who is unhealthy,
       12    and which will read differently from somebody who is
       13    in mental anguish or distress.
       14          Q.     Would deep breaths separated by abnormally
       15    long pauses be a symptom of respiratory depression?
       16          A.     Depending on the situation.
       17          Q.     So is your answer it could be?
       18          A.     It's plausible and on a case-by-case
       19    basis.
       20          Q.     What is hypoxia?
       21                 MR. NEWMAN:     Form.
       22          A.     Hypoxia is hypo, meaning low; oxia,
       23    meaning oxygen.      So it's low oxygen in the body.
       24    BY MR. HECHT:
       25          Q.     And can someone die from hypoxia?


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Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 22 of
                                      184

                                                                       Page 22
        1                 MR. NEWMAN:     Object to form.
        2          A.     As previously stated, if any of these
        3    symptoms or signs are progressing and are not
        4    treated, then over time there's brain failure and
        5    organ failure, happen.
        6    BY MR. HECHT:
        7          Q.     So someone can die from hypoxia?
        8          A.     Someone can die if it's not treated, by
        9    hypoxia, over time.
       10          Q.     I'm sorry.
       11          A.     I'm saying over time.
       12          Q.     How much time?
       13                 MR. NEWMAN:     Object to form.
       14          A.     Everybody has different metabolisms, their
       15    status, people that can hold their breath for 20
       16    minutes, 30 minutes under water because they have
       17    conditioned themselves to that, and there are people
       18    that need oxygen on a daily basis just to breathe.
       19    BY MR. HECHT:
       20          Q.     What is a benzodiazepine?
       21          A.     Benzodiazepine is a class of drugs that
       22    are used for epilepsy, sedatives-type drugs to be
       23    able to relax and calm seizures, eclampsia,
       24    preclampsia, combative patients, postintubation.
       25    That's what we use it specifically for.


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Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 23 of
                                      184

                                                                       Page 23
        1          Q.     Benzodiazepines are central nervous system
        2    depressants; is that correct?
        3          A.     Yes.
        4          Q.     Is alcohol also a central nervous system
        5    depressant?
        6                 MR. NEWMAN:     Object to form.
        7          A.     I'm not an alcohol expert.        I don't know.
        8    BY MR. HECHT:
        9          Q.     When you were undergoing your training to
       10    become a paramedic, did you undergo any courses in
       11    terms of how to treat patients that were under the
       12    influence of alcohol?
       13          A.     Not specifically, because we treat
       14    symptoms.     If they're alcoholic, they're an
       15    alcoholic.     That's nothing prehospital that we are
       16    able to do for them.        Are they having a heart attack
       17    while they're inebriated?         Then we can treat that.
       18    But we can't fix their alcoholism.
       19          Q.     I understand that, and let me be clear.
       20                 During your training to become a
       21    paramedic, was there any specific training in how to
       22    administer a sedative to an individual that may be
       23    under the influence of alcohol?
       24                 MR. NEWMAN:     Object to the form.
       25          A.     The training -- just because somebody is


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Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 24 of
                                      184

                                                                       Page 24
        1    taking alcohol or under the influence doesn't mean
        2    they need medication.        The sedatives specifically
        3    are used for people that fall under our protocol,
        4    which combativeness is under our set protocol.              And
        5    so we have training based on how to deal with
        6    combative patients, not specifically alcoholic or
        7    drug -- person who's under the influence of drugs.
        8    BY MR. HECHT:
        9          Q.     Okay.   So if I -- if I hear you
       10    correctly -- and please tell me if I'm wrong --
       11    during your training to become a paramedic, you
       12    learned how to deal with and treat patients that are
       13    combative and administer a sedative, but there
       14    wasn't any specific training in how to treat a
       15    patient with a sedative that may be under the
       16    influence of alcohol.        Is that a fair statement?
       17                 MR. NEWMAN:     Object to form.
       18          A.     I think when we were -- I believe when we
       19    were taught the training through specifically Ativan
       20    and combativeness, it encompassed a lot.            It
       21    encompassed a wide variety of uses, whether the
       22    patient had something in their system or not,
       23    because Ativan -- the protocols that they give us,
       24    the parameters that they give us are such low
       25    parameters that -- the dosage that we are not


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Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 25 of
                                      184

                                                                       Page 25
        1    allowed to give is out of our reach.           And so based
        2    on those protocols that are assigned under a
        3    physician, giving these medications, we're able to
        4    use that in a wide variety of instances.
        5    BY MR. HECHT:
        6          Q.     Okay.   What do you mean by "low
        7    parameters"?
        8          A.     Well, with any medications or with
        9    anything, there are doses that you're able to give a
       10    patient and have a sort of a buffer zone between
       11    what their lethal dose might be and what a working
       12    dose might be.       So, for example, if I -- if I have
       13    nitroglycerine to help open somebody's coronary
       14    arteries because they're having a heart attack, I'm
       15    not going to give them 1,000 milligrams when it's in
       16    micrograms because that is a lethal dose.            You know,
       17    we have -- we have parameters to work under, and
       18    those parameters are well below what a lethal dose
       19    might be for anybody else.
       20          Q.     Okay.   So here's what I want to know
       21    specifically:      During the training that you
       22    underwent to become a paramedic, can you tell me
       23    about what you learned as it relates to
       24    administering a benzodiazepine to an individual that
       25    is under the influence of alcohol?


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Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 26 of
                                      184

                                                                       Page 26
        1                 MR. NEWMAN:     Let me object to form.       And I
        2          need to ask for clarification.          You said
        3          "training."      It's not clear to me whether
        4          you're asking him when he was in the
        5          firefighter/paramedic school, or do you mean
        6          the training he's received since being employed
        7          with the Fire District?
        8          A.     It's continual training --
        9                 MR. NEWMAN:     No, no, no.     Don't answer it,
       10          please, because I need to make sure that I
       11          understand the question.
       12                 MR. HECHT:     My specific question -- and
       13          I'll just rephrase it.
       14    BY MR. HECHT:
       15          Q.     During the year that you were in paramedic
       16    school, I want to know specifically what you were
       17    taught about how to treat a patient with a
       18    benzodiazepine when you come in contact with someone
       19    that's under the influence of alcohol.
       20          A.     Okay.   And that's to assume that I can
       21    tell that they're under the influence?
       22          Q.     Have you ever come in contact with someone
       23    that's under the influence of alcohol?
       24          A.     If they told me that they are -- they have
       25    been drinking, I note that in my report.


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Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 27 of
                                      184

                                                                       Page 27
        1          Q.     Okay.
        2          A.     But I can't assume that they have been
        3    drinking because I don't have any training to
        4    recognize that they have been drinking.
        5          Q.     So you, during your training beginning
        6    with becoming a firefighter/EMT, continuing through
        7    your paramedic training, continuing through your
        8    on-the-job training up until today, cannot recognize
        9    the signs and symptoms of someone that's under the
       10    influence of alcohol?
       11                 MR. NEWMAN:     Object to form.      Misstates
       12          the testimony.
       13                 You can answer.
       14          A.     We are not trained to recognize whether
       15    somebody has taken specific medication, alcohol.              We
       16    are -- we go by what we are told.           And even so, we
       17    are not 100 percent.        We have to treat what we see
       18    because the time that we have with the patient is
       19    short.     It's prehospital.      And so the goal is to get
       20    the patient to the hospital in a packaged form;
       21    meaning, we have stopped -- if it's a respiratory
       22    ailment, we have been able to assess it and treat it
       23    and getting them to further care at the hospital.
       24    BY MR. HECHT:
       25          Q.     Okay.   So I want to make sure I'm clear.


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Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 28 of
                                      184

                                                                       Page 28
        1    The ten-plus years that you've been working for the
        2    St. Lucie County Fire District, you have not learned
        3    in any way, shape and form how to identify the signs
        4    and symptoms of someone that's under the influence
        5    of alcohol.     Is that a true statement?
        6                 MR. NEWMAN:     Object to form.
        7          A.     Yes.    I have not been taught.
        8    BY MR. HECHT:
        9          Q.     Okay.   Have you ever seen a drunk person?
       10          A.     I have seen a person that I assume was
       11    drunk.
       12          Q.     Okay.   What are some of the things you
       13    notice about that person?
       14          A.     Somebody who is stumbling, somebody who is
       15    at times loud and belligerent.          I'm just going by
       16    what I've seen on TV or at the bar or something like
       17    that.    I don't know.      That's about it.
       18          Q.     What about an altered mental status?
       19                 MR. NEWMAN:     Object to form.
       20          A.     I don't usually know that person.          Maybe
       21    that's how they are all the time.
       22    BY MR. HECHT:
       23          Q.     Let me ask you this:       Have you ever drank
       24    alcohol?
       25          A.     I have.


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Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 29 of
                                      184

                                                                       Page 29
        1          Q.     Okay.   Have you ever gotten drunk?
        2          A.     No.
        3          Q.     Okay.   I'm going to ask this again because
        4    we got off track.       Is Ativan a central nervous
        5    system depressant?
        6                 MR. NEWMAN:     Object to form.
        7          A.     Can I just verify that through the
        8    paperwork, just to make sure that I am giving the
        9    correct answer?
       10    BY MR. HECHT:
       11          Q.     What paperwork are you referring to?
       12          A.     The Ativan --
       13          Q.     Wait.   Don't -- I'm just curious.         I don't
       14    know what you have in front of you.           Just --
       15          A.     Okay.   It's just a paper that shows about
       16    Ativan as the medication itself and basically from
       17    the manufacturer.
       18          Q.     Okay.   Well --
       19          A.     It is a central nervous depressant, but I
       20    could specifically read it, that statement to you,
       21    from the manufacturer.
       22          Q.     Okay.   Yeah.    I don't want you to do that.
       23    I just want to know, based on your training and
       24    experience working for the St. Lucie County Fire
       25    District, whether or not you can tell me if Ativan


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Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 30 of
                                      184

                                                                       Page 30
        1    is a central nervous system depressant.
        2          A.     Yes.
        3          Q.     Okay.   It is?
        4          A.     Yes.
        5          Q.     Okay.   And Ativan is also called
        6    Lorazepam; is that correct?
        7          A.     Yes.
        8          Q.     And it's a type of benzodiazepine?
        9          A.     Yes.
       10          Q.     And is it correct that all benzodiazepines
       11    are central nervous system depressants?
       12                 MR. NEWMAN:     Object to form.
       13          A.     As far as I'm aware of, they are.          All the
       14    benzos are a central nervous system depressant.
       15    That's their action of drug -- what the action of
       16    the drug does.
       17    BY MR. HECHT:
       18          Q.     And are you able to tell me whether
       19    alcohol is a central nervous system depressant?
       20                 MR. NEWMAN:     Object to form.
       21          A.     I would not be trained as to how alcohol
       22    affects a specific person and to be able to point
       23    that out on a specific person.
       24    BY MR. HECHT:
       25          Q.     Are you able to tell me how the


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Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 31 of
                                      184

                                                                       Page 31
        1    interaction of Ativan and alcohol could affect a
        2    human being?
        3                 MR. NEWMAN:     Form objection.
        4          A.     I do not have training on the interaction
        5    of alcohol and Ativan.
        6    BY MR. HECHT:
        7          Q.     Is respiratory depression a common
        8    physical side effect of a central nervous depressant
        9    such as Ativan?
       10                 MR. NEWMAN:     Object to form.
       11          A.     Specifically talking about Ativan?
       12    BY MR. HECHT:
       13          Q.     Do you want me to rephrase the question?
       14          A.     Yes.
       15          Q.     Okay.   Is respiratory depression a common
       16    physical side effect of a central nervous system
       17    depressant such as Ativan?
       18                 MR. NEWMAN:     Object to form.
       19          A.     Okay.   If we are using Ativan specifically
       20    in higher doses, the -- what was I going to say? --
       21    the causes of Ativan can cause central nervous
       22    system depression.       And that's on a case-by-case
       23    basis because everybody's metabolism is different so
       24    they're going to metabolize things differently.
       25


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Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 32 of
                                      184

                                                                       Page 32
        1    BY MR. HECHT:
        2          Q.     And you said the dosage.        What do you mean
        3    by dosage, depending on the dosage?
        4          A.     Well, for me specifically, we're working
        5    within our protocols that is signed off by a
        6    physician.     And they give us a -- protocols that
        7    gives a parameter as to what we need to -- with what
        8    we can administer on a case-by-case basis.             If we
        9    have to go outside of those parameters, then we
       10    would call for a physician, online medical
       11    physician.     And in our report, that would be noted,
       12    who the physician was and what the orders were.
       13          Q.     And what does the protocol say regarding
       14    dosage for an adult when it comes to administering
       15    Ativan?
       16          A.     It says 1 milligram up to 4 milligrams.
       17    Anything past 4 milligrams, they need physician
       18    consult.
       19          Q.     So would you agree with me that a
       20    4-milligram dose of Ativan could cause respiratory
       21    depression?
       22                 MR. NEWMAN:     Object to form.
       23          A.     No.
       24    BY MR. HECHT:
       25          Q.     The protocol, when you talk about the


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Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 33 of
                                      184

                                                                       Page 33
        1    dosage between 1 to 4 milligrams, are you supposed
        2    to give those dosages in increments and allow a
        3    certain amount of time to go by, or do the protocols
        4    allow you to choose whether you just want to give 1
        5    milligram, 2 milligrams, 3 milligrams, 4 milligrams
        6    in dose?
        7          A.     Could you repeat that?
        8          Q.     Sure.
        9                 You were describing the dosages to me
       10    between 1 milligram to 4 milligrams, correct?
       11          A.     That's correct.
       12          Q.     And my question is, do the protocols give
       13    you, as the paramedic, discretion in terms of how
       14    much dosage you want to give to a patient?
       15          A.     Yes.
       16          Q.     Do you need to wait a certain amount of
       17    time between dosages, or can you simply inject
       18    intravenously a patient with 4 milligrams of Ativan?
       19          A.     It's on a case-by-case basis because
       20    people may require it, but as long as -- protocols
       21    itself are not ironclad.        Here, you have to do it
       22    this way.     They give us these parameters because
       23    they know that everybody's interaction is going to
       24    be different.       So if we work within that parameter,
       25    we're still within our protocol and still following


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Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 34 of
                                      184

                                                                       Page 34
        1    what we were signed off as by a physician.
        2          Q.     Since becoming a paramedic, how many times
        3    have you administered Ativan to a patient?
        4          A.     I cannot give you the specific number.
        5          Q.     Can you give me a range?
        6          A.     Fifty to 200, possibly even more.
        7          Q.     Okay.
        8          A.     Yeah.
        9          Q.     And in the range that you just gave me,
       10    are you able to tell me, within that range, how many
       11    times you've given a 4-milligram dose in one
       12    injection to a patient?
       13          A.     Possibly half that time.
       14          Q.     So let's just say that -- and I'm not
       15    holding you to this number -- that you've injected
       16    200 patients with Ativan.         Are you saying that out
       17    of that 200, you've injected 100 with a single dose
       18    of 4 milligrams of Ativan?
       19          A.     Without specific numbers, I don't want to
       20    be hypothetical about it.         Give or take, yes.
       21          Q.     Okay.   Does Ativan cause sedation?
       22          A.     Ativan is used for sedation, yes.
       23          Q.     Does alcohol cause sedation?
       24                 MR. NEWMAN:     Object to form.
       25          A.     I don't have any training in alcohol.           We


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Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 35 of
                                      184

                                                                       Page 35
        1    don't give that as a medication.
        2    BY MR. HECHT:
        3          Q.     And, again, you wouldn't be able to tell
        4    me how the combination of Ativan and alcohol would
        5    affect sedation in a human being, correct?
        6          A.     That's correct.
        7          Q.     Does Ativan slow down the rate and depth
        8    of respirations?
        9                 MR. NEWMAN:     Object to form.
       10          A.     It's dose dependent and patient dependent.
       11    BY MR. HECHT:
       12          Q.     Are there times when Ativan will not slow
       13    down the rate and depth of respirations in a
       14    patient?
       15                 MR. NEWMAN:     Object to form.
       16          A.     It's dose dependent and patient dependent.
       17    It's all on their own metabolism and what's going on
       18    at the time.
       19    BY MR. HECHT:
       20          Q.     In your experience, have you seen patients
       21    where you've intravenously injected Ativan, and
       22    their rates and depths of respirations don't slow
       23    down?
       24          A.     Yes.
       25          Q.     How many times?


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Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 36 of
                                      184

                                                                       Page 36
        1          A.     I can't tell you the specific number.
        2          Q.     Is that common?
        3          A.     It's depending on the person and their own
        4    metabolism.
        5          Q.     Can Ativan cause respiratory failure?
        6                 MR. NEWMAN:     Object to form.
        7          A.     Ativan, if administered, and the patient
        8    is not monitored and -- you know, one of the
        9    contraindications of Ativan is hypersensitivity.
       10    And so we don't know what the -- you know, working
       11    within our protocols, it's just the parameters that
       12    we use.    If we give a high dose of Ativan, I'm
       13    assuming it has to be in the 20-, 30-milligram
       14    range.     You would probably have to breathe for that
       15    person.
       16    BY MR. HECHT:
       17          Q.     Is a single 4-milligram intravenous
       18    injection of Ativan a high dose to you?
       19          A.     Depending on the situation.         Each patient
       20    is different.
       21          Q.     Let me ask you about Tavares Docher, which
       22    is what we're here to talk about today.            Do you
       23    remember that incident on May 11, 2014?
       24          A.     I've gone over it in my mind.
       25          Q.     Okay.   I mean, do you have an independent


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Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 37 of
                                      184

                                                                       Page 37
        1    recollection of that incident?
        2          A.     Based on my report, yes.        That's how we
        3    kind of reference back to our report, so -- three
        4    years later.
        5          Q.     Okay.   Based on your independent
        6    recollection, based on your EMS report, based on any
        7    record that you've looked at prior to today, my
        8    question is, as it relates to Tavares Docher, are
        9    you able to tell me whether or not the 4-milligram
       10    dose of Ativan that you injected him with on that
       11    day and time is considered a large dose?
       12          A.     I gave the medication for him -- to help
       13    him from his situation and help him from causing
       14    either further harm to himself or the officers or
       15    even to us.     So being that the medication is -- was
       16    given intramuscularly and the absorption rate is
       17    different than intravenous, I felt 4 milligrams of
       18    Ativan was the appropriate dosage to help remedy the
       19    situation.
       20          Q.     Okay.   So let me rephrase my question,
       21    then.
       22                 The 4-milligram dose of Ativan that you
       23    intramuscularly injected into Tavares Docher on
       24    May 11, 2014, do you consider that 4-milligram dose
       25    to be a high dose?


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Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 38 of
                                      184

                                                                       Page 38
        1          A.     No.
        2          Q.     Tell me what your protocol is for
        3    administering Ativan.
        4          A.     For specifically combativeness, eclampsia,
        5    preeclampsia, or --
        6          Q.     Yeah, for combativeness.
        7          A.     For combativeness is 1 to 4 milligrams.
        8    Anything past 4 milligrams, a physician consult for
        9    combative patients.
       10          Q.     And is it up to you to decide whether to
       11    administer 1 milligram or 4 milligrams?
       12          A.     Yes.
       13          Q.     You don't need to get permission or speak
       14    to a supervisor?
       15          A.     No.    That's why we went through the medic
       16    training and work under a physician's license.
       17    We've gone through apprenticeship programs and
       18    everything like that.        Protocols give us parameters.
       19          Q.     What are some of the contraindications
       20    with Ativan?
       21          A.     As far as I know, it's hypersensitivity.
       22          Q.     What about alcohol?
       23          A.     It's not, that I'm aware of.
       24          Q.     It's not, that you're aware of?
       25          A.     I'm not aware of alcohol being a


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Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 39 of
                                      184

                                                                       Page 39
        1    contraindication of Ativan.
        2          Q.     Is pulse oximetry a vital sign?
        3          A.     It is one of our vital signs.
        4          Q.     Okay.   And did you utilize that on Tavares
        5    Docher?
        6          A.     During the call, yes, I believe.
        7          Q.     I'm sorry.     Tell me when you're ready.
        8          A.     Yes.
        9          Q.     What's a normal pulse oximeter reading for
       10    an adult male?
       11          A.     Between 94 percent and 100 percent.
       12          Q.     What is normal arterial oxygen in an adult
       13    male in terms of millimeters of mercury?
       14          A.     I'm not sure what you're asking.
       15          Q.     Well, does pulse oximetry measure the
       16    arterial oxygen in the human body?
       17          A.     Yes.
       18          Q.     Okay.   So my question is, what's normal
       19    arterial oxygen in millimeters of mercury in a human
       20    body?
       21          A.     We don't -- prehospital, we are concerned
       22    with the percentage, between 94 and 100 percent.
       23    Those values cannot be taken prehospital because you
       24    need an arterial blood gas draw from the hospital,
       25    which we don't do.


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Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 40 of
                                      184

                                                                       Page 40
        1          Q.     What's the normal respiratory rate for an
        2    adult male at rest?
        3          A.     Twelve to 20.
        4          Q.     Beats per minute?
        5          A.     Breaths per minute.
        6          Q.     I'm sorry.     Breaths per minute?
        7          A.     Yes.
        8          Q.     And if you're under 12 breaths per minute,
        9    what does that mean?
       10          A.     Various things.      You could be at rest.
       11    You could be athletic.        And you can have a
       12    respiratory ailment.
       13          Q.     And what if you're above 25 breaths per
       14    minute?
       15          A.     Various things.      You could be out of
       16    shape.     People have that just by walking.         You could
       17    have COPD or some sort of lung deficiency.             It could
       18    be anxiety.     It could be medication-induced.          It
       19    could be the environment outside that's causing
       20    increase.     It could be infections.        There's a lot of
       21    variety of things.
       22          Q.     And you told me that pulse oximetry is a
       23    vital sign, correct?
       24          A.     It's one of our vital signs.
       25          Q.     Is respiratory rate also a vital sign?


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Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 41 of
                                      184

                                                                       Page 41
        1          A.     It's one of our vital signs, yes.
        2          Q.     And are you taught to examine a patient's
        3    degree of consciousness?
        4          A.     Yes.
        5          Q.     Okay.   And, in doing so, do you utilize
        6    the Glasgow Coma Scale?
        7          A.     Yes.
        8          Q.     And what is that?
        9          A.     It tests the patient in three areas:           The
       10    eyes and the verbal and the motor sensory.
       11          Q.     How are you trained to reverse Ativan?
       12          A.     We were trained -- I was trained at IRSC
       13    to reverse Ativan with a medication called
       14    Romazicon, which it's usually for what they call
       15    Ativan toxicity or Ativan overdose.           Mainly, when
       16    patients try to harm themselves and they have their
       17    own medications of Ativan and they take a whole
       18    bottle of Ativan, and the Romazicon does reverse
       19    that.    We don't carry Romazicon.
       20          Q.     Have you ever heard of Flumazenil,
       21    F-L-U-M-A-Z-E-N-I-L?
       22          A.     I don't -- I'm not aware.        I'm thinking
       23    maybe it's the tradename for Romazicon.
       24          Q.     Have you ever utilized Flumazenil?
       25          A.     We don't carry that medication.


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Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 42 of
                                      184

                                                                       Page 42
        1          Q.     Do you know, in your career as a
        2    paramedic, if you've ever administered Ativan to
        3    someone who's drunk?
        4          A.     I cannot tell you whether somebody is
        5    drunk or not unless they told me they were drinking,
        6    but I do not know their level of what drunk is.
        7          Q.     Are you -- strike that.
        8                 Have you gone through any sort of training
        9    that's instructed you to ask a patient before
       10    administering Ativan whether or not they've had
       11    anything to drink?
       12          A.     That is not one of our questionings that
       13    we do when we have to give Ativan.
       14          Q.     If you learned that someone was under the
       15    influence of alcohol, would that prevent you from
       16    giving them 4 milligrams of Ativan intramuscularly?
       17                 MR. NEWMAN:     Object to form.
       18          A.     If I learn that somebody was under the
       19    influence of alcohol, I'm going to treat the patient
       20    as they are at that point in time with what they
       21    need to be treated.
       22    BY MR. HECHT:
       23          Q.     Okay.   But let me ask you specifically.
       24    If you knew that someone was under the influence of
       25    alcohol, would that alone prevent you from


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Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 43 of
                                      184

                                                                       Page 43
        1    administering 4 milligrams of Ativan to them in
        2    certain situations?
        3                 MR. NEWMAN:     Object to form.
        4          A.     No.
        5    BY MR. HECHT:
        6          Q.     What is blunt force trauma?
        7                 MR. NEWMAN:     Object to form.
        8          A.     Blunt force trauma would be trauma caused
        9    to the body that is done by an external action where
       10    the body is struck by various objects, persons,
       11    accidents or anything like that that would cause
       12    harm to the person -- the person's body.
       13    BY MR. HECHT:
       14          Q.     Based on your training and experience, can
       15    you administer Ativan to a patient if they're
       16    suffering blunt force trauma to their head?
       17                 MR. NEWMAN:     Object to the form.
       18          A.     It's on a case-by-case basis.
       19    BY MR. HECHT:
       20          Q.     My question is, though, in your protocols,
       21    is there anywhere that says that you cannot
       22    administer Ativan to an individual that is suffering
       23    blunt force trauma to their head?
       24          A.     No.
       25          Q.     Are there risks of administering Ativan to


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Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 44 of
                                      184

                                                                       Page 44
        1    a patient who has suffered blunt force trauma to
        2    their head?
        3                 MR. NEWMAN:     Object to form.
        4                 MS. BARRANCO:     Same objection.
        5          A.     That would be on a case-by-case basis.
        6    What we do prehospital is a set of protocols that
        7    are signed off by a physician prehospital.             They
        8    would have to do blood work, all kinds of stuff that
        9    we're not able to do.        But we can only treat what we
       10    have in front of us.
       11    BY MR. HECHT:
       12          Q.     During your entire career, including all
       13    of your training and all of your experience, have
       14    you ever been instructed or taught from anyone the
       15    risks, if any, of administering Ativan to an
       16    individual who has suffered blunt force trauma to
       17    the head?
       18          A.     Is it assuming that it's a teachable type
       19    of thing, or --
       20          Q.     All I want to know is during your entire
       21    career, ten-plus years as an EMT, as a firefighter,
       22    including all the training that you've undergone,
       23    whether it be on the job or in the classroom, has
       24    anyone, instructor, a professor, a doctor ever
       25    taught you or discussed with you the risks


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Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 45 of
                                      184

                                                                       Page 45
        1    associated, if any, with administering Ativan to a
        2    patient who has suffered blunt force trauma to their
        3    head?
        4          A.     Specifically the risks, no.
        5                 That's assuming that it's a risk.          You see
        6    what I'm saying?       If I run into a patient that's
        7    been in an accident, they were ejected out of their
        8    vehicle and I have to -- they're still not sedated
        9    because of their trauma but they have obvious head
       10    injuries or bodily injuries, Ativan is going to be
       11    my medication of choice postsedation so that I could
       12    keep them sedated throughout the call, as I turn
       13    them over to the hospital.
       14          Q.     And I understand that.       I hear what you're
       15    saying.    But, again, my question was very simple.
       16                 Ten-plus years that you've been working
       17    for the St. Lucie County Fire District, has anyone
       18    trained you as to any risks involved with
       19    administering Ativan to a patient who has suffered
       20    head trauma?
       21                 MR. NEWMAN:     Object to form.      Asked and
       22          answered.
       23                 You can answer.
       24          A.     What you're saying is that there's an
       25    assumed risk if somebody has blunt force trauma on


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Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 46 of
                                      184

                                                                       Page 46
        1    their body, that Ativan works adversely to help that
        2    patient.     You see what I'm saying?        You're -- you're
        3    assuming there's a risk with the blunt force trauma.
        4    BY MR. HECHT:
        5          Q.     I'm not assuming anything.        I'm not a
        6    paramedic.     I'm not a medical professional.          I'm
        7    just asking the questions.         I just want to know --
        8          A.     I just want to make sure that you
        9    understand that I understand that there's -- for
       10    various situations, Ativan can be used.            And if
       11    there was any issues, then I would specifically have
       12    been told, "Hey, this person has that specific
       13    issue.     You can't give Ativan."       When it comes to
       14    blunt force trauma, I was never told, "If they have
       15    blunt force trauma, that's a contraindication to
       16    Ativan."
       17          Q.     And I wasn't talking about
       18    contraindications.       And I'm going to ask it again,
       19    all right, because I still don't think I've gotten a
       20    clear answer.      I'm going to ask it one more time.
       21                 Has anyone during your ten-plus career --
       22    ten -- strike that.
       23                 Has anyone during your ten-plus year
       24    career at the St. Lucie County Fire District ever
       25    instructed you, trained you about the risks, if any,


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Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 47 of
                                      184

                                                                       Page 47
        1    of administering Ativan to a patient who has
        2    suffered blunt force trauma to the head?
        3                 MR. NEWMAN:     Object to form.      Asked and
        4          answered.
        5                 You can answer.
        6                 THE WITNESS:     I'm sorry.     Repeat that
        7          again, please?
        8                 MR. HECHT:     Could you read it back?
        9                 COURT REPORTER:      Sure.
       10                 (Requested portion read back.)
       11          A.     Not specifically to blunt force trauma.
       12    We were given a generality of uses for the
       13    medication.     It sort of encompasses a lot of things,
       14    from seizures to combativeness and everything that
       15    falls in between.       So not specifically to blunt
       16    force trauma, but that falls under the umbrella of
       17    these are our treatment protocols.
       18    BY MR. HECHT:
       19          Q.     The protocols that you're talking about,
       20    is that a written set of protocols?
       21          A.     Yes.
       22          Q.     And when were you provided with those
       23    protocols?
       24          A.     It's available to us at any time.
       25          Q.     Okay.   Were you provided that in paramedic


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Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 48 of
                                      184

                                                                       Page 48
        1    school?
        2          A.     In paramedic school, they did not
        3    specifically follow St. Lucie County Fire District
        4    protocol because they were a public school, so they
        5    had to teach their own specific protocol that
        6    encompasses the multijurisdictional, multiagency
        7    protocols so that wherever we try to look for a job,
        8    we're able to use what we've learned.
        9                 (Thereupon, marked as Plaintiff
       10          Exhibit 1.)
       11    BY MR. HECHT:
       12          Q.     Okay.   I'm going to show you what we'll
       13    mark as Plaintiff's Exhibit 1.
       14                 Have you seen this before?
       15                 MR. NEWMAN:     Hang on.    Let me look at it
       16          first.
       17                 I think the only question is have you seen
       18          this before.
       19          A.     Yes, I have.
       20    BY MR. HECHT:
       21          Q.     Okay.   And what is that that I just handed
       22    you, Plaintiff's Exhibit 1?
       23          A.     This looks to be -- this looks to be part
       24    of our protocol.       According to this, it's the 2006
       25    revision.


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Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 49 of
                                      184

                                                                       Page 49
        1          Q.     I'm actually going to hand you a bunch
        2    more.    I'm not going to withhold them, but there's a
        3    lot here.     This is all --
        4          A.     This seems to be the procedural guidelines
        5    and the protocol and the educational guidelines as
        6    part of our beginning portion of our protocol,
        7    before they got onto -- here's a little more
        8    procedural guideline stuff.
        9                 Okay.   Right here is where they have
       10    protocol separated under medical, environmental.
       11    That's only cardiac in here.         Okay.    Trauma,
       12    different types of cardiac rhythms and stuff that
       13    are treated differently.        So this seems to be part
       14    of the drugs.      Okay.    This is more educational.
       15    Some of this looks like they repeat.           This seems to
       16    be a compilation of our protocols.
       17          Q.     Okay.
       18          A.     Our past protocols.       They have been
       19    updated since.
       20          Q.     Yeah.   And that was my question.         When we
       21    flip through -- and we can mark the whole --
       22    everything that I just handed you as Plaintiff's
       23    Exhibit 1.     There's different years.        If you look at
       24    the bottoms, it'll say 2005, 2006.           I think there's
       25    a 2009.    Why are the years different?


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Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 50 of
                                      184

                                                                       Page 50
        1          A.     I'm not part of that committee.         A lot of
        2    times the -- medicine changes all the time, and so
        3    either the educational guidelines may be cut down
        4    some so it's not as long.
        5          Q.     Okay.   Can I -- can I get back all of
        6    Exhibit 1?
        7          A.     Sure.
        8          Q.     So just so that we're clear, Plaintiff's
        9    Exhibit 1 is the protocols that you keep referring
       10    to; is that correct?
       11          A.     Those specifically -- I've got to see if
       12    that's the ones that are -- that were active
       13    while -- during this time.
       14          Q.     Okay.
       15          A.     And we're talking about 2010, correct?
       16          Q.     The incident involving Tavares Docher is
       17    2014.
       18          A.     2014.   I'm sorry.
       19                 So I'm not -- there's been several
       20    revisions.     And when they revise it, sometimes they
       21    do it by piece, so that's why you may see some
       22    protocols from one date or another.           I'm not
       23    100 percent sure as to what revision specifically
       24    and the date that protocol, in regards to combative
       25    patients, if it's been added to or not.


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Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 51 of
                                      184

                                                                       Page 51
        1          Q.     Okay.   All right.     You don't know.
        2          A.     I have to look.      I have to find -- I have
        3    to research --
        4          Q.     Okay.
        5          A.     -- just to be 100 percent sure.
        6          Q.     But Plaintiff's Exhibit 1, which I've
        7    shown you, this is the protocol for the St. Lucie
        8    County Fire District at some point.           You're just not
        9    sure if it was in existence in 2014, correct?
       10          A.     That's correct.
       11          Q.     Okay.   Fair enough.
       12                 Do you have Plaintiff's Exhibit 1 --
       13    strike that.
       14                 The protocols, do you carry those around
       15    with you in your truck or in your bag?
       16          A.     We carry it around in our trucks, and we
       17    have it -- it's in digital form.          So I can just pull
       18    it up on PDF.
       19                 MR. HECHT:     Okay.   All right.     I'm going
       20          to go ahead and mark as Plaintiff's Exhibit 2
       21          this document that I believe contained
       22          protocols.     This was provided to us on
       23          June 17th, 2014, by Brian Blizzard, who's the
       24          deputy chief of St. Lucie County Fire District.
       25


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Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 52 of
                                      184

                                                                       Page 52
        1                 (Thereupon, marked as Plaintiff
        2          Exhibit 2.)
        3                 MR. NEWMAN:     Did you want to ask him about
        4          this?
        5                 MR. HECHT:     I do.
        6                 MR. NEWMAN:     Okay.
        7    BY MR. HECHT:
        8          Q.     So on page M-10, it talks about sedation.
        9    Do you see that?
       10          A.     Yes, sir.
       11          Q.     Okay.   Under "Caution," it says,
       12    "Benzodiazepines may cause respiratory depression or
       13    compromise."
       14                 Do you see that?
       15          A.     Yes.
       16          Q.     You knew that on May 11, 2014, correct?
       17          A.     Yes.
       18          Q.     Okay.   And it says, "When administering,
       19    observe for signs of hypotension or respiratory
       20    depression."
       21                 Do you see that?
       22          A.     Yes.
       23          Q.     And on May 11, 2014, you were aware that
       24    benzodiazepines may cause hypotension or respiratory
       25    depression, correct?


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Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 53 of
                                      184

                                                                       Page 53
        1          A.     We need to observe for signs.         Yes, it may
        2    cause it.
        3          Q.     Okay.   And under "ALS," which stands for
        4    advanced life support?
        5          A.     Yes.
        6          Q.     It says, "Ativan 1 milligram increments to
        7    a max of 4 milligrams."
        8                 Do you see that?
        9          A.     Yes, sir.
       10          Q.     What does that mean to you?
       11          A.     That means I can choose to do 1 milligram
       12    increments, but I can only go a max of 4, unless I
       13    do greater doses, and I have to ask for a physician
       14    consult.
       15          Q.     Okay.   So does that mean to you, where it
       16    says, "Ativan 1 milligram increments to a max of
       17    4 milligrams," that the protocol allows you to
       18    intramuscularly administer 4 milligrams in one dose
       19    to a patient?
       20          A.     Yes.
       21          Q.     It doesn't mean to you that you need to
       22    start with a lesser dose and work your way up to
       23    4 milligrams over time?
       24          A.     It allows us to choose on a case-by-case
       25    basis what we feel -- what we deem is necessary for


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Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 54 of
                                      184

                                                                       Page 54
        1    that time.
        2          Q.     All right.     Let's talk about May 11, 2014,
        3    okay?    And certainly take out your -- the report if
        4    you need to.
        5          A.     All right.
        6                 MR. NEWMAN:     We have been going about an
        7          hour.
        8                 MR. HECHT:     Do you want to take a break?
        9                 MR. NEWMAN:     Yeah.   Let's take a
       10          five-minute break.
       11                 (Recess 11:06 a.m. until 11:14 a.m.)
       12    BY MR. HECHT:
       13          Q.     Before we took the break, I was about to
       14    ask you some questions about what it is that you
       15    recall in terms of your involvement with Mr. Docher,
       16    so that's what we're going to talk about now.
       17          A.     Okay.
       18          Q.     I see you have your report in front of
       19    you; is that correct?
       20          A.     Yes, sir.
       21          Q.     Okay.   Do you mind if we mark your report
       22    as an exhibit?
       23          A.     No.   Absolutely.
       24                 MR. NEWMAN:     Let me make sure --
       25                 MR. HECHT:     Yeah.    I have my copy, so --


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Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 55 of
                                      184

                                                                       Page 55
        1                 MR. NEWMAN:     I just want to make sure
        2          there aren't any handwritten notes.
        3                 Yeah.   That would be fine.
        4                 MR. HECHT:     So we'll go ahead and mark
        5          your report as Exhibit 3.
        6                 (Thereupon, marked as Plaintiff
        7          Exhibit 3.)
        8    BY MR. HECHT:
        9          Q.     Did you write the report that you have in
       10    front of you that we marked as Exhibit 3?
       11          A.     Yes.
       12          Q.     And what was your role on May 5th --
       13    strike that.
       14                 What was your role on May 11th, 2014, when
       15    you responded to 301 East Prima Vista Boulevard in
       16    Fort Pierce?
       17          A.     For this specific call --
       18          Q.     Yes.
       19          A.     -- I was the primary paramedic on the
       20    call.
       21          Q.     And what does that mean when you say
       22    "primary paramedic"?
       23          A.     Well, our Fire District employs multiple
       24    paramedics and, at times, we are on the ambulance
       25    with another paramedic.        And so to lessen the amount


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Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 56 of
                                      184

                                                                       Page 56
        1    of reports and patient care that we do, what we do
        2    is we split calls.       And so this call was my call.
        3    The following call was my partner's call.
        4          Q.     All right.
        5          A.     So we become primary, I guess, in that
        6    sense that we are the paramedic calling the shots on
        7    that.
        8          Q.     And what sort of vehicle were you in when
        9    you responded to 301 East Prima Vista Boulevard?
       10          A.     In Rescue 3.
       11          Q.     Who else was with you in Rescue 3?
       12          A.     Tom Sinclair.
       13          Q.     So it was just the two of you?
       14          A.     Yes, sir.
       15          Q.     And what was his role?
       16          A.     His role was -- we switch roles as -- if
       17    he's the primary paramedic, I'm at his disposal, and
       18    he lets me know what he needs.          When two partners
       19    work together, you almost kind of know what to do,
       20    so you just get it done.        So his role was whatever I
       21    would have them to do, I guess.
       22          Q.     Okay.   Well, you told me you were the
       23    primary.     So is he called just primary 2, or does he
       24    have a name?
       25                 MR. NEWMAN:     Secondary?


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Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 57 of
                                      184

                                                                       Page 57
        1    BY MR. HECHT:
        2          Q.     Secondary?     The helper?
        3          A.     I guess, because previously, before we had
        4    an influx of paramedics hired, we would be riding on
        5    a rescue truck with an EMT.         So the EMT, what their,
        6    quote, unquote, job would be to help get you your
        7    vitals and stuff while you're getting IVs and you're
        8    setting up drug drips or medications and all the
        9    stuff that they're not allowed to do.
       10          Q.     But Tom Sinclair was a paramedic, correct?
       11          A.     He is a paramedic, yes.
       12          Q.     And on May 11, 2014, you were both
       13    paramedics, correct?
       14          A.     That is correct.
       15          Q.     Okay.   So tell me, what time did you get a
       16    call to respond to 301 East Prima Vista Boulevard?
       17          A.     According to the report -- let's see.
       18    We're looking at page 5 of 6.          The call was received
       19    by our dispatch at 1829.        It was dispatched to us at
       20    1830, and we departed at 1830.
       21          Q.     And what time did you arrive at the scene?
       22          A.     At 1834.
       23          Q.     Are you able to tell, either based on your
       24    memory or what's contained in this report, what it
       25    is that you were responding to?


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Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 58 of
                                      184

                                                                       Page 58
        1          A.     I'm not 100 percent sure as to how the
        2    call was billed out to us because there's a variety.
        3    It might have been an assault.          It might have been
        4    trauma but nothing specific because that stuff is
        5    public record, and they keep it vague for HIPAA
        6    purposes.
        7          Q.     Okay.   Let me direct your attention to
        8    page 4 of 6.
        9                 Do you see at the way bottom it says
       10    incident details?
       11          A.     Yes.
       12          Q.     And it says -- it's the second line.
       13    "Nature of call as dispatched:          Traumatic injury."
       14                 Do you see that?
       15          A.     4 of 6?
       16          Q.     Yes.    It's literally at the way bottom.
       17                 MR. NEWMAN:     Can I see your copy?
       18                 His may be cut off.       Can you show us --
       19                 MR. HECHT:     (Indicating.)
       20                 THE WITNESS:     What's the last thing on
       21          there?
       22                 MR. NEWMAN:     On the top right.
       23                 MR. HECHT:     Okay.   Mine is --
       24                 MR. NEWMAN:     These are simply printouts
       25          from a computer record, so everything that was


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Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 59 of
                                      184

                                                                       Page 59
        1           printed out, the format may look a little
        2           different.
        3    BY MR. HECHT:
        4           Q.    Okay.   All right.     Do you see under
        5    "Incident Details" -- I suppose it's on page 5 of 6
        6    of yours.     It says, "Nature of call as dispatched:
        7    Traumatic injury."
        8           A.    Yes.
        9           Q.    "Nature of call at scene:        Traumatic
       10    injury."
       11                 Do you see this?
       12           A.    Where is that part?
       13           Q.    Should be right next to it.
       14           A.    Yes.    Nature of call as traumatic injury.
       15    Yes.
       16           Q.    So does that refresh your recollection as
       17    to the nature of why you were responding?
       18           A.    According to this, I must have put that
       19    because that's what I got of our rip and run.
       20           Q.    That you were responding to a traumatic
       21    injury?
       22           A.    To a traumatic injury, yes.
       23           Q.    And do you know anywhere in your report or
       24    based on your independent recollection what the
       25    traumatic injury was?


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Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 60 of
                                      184

                                                                       Page 60
        1          A.     Based on my report, I do have a detailed
        2    head-to-toe assessment as I arrived on scene.             Prior
        3    to arriving on scene, we're not given specific
        4    details.
        5          Q.     Okay.
        6          A.     Just for dispatch purpose.
        7          Q.     So going to page 3 of 6, if you will,
        8    where your narrative is --
        9          A.     Okay.
       10          Q.     -- what does the H stand for under
       11    narrative?
       12          A.     History.
       13          Q.     It says, "Rescue was called to the scene
       14    for a trauma."
       15          A.     Yes.
       16          Q.     And two sentences below that it says, "One
       17    officer stated that there was ETOH involved and he
       18    believes that the patient is on something because he
       19    was so strong."
       20                 What does ETOH mean?
       21          A.     It is what we use to shorten the word
       22    alcohol.
       23          Q.     Okay.   So is it correct that when you
       24    arrived on scene, you were aware that Tavares Docher
       25    had been drinking alcohol?


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Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 61 of
                                      184

                                                                       Page 61
        1                 MR. NEWMAN:     Object to form.
        2           A.    I'm not sure if he was drinking alcohol.
        3    The officer advised me that there was possible ETOH
        4    involved.
        5    BY MR. HECHT:
        6           Q.    Okay.   Well, that doesn't mean that he was
        7    pouring alcohol on his head, right?
        8                 MR. NEWMAN:     Object to form.
        9           A.    I don't know what you mean.
       10    BY MR. HECHT:
       11           Q.    Well, you say "alcohol involved."          I mean,
       12    your testimony is that an officer told you that
       13    Tavares Docher had been drinking alcohol, correct?
       14           A.    Yes.
       15           Q.    And next to the O, what does the O stand
       16    for?
       17           A.    Objective, what we see.
       18           Q.    Okay.   You saw an LAC, which is that a
       19    laceration?
       20           A.    That's correct.
       21           Q.    You saw laceration was noted to patient's
       22    right side of head with minimal to no bleeding.
       23    Patient's left side was towards the pavement.             Above
       24    patient's head was a puddle of blood.
       25                 Do you see that?


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Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 62 of
                                      184

                                                                       Page 62
        1          A.     Yes, sir.
        2          Q.     Do you believe that that's the traumatic
        3    injury that you were responding to?
        4          A.     From the initial assessment and
        5    impression, yes.
        6          Q.     Okay.   And even sitting here today, I
        7    mean, is that why you responded, because Tavares
        8    Docher's head was in a puddle of blood and he had a
        9    laceration on his head?
       10                 MS. BARRANCO:     Object to form.
       11                 Go ahead.
       12                 MR. NEWMAN:     Join.   You can answer.
       13          A.     We were called because he had injury to
       14    himself.
       15    BY MR. HECHT:
       16          Q.     Which was the bleeding around his head,
       17    correct?
       18          A.     From what I could see at that time, yes.
       19          Q.     And what does the T stand for?
       20          A.     Treatment.
       21          Q.     And you gave him 4 milligrams of Ativan
       22    intramuscularly in the right buttocks?
       23          A.     Yes.
       24          Q.     And then you wrote the patient was
       25    reevaluated and was determined to be -- it's cut off


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Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 63 of
                                      184

                                                                       Page 63
        1    on mine.     What does that say on yours?         "Patient was
        2    reevaluated and was determined to be" --
        3          A.     Are you at H, O, T or R?
        4          Q.     No.    I'm just -- do you see where it says
        5    next to T, can you just read the few sentences next
        6    to T?
        7                 MR. NEWMAN:     Where it says, "Assessment
        8          performed"?
        9                 MR. HECHT:     Yeah.   Right.
       10    BY MR. HECHT:
       11          Q.     "Patient was very combative."         Read that
       12    for me.
       13          A.     "Patient was very combative and would not
       14    stay on LSB with CID.        Due to his combativeness, the
       15    patient was given 4 milligrams of Ativan IM in the
       16    right buttocks."
       17          Q.     Keep reading.
       18          A.     "Stretcher was moved and placed by S.O.
       19    officer, and patient was lifted by S.O. team to the
       20    stretcher.     Patient was reevaluated and determined
       21    to be apneic and pulseless."
       22          Q.     Okay.   And then at the bottom of T, it
       23    says, "Witness statement taken from rescue crew
       24    after call"?
       25          A.     Yes.


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Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 64 of
                                      184

                                                                       Page 64
        1          Q.     Where in your report does it have any
        2    mention of who this witness was or where the
        3    statement is?
        4          A.     That is -- was, like, for my reference
        5    because that's something that we -- just for me
        6    because I knew if something were to come up --
        7    there's a lot of things in our calls that we run,
        8    and we have to put specific things to help us recall
        9    specific calls.      And I put that on there because
       10    this was something different that happened.             We
       11    don't do witness statements on every call.             So I was
       12    able to talk to a representative of the sheriff's
       13    office, and he asked for my statement.
       14          Q.     Okay.   So where it says, "Witness
       15    statement taken from rescue crew after call," did
       16    you give a witness statement, or you took a witness
       17    statement?
       18          A.     I was given.     I'm sorry.     I was given and
       19    I gave a witness statement myself to --
       20          Q.     Okay.
       21          A.     I'm confusing.
       22                 I gave a statement.
       23          Q.     So where it says, "Witness statement taken
       24    from rescue crew" --
       25          A.     Yes.


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Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 65 of
                                      184

                                                                       Page 65
        1          Q.     -- you didn't interview anyone, correct?
        2          A.     That's correct.
        3          Q.     You gave a statement to probably law
        4    enforcement.
        5          A.     Yes.
        6          Q.     Okay.   Got it.
        7                 All right.     So let's go to the first page
        8    of your report.
        9                 Did you know upon arrival that you were
       10    coming in contact with a man named Tavares Docher
       11    who was 29 years old?
       12          A.     No.
       13          Q.     Okay.   Where would you have gotten that
       14    information from?
       15          A.     Either through the officers, or it might
       16    be through the officers.
       17          Q.     All right.     And under that it says, "Past
       18    Medical History," "Allergies," and "Medications."
       19    Do you see those three headings?
       20          A.     Yes.
       21          Q.     And next to each of those headings, it
       22    says "unknown."
       23          A.     That's correct.
       24          Q.     Why does it say "unknown"?
       25          A.     Because those are the things that I can


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Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 66 of
                                      184

                                                                       Page 66
        1    receive from the patient that is speaking to me.
        2          Q.     So did you make contact with Tavares
        3    Docher upon arrival?
        4          A.     No.
        5          Q.     Okay.   You never spoke with him.
        6          A.     No.
        7          Q.     So you never asked him what his past
        8    medical history was?
        9          A.     No.
       10          Q.     And you never asked him if he had any
       11    allergies?
       12          A.     No.
       13          Q.     And you never asked him if he was on any
       14    medications?
       15          A.     No.
       16          Q.     And you certainly didn't ask him if he was
       17    drinking alcohol, correct?
       18          A.     That's correct.
       19          Q.     Okay.   Why not?
       20          A.     He was not talking, at least not to me.
       21          Q.     Well, did you hear him talking at all?
       22          A.     No.
       23          Q.     Was he screaming at all?
       24          A.     Not that I recall.
       25          Q.     He was just silent.


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Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 67 of
                                      184

                                                                       Page 67
        1          A.     He had, like, muffle struggle.         Like, he
        2    would struggle during that whole issue with the
        3    sheriff's department.
        4          Q.     Well, tell me what you remember when you
        5    arrived on scene.
        6          A.     Would you like me to read that?
        7          Q.     Yeah.   I mean, based on your memory or
        8    your report.      I just want to know what happened when
        9    you arrived on scene.
       10          A.     Okay.   Well, based on my report, we were
       11    called for trauma.       S.O. related that the patient
       12    was very combative and very strong, was able to
       13    displace many officers on scene by himself.             One
       14    officer stated that there was ETOH involved, which
       15    he believes the patient is on -- and he believes the
       16    patient is on something because he was so strong.
       17    Some of the officers on scene were injured during
       18    the struggle.      No verbal response from the patient
       19    during the call.
       20                 Upon our arrival, I found the patient on
       21    the ground with S.O. officers subduing him and
       22    seemingly controlling him.         The patient was still
       23    active while S.O. officers were on him.            Laceration
       24    was noted to the right side of the head with minimal
       25    bleeding, left side towards the pavement.


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Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 68 of
                                      184

                                                                       Page 68
        1                 Above the patient's head was a puddle of
        2    blood.    S.O. officer stated that it came during and
        3    after the struggle.       The patient's nose and mouth
        4    had flesh blood on them.        Airway was patent.
        5    Respirations were rapid.        Pulses were rapid, skin
        6    moist.    See injury section for assessment done, so a
        7    whole injury section.
        8                 Assessment was performed as part of my
        9    treatment.     Patient was combative and would not stay
       10    on a long spinal board with a cervical mobilization
       11    device.    Due to his combativeness, the patient was
       12    given 4 milligrams of Ativan in buttocks.             Stretcher
       13    was moved and placed by S.O. officer and was lifted
       14    by S.O. team onto the stretcher.          Patient was
       15    reevaluated and determined to be apneic and
       16    pulseless.
       17                 Patient was immediately placed in the
       18    rescue next to the scene.         A four-lead EKG confirmed
       19    that the patient was in asystole.           CPR was
       20    immediately ordered.        Vitals and treatment are
       21    stated on flow sheet.        King airway was used for
       22    immediate airway control.         IV done.
       23                 MR. NEWMAN:     Sorry.    Slow down just a
       24          little bit because she's taking down everything
       25          you're saying.


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Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 69 of
                                      184

                                                                       Page 69
        1                 THE WITNESS:     Oh, I'm sorry.      I know she's
        2          got skills, but --
        3                 MR. NEWMAN:     Read a little slowly.
        4          A.     IV in jugular done on patient.         Patient
        5    was given a total of 1 milligram of Epi and 50
        6    milliequivalents of sodium bicarb for possible
        7    acidosis.     Patient was defibrillated at 120 joules,
        8    with CPR to follow.       Upon reassessment, the patient
        9    showed bounding pulse on his chest.           EKG showed
       10    supraventricular tachycardia.          Patient was then
       11    cardioverted at 100 joules.         And patient showed
       12    later normal sinus rhythm with positive mechanical
       13    pulses.
       14                 The reassessment, which is the R, upon
       15    reassessment, patient had ROSC, which is return of
       16    spontaneous circulation, prior to turnover.             Patient
       17    care was turned over to ER staff with verbal report
       18    without incident.
       19    BY MR. HECHT:
       20          Q.     Okay.   So according to the assessment on
       21    page 1, that occurred at 6:36, correct?
       22          A.     Yes.
       23          Q.     Okay.   And did you speak to Mr. Docher at
       24    that time?
       25          A.     I did not speak to Mr. Docher.


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Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 70 of
                                      184

                                                                       Page 70
        1          Q.     Okay.   So what did you do at 6:36?
        2          A.     At 6:36, I was assessing the situation,
        3    assessing the patient.
        4          Q.     And when you assess a patient, should that
        5    include speaking to them?
        6                 MR. NEWMAN:     Object to form.
        7          A.     Depending on the patient.
        8    BY MR. HECHT:
        9          Q.     Okay.   And why in this situation did you
       10    not speak to Mr. Docher?
       11          A.     At this time, the patient was nonverbal.
       12          Q.     Okay.   And what do you mean by that?
       13          A.     He's not speaking.      He was not talking.
       14          Q.     Was he unconscious?
       15          A.     He was -- I didn't have any EEG on him.           I
       16    cannot tell whether he was conscious or not, but he
       17    was making noises and struggling with the officers.
       18          Q.     Okay.   Did you perform a Glasgow Coma
       19    Scale at 6:36?
       20          A.     At 6:36, the Glasgow Coma Scale was
       21    starting to be developed.
       22          Q.     Okay.   Where in your assessment or under
       23    your treatment does it say you performed a Glasgow
       24    Coma Scale at 6:36?
       25          A.     It's part of the assessment.


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Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 71 of
                                      184

                                                                       Page 71
        1           Q.    Okay.   But did you write that you
        2    performed a Glasgow Coma Scale at 6:36 on your
        3    report?
        4           A.    No.
        5           Q.    Okay.   But it is your testimony that even
        6    though you didn't write that you performed one, that
        7    you were in the beginning stages of it?
        8           A.    Yes.    That's what assessment is for.
        9           Q.    Okay.   So what was his Glasgow Coma Scale
       10    at 6:36?
       11           A.    At 6:36 -- I cannot tell you that right
       12    now.
       13           Q.    Well, you can't tell me because it's not
       14    in your report, correct?
       15           A.    That's correct.      It's part of the
       16    assessment.
       17           Q.    Okay.   But it's not in your report.
       18           A.    At 6:36, no.     It's an assessment.
       19           Q.    Okay.   At 6:36, under "Assessment," it
       20    says, "Breathing Quantity Adult Fast 20 to 30."
       21                 Do you see that?
       22           A.    Yes, sir.
       23           Q.    What does that mean?
       24           A.    That is the quantity of breathing that an
       25    adult would breathe.        It's one of the choices that


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Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 72 of
                                      184

                                                                       Page 72
        1    we have in our report-writing system.
        2          Q.     Did you assess Mr. Docher's breathing
        3    quantity?
        4          A.     From --
        5          Q.     At 6:36?
        6          A.     Everything from 6:36 to 6 -- 6:43 was a
        7    development of assessment.
        8          Q.     Okay.   Here's what I want to know:         I want
        9    to focus on the 6:36 assessment.          It says,
       10    "Breathing Quantity Adult Fast 20 to 30."
       11          A.     Yes.
       12          Q.     What does that mean?       Does that apply to
       13    Mr. Docher?
       14          A.     Everything on this report should apply to
       15    Mr. Docher.
       16          Q.     Okay.   So where it says, "Breathing
       17    Quantity Adult Fast 20 to 30," Mr. Docher was
       18    breathing fast?      Is that what that means?
       19          A.     Yes.
       20          Q.     Okay.   And what does the 20 to 30 mean?
       21          A.     It's the range of breaths per minute.
       22          Q.     Okay.   So 20 to 30 breaths per minute,
       23    that would be fast to you, correct?
       24          A.     Depending on the situation, it can be a
       25    normal thing for a patient, or it could be that they


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Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 73 of
                                      184

                                                                       Page 73
        1    are worked out or anything like that.
        2          Q.     Did Mr. Docher work out when you were
        3    assessing him?
        4          A.     Mr. Docher was, from my understanding, was
        5    in a struggle with the S.O. officers, and so he
        6    asserted energy, and so that required him to
        7    compensate by breathing faster for a faster heart
        8    rate.
        9          Q.     Okay.   So when you're talking about the
       10    breathing quantity in Mr. Docher, is it your
       11    testimony that at 6:36, his respiratory rate was
       12    between 20 to 30 breaths per minute?
       13          A.     Yes.
       14          Q.     And you told me before that a normal adult
       15    would have a normal respiratory rate between 12 to
       16    20 breaths per minute, correct?
       17          A.     A normal adult, yes, that's sitting there
       18    and like us.
       19          Q.     I understand.
       20          A.     Yes.
       21          Q.     So is it your testimony that at 6:36,
       22    Mr. Docher's breathing quantity was abnormal?
       23          A.     Was higher than normal, yes.
       24          Q.     Would you consider that to be abnormal?
       25          A.     Depending on the situation.


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Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 74 of
                                      184

                                                                       Page 74
        1          Q.     Again, we're talking about Tavares
        2    Docher's situation.       Just so we're clear, I don't
        3    want to talk about, you know, someone else.             We're
        4    talking about Tavares Docher.
        5          A.     For -- from what I understand what he's
        6    been through, that could be normal for him.
        7          Q.     Okay.   But didn't you tell me previously
        8    that 12 to 20 breaths per minute was normal, and
        9    above 20 breaths per minute would be abnormal,
       10    correct?
       11          A.     I told you that depending on the situation
       12    also.
       13          Q.     "Venous hemorrhage controlled by PTA,"
       14    what does that mean?
       15          A.     Prior to arrival.      Meaning, there was
       16    dried blood.      It wasn't bleeding.
       17          Q.     Okay.   And then where it says carotid
       18    pulse, radial pulse, brachial pulse, femoral pulse,
       19    it says, "Not assessed for those four."            Do you see
       20    that?
       21          A.     Yes.
       22          Q.     Why did you not assess those?
       23          A.     Because he was still in control of S.O.
       24    The scene was not safe.
       25          Q.     He was in control of S.O.?


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Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 75 of
                                      184

                                                                       Page 75
        1          A.     S.O. was -- he was under their care.
        2          Q.     Okay.   Explain the care that he was under
        3    by the sheriff's officers.
        4                 MS. BARRANCO:     Object to form.
        5                 Go ahead.
        6          A.     He was not -- we were there for a trauma.
        7    He was not to the point where we can safely move him
        8    to the truck without him causing further harm to
        9    himself, to officers or to us.
       10    BY MR. HECHT:
       11          Q.     Okay.   He was a danger to himself and
       12    officers?
       13          A.     At his state of being, yes.
       14          Q.     Okay.   When you make contact with him to
       15    do this assessment at 6:36, was he in handcuffs?
       16          A.     I believe so.     Not 100 percent sure.        I
       17    know at some point, he was handcuffed.
       18          Q.     Okay.   But you just can't recall if at
       19    6:36 during this initial assessment he was in
       20    handcuffs?
       21          A.     I can't say for certainty.
       22          Q.     Do you recall how many law enforcement
       23    officers were surrounding him during this assessment
       24    at 6:36?
       25                 MS. BARRANCO:     Object to the form.


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Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 76 of
                                      184

                                                                       Page 76
        1          A.     You want a real number or a hypothetical
        2    number?
        3    BY MR. HECHT:
        4          Q.     I don't want a hypothetical.         I want to
        5    know what you remember.
        6          A.     I didn't sit there and count.         My focus
        7    was his care.
        8          Q.     Okay.   So are you able to tell me if there
        9    was more than one police officer near him when you
       10    did this assessment at 6:36?
       11          A.     There were more than one.
       12          Q.     Okay.   And were they -- I'm sorry.
       13          A.     I'm sorry.     I wanted to correct it.       There
       14    was more than one.
       15          Q.     Was there more than ten?
       16          A.     I can't tell you.      I didn't count
       17    specific.
       18          Q.     Were they subduing him in any way?
       19          A.     Define "subduing."
       20          Q.     Were they in control of him?
       21          A.     They were attempting to get control of
       22    him, from what I can -- from what I can see.
       23          Q.     Was he on the ground?
       24          A.     He was on the ground, yes.
       25          Q.     And you don't recall if he was in


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Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 77 of
                                      184

                                                                       Page 77
        1    handcuffs.
        2          A.     I know at some point in the -- the whole
        3    time that we were there, he was in handcuffs.             I
        4    can't specifically say as soon as we got there that
        5    I remember seeing him in handcuffs.
        6          Q.     Okay.   What were his vitals at 6:36?
        7          A.     At 6:36, all I can see is his respiration
        8    rate, whether he's sweating or not, and any external
        9    injuries from a distance.
       10          Q.     Okay.   So the only vitals that you are
       11    able to testify about was his respiratory rate,
       12    correct?
       13          A.     Yes.
       14          Q.     Okay.   Why did you not perform other
       15    vitals?
       16          A.     Because he was still active with the
       17    sheriff's department.
       18          Q.     Okay.
       19          A.     And the scene was not conducive for me to
       20    make any contact with him.
       21          Q.     Okay.   At -- strike that.
       22                 At 6:38, under "Treatment," you noted that
       23    his pulse was 110, correct?
       24          A.     That's correct.
       25          Q.     So he would be tachycardic?


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Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 78 of
                                      184

                                                                       Page 78
        1          A.     Yes.
        2          Q.     All right.     And his respiratory rate was
        3    28 beats per minute; is that correct?
        4          A.     Yes.
        5          Q.     Would that be considered abnormal?
        6          A.     That would be considered above normal.
        7          Q.     Okay.   And respiratory effort, what does
        8    that mean when you wrote normal?
        9          A.     It's normal.     He's spontaneously breathing
       10    on his own.
       11          Q.     Okay.   And responsiveness is painful, what
       12    does that mean?
       13          A.     Meaning that to get any response from him,
       14    you would have to cause an external painful stimuli
       15    for him to respond.
       16          Q.     Okay.   Such as what sort of painful
       17    stimuli?
       18          A.     Well, just not specifically to certain
       19    pain but moving him, he responds to touch.
       20          Q.     And at 1838, did you ever attempt to speak
       21    with him?
       22          A.     At 1838, since he was only responding
       23    painfully, as I do all of my assessments, if I
       24    attempt to speak to someone who is in and out of
       25    consciousness, they -- I would assume that I'm not


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Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 79 of
                                      184

                                                                       Page 79
        1    going to get an answer that is going to help me.
        2          Q.     I'm sorry.     I don't want to cut you off.
        3    Were you done speaking?
        4          A.     Yes.
        5          Q.     Okay.   At 1838, was Mr. Docher in and out
        6    of consciousness?
        7          A.     Throughout the call, from what I recall,
        8    Mr. Docher would struggle with the officers, and the
        9    officers would attempt to subdue him.            And then he
       10    would go to like a period of calm, maybe regathering
       11    his energy or whatever it is.          And then as soon as
       12    any movement is done from him -- or from the
       13    officers, he started to move again and start
       14    squirming and, you know, move around.
       15          Q.     Okay.   My question is at 6:38, was
       16    Mr. Docher in and out of consciousness?
       17          A.     He was in a state of being combative and
       18    in a state of relaxation off and on throughout the
       19    call.
       20          Q.     Is that synonymous with being in and out
       21    of consciousness, or is that something different?
       22          A.     That is consciousness, whether he is aware
       23    of what his surroundings were?          Is that how you're
       24    defining consciousness?
       25          Q.     I'm asking you.


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Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 80 of
                                      184

                                                                       Page 80
        1          A.     Oh.    He was not able to talk to me and
        2    tell me anything that was going on with him.
        3          Q.     Did you try to talk to him?
        4          A.     More than likely, I have -- I did try to
        5    talk.    I always try to talk to all my patients
        6    during an assessment process.
        7          Q.     Okay.   Well, before, you told me you
        8    didn't talk to him.       Now you're saying more than
        9    likely you did.      So I want to know, did you talk to
       10    Tavares Docher at 6:36 or 6:38 p.m.?
       11                 MR. NEWMAN:     Object to the form.
       12          Misstates prior testimony.
       13                 You can answer.
       14          A.     When -- at 6:36, as I'm doing my
       15    assessment, I don't have -- there was a distance
       16    between me and Docher, until I was able to get to
       17    him and speak to him.        While he was still being
       18    subdued, he was still moving.          And I -- I figured
       19    talking to him at that time, I'm not going to get
       20    any information that's going to help his situation.
       21    BY MR. HECHT:
       22          Q.     Okay.   Well, at 6:36, you assessed his
       23    breathing quantity, correct?
       24          A.     Yes.
       25          Q.     And that's where you determined that it


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Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 81 of
                                      184

                                                                       Page 81
        1    was fast, correct?
        2          A.     Yes.
        3          Q.     At 6:36, did you introduce yourself?           Did
        4    you say, "I'm Paramedic Rosario.          I'm here to help.
        5    I'm going to do the following"?          Did you say
        6    anything like that?
        7          A.     At 6:36, I'm assessing the situation as a
        8    a whole, his situation, you know, surrounding
        9    situation, his injuries, everything that as I am
       10    approaching the patient himself, that's what --
       11    that's part of my assessment.
       12          Q.     Okay.   My question is very simple.         At
       13    6:36, did you speak with Tavares Docher?
       14          A.     No.
       15          Q.     At 6:38, did you speak to Tavares Docher?
       16          A.     Possibly.
       17          Q.     Did you note in your report that you spoke
       18    to him?
       19          A.     No.    That would be under H.
       20          Q.     Okay.   Show me under H where it says you
       21    spoke to Tavares Docher, under your narrative.
       22          A.     It says, "No verbal response from patient
       23    during the call."
       24          Q.     Okay.   So what does that mean?
       25          A.     That means when I was assessing him for a


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Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 82 of
                                      184

                                                                       Page 82
        1    response, I didn't get any verbal response from him.
        2          Q.     Okay.   What would you have asked him, or
        3    what did you ask -- strike that.
        4                 What did you ask him?
        5          A.     I don't recall.
        6          Q.     Well, what are you trained to ask a
        7    patient in this situation?
        8          A.     Oh, we go through OPQRST:        Onset,
        9    provocation, quality, respiration -- respiration,
       10    signs and symptom, any treatment.           AVPU:   Alert,
       11    verbal, painful.       There's things that we go through.
       12                 For him in specific, if I was to speak to
       13    a patient, I would try to find out if they know --
       14    if they're oriented to person, place and event.              And
       15    if they're able to tell me that, then I would go on
       16    with asking them what their ailments are, what's
       17    hurting them, what's bothering them.           Just take it
       18    from that point on.
       19          Q.     Okay.   And I'm not trying to be rude, but
       20    I just want to know, when you would have made
       21    contact with Tavares Docher, what are some of the
       22    things you would have asked him?          And your response
       23    was OPQRTS, pain.       I just don't know what that
       24    means.     I just want to know what you would have said
       25    to him.


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Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 83 of
                                      184

                                                                       Page 83
        1          A.     What I would have or what I did say?
        2          Q.     I want to know what you did say.
        3          A.     I don't recall what I said.
        4          Q.     Okay.
        5          A.     What I would have and what I did say could
        6    be completely different because it's on a
        7    case-by-case basis.
        8          Q.     Well, what are you trained to ask a
        9    patient in this situation?
       10          A.     The situations are different.         You know,
       11    the patient -- the way they present to you is going
       12    to change how you're going to ask them questions.
       13          Q.     Okay.   Well, in this situation, we've
       14    established that you responded to a trauma, correct?
       15          A.     That is correct.
       16          Q.     We know that you told me when you made
       17    contact with Tavares Docher, he was on the ground,
       18    correct?
       19          A.     Yes.
       20          Q.     You said you don't remember if he was
       21    handcuffed, correct?
       22          A.     Yes.
       23          Q.     You said that he was at times combative,
       24    and at times he would get calm, correct?
       25          A.     Yes.


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Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 84 of
                                      184

                                                                       Page 84
        1          Q.     So my question for you is, when you made
        2    contact with him, what did you say to him?
        3          A.     I don't recall.
        4          Q.     Okay.   And 1839, it says, "Backboard
        5    Sinclair, Thomas."       What does that mean?
        6          A.     Eighteen -- that designates who the person
        7    was who got the backboard and attempted to place the
        8    patient on a backboard.
        9          Q.     Okay.   So Tom Sinclair, who was with you,
       10    attempted to put Tavares Docher on a backboard; is
       11    that correct?
       12          A.     Under my direction, I told him, "Hey,
       13    let's get a backboard."
       14          Q.     Okay.   And it says, "Patient would not
       15    tolerate.     Very combative."
       16          A.     Yes.
       17          Q.     And does that mean that Tavares Docher
       18    would not get on the backboard?
       19          A.     When placing him, it was going to possibly
       20    cause more harm to him than good, just to move him
       21    around, because you're strapped in the board.             And
       22    someone who's moving and squirming could slide down
       23    and distract themselves and be a hindrance to the
       24    patient's well-being.
       25          Q.     Why would strapping Mr. Docher into the


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Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 85 of
                                      184

                                                                       Page 85
        1    backboard be a hindrance to his well-being?
        2          A.     Because when you put somebody on a
        3    backboard, you want to make sure -- because when you
        4    move a backboard, you lift the backboard off the
        5    ground and then there's a patient moving, you know,
        6    constantly moving, there's a possibility that the
        7    patient could spill over or the backboard could turn
        8    over, hurt our back, patient fall on their face.              So
        9    we make the decision as to whether it's going to
       10    help the patient or not.
       11          Q.     Okay.   And still looking at 6:39, it says
       12    "unchanged" in parenthesis.         What is that referring
       13    to that's unchanged?
       14          A.     It's referring to that the backboard
       15    itself did not fix his situation.
       16          Q.     Okay.   We're going back to 6:36.         It also
       17    says "unchanged."       What is that referring to?
       18          A.     The assessment was continuing.         There's
       19    three choices:       Improved, unchanged, and worse.         And
       20    those are the choices that we have to pick.
       21          Q.     Okay.   Now, at 1840, I know you did an
       22    assessment.     And you also have treatment at 1840.
       23    Which occurred first, the treatment or the
       24    assessment at 1840?
       25          A.     The -- we always assess before we treat.


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Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 86 of
                                      184

                                                                       Page 86
        1          Q.     Okay.   So looking at the assessment at
        2    6:40, Mr. Docher's breathing quantity was not
        3    breathing, correct?
        4          A.     Yes.
        5          Q.     So at this point, you were aware that
        6    Mr. Docher was not breathing, correct?
        7          A.     Yes.
        8          Q.     And you were -- correct?
        9          A.     Yes.
       10          Q.     Okay.   And you were aware that he had no
       11    chest rise?
       12          A.     Yes.
       13          Q.     Okay.   And then if we go to the treatment,
       14    we see that after that assessment, also at 6:40,
       15    there was 4 milligrams of Ativan administered
       16    intramuscularly; is that correct?
       17          A.     That's correct.
       18          Q.     Okay.   So knowing that he was not
       19    breathing, knowing that at 6:38 he was tachycardic
       20    and had 28 breaths per minute, you decided to
       21    intramuscularly administer 4 milligrams of Ativan,
       22    correct?
       23          A.     The times listed on here are not the exact
       24    time.    Ativan is not necessary for somebody who is
       25    not breathing.       Somebody who's not breathing, they


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Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 87 of
                                      184

                                                                       Page 87
        1    don't -- they do not require a sedative because
        2    they're not breathing.
        3          Q.     So why did you inject Mr. Docher with
        4    Ativan if he was not breathing?
        5                 MR. NEWMAN:     Object to the form.
        6          Misstates his testimony.
        7          A.     The times on here are not exact.          So if I
        8    put 1840 for assessment and 1840 for Ativan, then we
        9    are to assume that because the patient was still
       10    combative at 1840, that Ativan was given.            And after
       11    Ativan was given, I put that he improved, meaning
       12    that he stopped being combative.
       13    BY MR. HECHT:
       14          Q.     Well, under "Treatment," at 6:40, it says,
       15    "Patient stopped being combative."
       16          A.     Yes.
       17          Q.     Okay.   So he stopped being combative after
       18    the Ativan was given?
       19          A.     That is correct.      That's the intended
       20    reason for giving the Ativan, to reduce the amount
       21    of harm that he caused to himself or the officer or
       22    to us.
       23          Q.     Okay.   See, here's why I'm confused,
       24    because under the assessment at 6:40, you wrote,
       25    "Not breathing."       Do you see that?


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Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 88 of
                                      184

                                                                       Page 88
        1          A.     Yes.
        2          Q.     And then under the treatment, at 6:40, you
        3    said the patient stopped being combative.            So how
        4    could he not be breathing and you put that he
        5    stopped being combative?        I mean, he wasn't
        6    breathing.
        7                 MR. NEWMAN:     Object to form.
        8          A.     Well, these times are estimate times.
        9    BY MR. HECHT:
       10          Q.     Okay.
       11          A.     We don't have somebody to say at this
       12    specific time, you did this; this specific time, you
       13    did that.     In our protocol, if somebody was not
       14    breathing, there's no need for 4 milligrams of
       15    anything.
       16          Q.     All right.     So do you want to, as we sit
       17    here today, amend this report and tell me what the
       18    correct assessment time was and the correct
       19    injection of Ativan was?
       20          A.     I can safely say that the assessment may
       21    have been done three minutes later, at 1843.
       22          Q.     And is the 6:40 Ativan injection correct
       23    on the report?
       24          A.     It's an estimated time, but it was prior
       25    to vitals that I received.


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Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 89 of
                                      184

                                                                       Page 89
        1          Q.     Okay.    Who inputs the time into these
        2    reports?
        3          A.     We do.
        4          Q.     Okay.    So you just put the time wrong when
        5    you did the -- strike that.
        6                 When you entered 1840 as the time for your
        7    assessment, you just entered the time incorrectly,
        8    right?
        9          A.     Yes.    That's what it looks like.
       10          Q.     Okay.    So now you're telling me that the
       11    assessment on May 11th, 2014, prior to the injection
       12    of Ativan, was at 6:43, not 6:40, correct?
       13          A.     It was after the Ativan injection.
       14          Q.     Okay.    So, again, knowing that Mr. Docher
       15    was tachycardic, had 28 breaths per minute, you
       16    decided, therefore, to inject 20 -- 4 milligrams of
       17    Ativan, correct?
       18          A.     Yes.    For his situation, yes.
       19          Q.     Okay.    And did you consult anyone, or was
       20    that solely your decision?
       21          A.     That's solely my decision based on our
       22    protocols.
       23          Q.     Okay.    And then at 1843 on your report,
       24    you have, next to "Pulse," that he doesn't have a
       25    pulse, correct?


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Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 90 of
                                      184

                                                                       Page 90
        1          A.     That's correct.
        2          Q.     So what you've told me is that when you
        3    injected the Ativan, in your amendment here today at
        4    1843, that immediately he had no pulse, correct?
        5          A.     1840.    The amendment would be for the
        6    assessment to be at 1843 when the vitals were taken.
        7          Q.     Right.    So -- so at 18 --
        8          A.     You said the Ativan at 1843.
        9          Q.     Oh, no.    You administered the Ativan at
       10    6:40, correct?
       11          A.     That is correct.      According to this, yes.
       12          Q.     Okay.    Right.   And you made an amendment
       13    here, and you did the assessment three minutes later
       14    at 1843, correct?
       15          A.     That is correct.
       16          Q.     So three minutes later, he didn't have a
       17    pulse, correct?
       18          A.     When I assessed him, he did not have a
       19    pulse.
       20          Q.     And the Glasgow Coma Scale was a total of
       21    what?
       22          A.     Three.
       23          Q.     What does that mean?
       24          A.     That means he doesn't have any response to
       25    eyes, no response to verbal, no motor response.


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Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 91 of
                                      184

                                                                       Page 91
        1          Q.     Okay.   And the SaO2, 100 percent, what
        2    does that mean?
        3          A.     His oxygen saturation.
        4          Q.     Is that his pulse oximetry?
        5          A.     That is correct.
        6          Q.     That's when you put a little clip on his
        7    finger?
        8          A.     Yes, a little sensor.
        9          Q.     Okay.   And why is it that he didn't have a
       10    pulse and that his Glasgow Coma Scale was so low
       11    three minutes after injecting him with 4 milligrams
       12    of Ativan?
       13          A.     I'm sorry.     Could you repeat it?
       14          Q.     Yeah.   Why three minutes after injecting
       15    him with Ativan did he not have a pulse and have a
       16    low Glasgow Coma Scale?
       17                 MR. NEWMAN:     Object to form.
       18          A.     That's how he presented to me.
       19    BY MR. HECHT:
       20          Q.     Did you ever think that maybe this isn't a
       21    good idea for me to inject him with 4 milligrams of
       22    Ativan based on the vitals?
       23                 MR. NEWMAN:     Object to form.
       24          A.     No.   I made my decision based on his
       25    specific situation.


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Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 92 of
                                      184

                                                                       Page 92
        1    BY MR. HECHT:
        2           Q.    Okay.   And what was your decision based
        3    on?
        4           A.    Based on his specific situation being that
        5    he was in contact with S.O.          He was being subdued by
        6    S.O.    He was possibly a -- could injure himself,
        7    injure some officer, and could possibly injure us.
        8           Q.    Let's assume that he was in handcuffs,
        9    okay?    And let's assume that there was more than two
       10    police officers surrounding him.          How is it that
       11    Mr. Docher would have injured himself or the
       12    officers?
       13                 MS. BARRANCO:     Object to form.
       14                 MR. NEWMAN:     Join.
       15           A.    How would he have injured them?         Well,
       16    based on our H portion of the narrative on the last
       17    sentence, it states that some of the officers on
       18    scene were injured during the struggle.            And
       19    previous to that, one officer believes that the
       20    patient is on something because he was so strong.
       21    BY MR. HECHT:
       22           Q.    So was there a concern for you that he was
       23    going to break out of the handcuffs?
       24                 MR. NEWMAN:     Object to the form.
       25           A.    If you are going to assume that I remember


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Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 93 of
                                      184

                                                                       Page 93
        1    that he had handcuffs, officers were injured.             Not a
        2    hundred percent sure if he was on handcuffs when
        3    that happened.       But there was more than one officer
        4    there, so there must have been a need for more than
        5    one officer there.       So there's a high possibility of
        6    injury either to himself or to the officers.
        7    BY MR. HECHT:
        8          Q.     Okay.   And under "Treatment," going to
        9    6:47, you note that he still did not have a pulse
       10    and he essentially flatlined, correct?
       11          A.     6:47.   That is correct.
       12          Q.     Okay.   And at 6:48, epinephrine was given.
       13    Why was that given?
       14          A.     Because of the -- there was no pulse
       15    present.     And our ACLS protocol, that is what we
       16    follow with a person that is asystole in rhythm.
       17    Epinephrine is the medication of choice.
       18          Q.     Okay.   And did you ever think that there
       19    was a -- another way besides injecting him with
       20    Ativan to get him to calm down?
       21                 MR. NEWMAN:     Object to the form.
       22          A.     No, not at the time.
       23    BY MR. HECHT:
       24          Q.     Did any --
       25          A.     Previous attempts, apparently, by the


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Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 94 of
                                      184

                                                                       Page 94
        1    officers had basically got us to the point of us
        2    being called because of the injury that he sustained
        3    during the struggle prior to our arrival.            So since
        4    whatever was being done has not had any positive
        5    results, in my opinion, I was able to use the
        6    medications that I have at my discretion under our
        7    protocols to remedy the call.
        8          Q.     What is it that any of the sheriff's
        9    officers told you that they attempted to do prior to
       10    your arrival to get him to calm down?
       11          A.     They did not discuss their tactics or
       12    their policy and procedures with me.
       13          Q.     Okay.   So do you even know if they tried
       14    in any way, shape, or form to put any sort of
       15    restraints on him or, you know, tie his arms or
       16    anything like that?
       17                 MS. BARRANCO:     Object to the form.
       18                 Go ahead.
       19                 MR. NEWMAN:     Join.
       20          A.     As I mentioned before, sometime during the
       21    struggle -- I'm not 100 percent sure as to when, but
       22    he was placed in handcuffs.
       23                 MR. HECHT:     Okay.    I'm going to give you
       24          what we'll mark as Plaintiff's Exhibit 4.
       25


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Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 95 of
                                      184

                                                                       Page 95
        1                 (Thereupon, marked as Plaintiff
        2          Exhibit 4.)
        3                 MR. NEWMAN:     And you said this is
        4          Exhibit 4?
        5                 MR. HECHT:     Yeah.   This is Exhibit 4.
        6    BY MR. HECHT:
        7          Q.     This is -- my understanding is of -- comes
        8    from the protocols.
        9          A.     Yes.
       10          Q.     Is that correct?
       11          A.     I believe so.
       12          Q.     Okay.   So we're going to look at combative
       13    patients.     And I've highlighted the pertinent parts.
       14                 It says, "The transport of combative and
       15    potentially combative patients can be a stressful
       16    and dangerous experience for Ground and Air Medical
       17    Crew members, threatening the safety of all EMS
       18    personnel.     The following protocol is adopted to
       19    deal with this possibility:         one, recognize
       20    potential etiologies of combative behavior and
       21    carefully evaluate each patient prior to transfer."
       22                 My question is, when you came in contact
       23    with Tavares Docher, did you evaluate the potential
       24    etiologies for his combative behavior?
       25          A.     For the short time that I was with him


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Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 96 of
                                      184

                                                                          Page 96
        1    initially, that was part of my assessment.              My
        2    assessment was to figure out his injuries and remove
        3    him from the situation that would further injure --
        4    cause injury to himself or any officers.
        5          Q.     Okay.   And I understand that.        My
        6    question, though, is did you evaluate the potential
        7    etiologies of his combative behavior?
        8          A.     The time that I had with him, no, because
        9    everything was -- the call was happening in real
       10    time.    There's certain things in our line of work
       11    that we're not able to -- in a perfect world, we can
       12    have this extensive evaluation of patient care, but
       13    we don't live in a perfect world.           We have to treat
       14    each patient on a case-by-case basis.            So when I --
       15    each situation is different.
       16          Q.     Okay.   Did you ever assess the head injury
       17    that he sustained as a potential etiology of his
       18    combative behavior?
       19          A.     I do not have the ability to do a CAT scan
       20    in the field.      I do not have the ability to do an
       21    x-ray in the field.       So whether a cut to his head
       22    can lead to brain trauma, I cannot assess that in
       23    the time that I have out in the field.
       24          Q.     Is there any other way to assess a head
       25    trauma besides using imaging out in the field?


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Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 97 of
                                      184

                                                                       Page 97
        1          A.     For cerebral vascular injuries like CVAs
        2    or strokes, there are evaluations that we can do to
        3    see if they had -- they have conjugate gaze, they're
        4    able to follow commands, answer certain questions
        5    and things like that.        But specifically to combative
        6    patients, it's not going to always happen because of
        7    the nature of the call.
        8          Q.     Okay.   Did you evaluate Mr. Docher's
        9    possible use of alcohol or drug intoxication as a
       10    potential etiology for his combative behavior?
       11          A.     I was told by an officer that he possibly
       12    or has alcohol involved and possibly something else.
       13    I wasn't given anything specific.           It's based on
       14    what I was told.       And those things had nothing at
       15    the time to do with his -- from what I thought his
       16    combativeness of the trauma.
       17          Q.     Okay.   Looking at Number 3 --
       18          A.     Yes.
       19          Q.     -- did you initiate preventative measures
       20    to reduce potentially a combative patient's anxiety?
       21    And then it lists things.         It says, "Did you
       22    reassure the patient, give honest answers to
       23    questions, give firm, calm direction?"            Did you ever
       24    do that with Mr. Docher?
       25          A.     These are considered educational


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Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 98 of
                                      184

                                                                       Page 98
        1    guidelines, something to consider as you go on a
        2    case-by-case basis per patient.          Not everybody's
        3    going to fall under everything, where you can go
        4    from A through Z with everybody because of, you
        5    know, what the patient is presenting at the time,
        6    the amount of time that we have with the patient,
        7    just the call in general.
        8          Q.     Okay.   So I take that to mean that you did
        9    not reassure him, give him honest answers to
       10    questions or give firm, calm direction, correct?
       11                 MR. NEWMAN:     Form.
       12          A.     That is correct.
       13    BY MR. HECHT:
       14          Q.     Okay.   Number 5:     "Should a patient become
       15    combative, the following steps to be taken:             A, look
       16    for potential etiologies and correct, one, hypoxia;
       17    two, shock; three, excessive environmental
       18    stimulation."
       19                 My question for you is, did you ever look
       20    for the potential etiologies in regards to any of
       21    those things listed there:         Hypoxia, shock,
       22    excessive environmental stimulation?
       23          A.     That is part of our assessment portion
       24    when we approach a patient:          How are they presenting
       25    to us?


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Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 99 of
                                      184

                                                                       Page 99
        1          Q.     Okay.    So you did that?
        2          A.     That's part of my training, yes.
        3          Q.     Okay.    And then after you --
        4          A.     In no specific order, and it's different
        5    for different patients.
        6          Q.     Right.    Well, let me ask you this:        You
        7    administered the Ativan at 6:40, correct?
        8          A.     I believe so.     Yes.
        9          Q.     Okay.    Did you look for potential
       10    etiologies in term of hypoxia, shock, and excessive
       11    environmental stimulation prior to injecting him
       12    with Ativan?
       13                 MR. NEWMAN:     Object to form.      Asked and
       14          answered.
       15                 Answer again.
       16          A.     The -- that's part of my assessment.           I
       17    see how my patient is doing before I give him
       18    medication and after medication.
       19    BY MR. HECHT:
       20          Q.     Okay.    5b says, "The following physical
       21    restraints are authorized for use if, A, above does
       22    not work or apply."       And then in parentheses it
       23    says, "Apply before transport if at all possible,
       24    one, Rayon webbing strapped across chest and legs;
       25    two, hard extremity restraints."


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Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 100 of
                                      184

                                                                      Page 100
         1                So did you ever attempt to utilize Rayon
         2    webbing strapped across Mr. Docher's chest and legs
         3    or hard extremity restraints?
         4          A.    No.
         5          Q.    Why not?
         6          A.    Because he was not combative when I had
         7    him on my stretcher.
         8          Q.    So he was not combative when he was on the
         9    stretcher?
        10          A.    Yes.
        11          Q.    At what point?      After the injection of
        12    Ativan or before?
        13          A.    After the injection.
        14          Q.    My question is, is before you injected him
        15    with the Ativan, why did you not utilize Rayon
        16    webbing or hard extremity restraints?
        17          A.    Because he was still in care of S.O. and
        18    struggling.     They had not gotten complete control of
        19    him for me to be safe enough to put him on a
        20    stretcher.
        21          Q.    So your testimony is, is that the officers
        22    that were surrounding Mr. Docher did not have full
        23    control of him, and that's why you chose to inject
        24    him with Ativan?
        25                MS. BARRANCO:      Object to the form.


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Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 101 of
                                      184

                                                                      Page 101
         1                MR. NEWMAN:     Object to the form.
         2          A.    That is correct.
         3    BY MR. HECHT:
         4          Q.    And is it correct that the reason you did
         5    not utilize the Rayon webbing or the hard extremity
         6    restraints is because Mr. Docher posed a danger to
         7    himself and the officers?
         8          A.    Why I did not use it?
         9          Q.    Yes.
        10          A.    I didn't use it because when he was in my
        11    complete care on my stretcher, he was not a threat
        12    to anybody.
        13          Q.    I'm asking you before you injected him
        14    with the Ativan, so let me ask the question again.
        15                Is the reason you did not utilize the
        16    Rayon webbing or the hard extremity restraints prior
        17    to injecting the Ativan because you believed that he
        18    was too much of a danger to himself and the
        19    officers?
        20          A.    That's correct.      And us.
        21          Q.    And the paramedics?
        22          A.    Yes.
        23          Q.    5c:    "Pharmacologic restraints may be used
        24    if physical restraints are not sufficient or if
        25    continued combativeness may interfere with


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Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 102 of
                                      184

                                                                      Page 102
         1    deliverance of proper medical care or may cause
         2    further harm to the patient."
         3                So, again, you never even attempted the
         4    physical restraints, correct?
         5          A.    That is correct.
         6          Q.    So as you sit here today, you have no idea
         7    if the physical restraints would have been effective
         8    on Mr. Docher, correct?
         9                MR. NEWMAN:     Object to form.
        10          A.    They wouldn't have been necessary while he
        11    was on my stretcher.
        12    BY MR. HECHT:
        13          Q.    And, again, I'm not talking about after
        14    you injected the Ativan.        I'm talking about before
        15    the Ativan, so let me ask the question.
        16                Before you injected the Ativan, you never
        17    attempted any sort of physical restraints on
        18    Mr. Docher, correct?
        19          A.    The officers were doing that.
        20          Q.    Okay.    Tell me what the officers did to
        21    physically restrain Mr. Docher in terms of utilizing
        22    physical restraints.
        23          A.    Like I mentioned sometime during the
        24    struggle, he was handcuffed.         And as he would go
        25    through being combative and being relaxed, when he


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Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 103 of
                                      184

                                                                      Page 103
         1    would be combative, the officers would pin him down
         2    and keep him from moving too much so as to not cause
         3    harm to himself or to any further -- any more
         4    officers.
         5          Q.    Did the officers use Rayon webbing
         6    strapped across Mr. Docher's chest and legs at any
         7    point in time that you're aware of?
         8          A.    Not that I'm aware of.
         9          Q.    At any point in time, did the sheriff's
        10    officers use any hard extremity restraints on all
        11    four limbs at any time that you're aware of?
        12          A.    Hard restraints such as handcuffs?
        13          Q.    Well, I'm reading from your protocol.
        14          A.    I don't think they follow our protocol,
        15    though.
        16          Q.    I'm just asking the question.
        17          A.    This is -- this is our educational
        18    guidelines.     It's not the protocol.        It is to give
        19    us some background as to the types of calls that we
        20    may run into.     But our protocols, what we actually
        21    follow, is further down in the page.           But as an
        22    educational guideline, you're talking about hard
        23    extremity restraints.       I'm assuming that's
        24    handcuffs, which we don't carry.          And at some point
        25    in time during the struggle, he was handcuffed.


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Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 104 of
                                      184

                                                                      Page 104
         1          Q.    Okay.    Well, what I'm looking at, which
         2    we've marked as Exhibit 4, it says, "Emergency
         3    Medical Guidelines."       Do you see that at the top of
         4    E-14?
         5          A.    Yeah.    On the following page -- it didn't
         6    come out on here, but they're part of our
         7    educational guidelines.        There are things in here
         8    that are more general and that are not specific to
         9    our protocol but a lot of things.          This is just for
        10    educational purposes.       Hey, you can be aware of
        11    this.   You can be aware of that.         But there's no --
        12    you cannot make one specific protocol for every
        13    situation because we have numerous pages.
        14          Q.    Under "Combative Patients," it says, "The
        15    following protocol is adopted to deal with this
        16    possibility."      I'm assuming that means combative
        17    patients, correct?
        18          A.    Yes.
        19          Q.    So this -- this is the protocol when
        20    we're --
        21          A.    It's our educational guidelines in our
        22    protocol.
        23          Q.    What's the difference between a protocol
        24    and an educational guideline?
        25          A.    Well, if you were -- can I show you what


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Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 105 of
                                      184

                                                                      Page 105
         1    our protocol --
         2          Q.    Yeah.
         3          A.    -- is?
         4                Our protocols are divided by various
         5    sections such as procedural guidelines, educational
         6    guidelines.     And even in some of the educational
         7    guidelines, there are general pieces of equipment
         8    that we don't even carry.        But it's there for our
         9    education.
        10                Our protocol also includes sections on
        11    here of medications, their interactions, their
        12    actions or indications.        Now, that does not mean
        13    that our protocol follows what this says.            Our
        14    protocol is approved by our medical director, and
        15    it's summarized in -- not in the procedural
        16    guidelines, not in the educational guidelines.
        17    Let's see where it's at.
        18                MR. NEWMAN:     You referenced them earlier.
        19          You asked him some questions about the protocol
        20          having to do with Ativan.
        21          A.    It is specifically to what we
        22    are -- St. Lucie County Fire District follows under
        23    medical direction.       And these are what we are --
        24    this is what's over us in terms of what are the
        25    parameters that we can do during calls.


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Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 106 of
                                      184

                                                                      Page 106
         1    BY MR. HECHT:
         2          Q.    Okay.
         3          A.    And it's separated for medical, cardiac,
         4    environmental, poisonings and stuff like that.
         5          Q.    Okay.    Well, let me ask you about
         6    Exhibit 4 when we're talking about combative
         7    patients.
         8          A.    Uh-huh.
         9          Q.    Is this something that you follow in your
        10    employment as a paramedic?
        11          A.    We are given a choice with parameters to
        12    do what's best for the patient at a specific set
        13    time.
        14          Q.    Okay.    So Exhibit 4 is -- is a guideline.
        15    It's not something that you must do, correct?
        16          A.    That is correct.
        17          Q.    All right.
        18          A.    Actually, our protocols are guidelines
        19    also.
        20          Q.    Okay.    So the protocols are just
        21    guidelines.     It's not something that you must do
        22    when treating a patient, correct?
        23          A.    They give us the parameters as to what we
        24    can work within.
        25          Q.    Okay.    All right.     So, for instance, it


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Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 107 of
                                      184

                                                                      Page 107
         1    says 1 to 4 milligrams of Ativan.          That doesn't mean
         2    you can use your discretion and give someone
         3    50 milligrams of Ativan, correct?
         4          A.    Anything above 4 milligrams our protocol
         5    tells us to call medical direction on.
         6          Q.    All right.     So when we're talking about
         7    Exhibit 4 in dealing with combative patients, did
         8    you follow this protocol in dealing with Mr. Docher?
         9          A.    Not all patients are going to fall under a
        10    specific protocol.       It can fall under a parameter.
        11    And we have to limit it to use those parameters for
        12    helping the patient at that time.
        13          Q.    Okay.    So the answer is you did not follow
        14    everything in Exhibit 4 under combative patients,
        15    correct?
        16                MR. NEWMAN:     Object to form.
        17          A.    That is correct.
        18    BY MR. HECHT:
        19          Q.    Okay.    When you arrived on scene and you
        20    came in contact with Mr. Docher, would you define
        21    his condition as a serious medical condition?
        22                MR. NEWMAN:     Object to the form.
        23          A.    No.
        24    BY MR. HECHT:
        25          Q.    Why not?


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Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 108 of
                                      184

                                                                      Page 108
         1          A.    Because he was spontaneously breathing.
         2    He was conscious enough to move around and interact
         3    with the people that were around him.           That's it.
         4          Q.    Did you see a pool of blood under his
         5    head?
         6          A.    Yes.
         7                MS. BARRANCO:      Object to the form.
         8    BY MR. HECHT:
         9          Q.    Okay.    Is that not a serious medical
        10    condition that needs to be treated immediately?
        11                MR. NEWMAN:     Object to form.
        12                MS. BARRANCO:      Form.
        13          A.    Serious could be subjective because you
        14    may see it serious because the head is very
        15    vascular.    And when I run into a lot -- come on seen
        16    with a lot of patients bleeding from their head, it
        17    looks more exaggerated than it is, but I cannot
        18    assess the seriousness of a patient until I receive
        19    vitals and stuff like that.         What I can see from the
        20    external is the guy is bleeding from his arteries
        21    and it's squirting out with pressure, then that
        22    could lead to a potential serious situation,
        23    hypovolemia.     A pool of blood around somebody's head
        24    is traumatic injury from bleeding.
        25


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Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 109 of
                                      184

                                                                      Page 109
         1    BY MR. HECHT:
         2          Q.    Okay.    So your testimony is that when you
         3    arrived on scene, this was not a serious medical
         4    condition that needed to be treated immediately.
         5          A.    When we are -- we are 911 emergency.           So
         6    when we are approaching the scene and we get on
         7    scene, it's -- in essence, there's always a -- we
         8    have to treat people -- patients accordingly.             There
         9    are some patients that call for immediate treatment
        10    such as CHF, late-stage CHF, that if we do not take
        11    over their airway or assist them with their airway,
        12    then eventually they're going to stop breathing.              So
        13    it's on a case-by-case basis as to how expeditely we
        14    move on calls.
        15          Q.    You respond to the 301 East Prima Vista in
        16    response to a trauma call, correct?
        17          A.    Yes.
        18          Q.    Is a trauma call a situation where you
        19    respond to where a patient needs to be treated
        20    immediately?
        21          A.    It can be.
        22          Q.    Okay.    But in this case, your testimony
        23    was, when you arrived, it really wasn't a trauma
        24    call?
        25                MR. NEWMAN:     Object to form.


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Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 110 of
                                      184

                                                                      Page 110
         1          A.    It was a trauma call because I explained
         2    that I saw laceration on his head, some fresh blood
         3    in his nose and mouth, and he had blood around his
         4    head.
         5    BY MR. HECHT:
         6          Q.    Okay.    And based on what you just told me,
         7    is that a serious need that needs to be treated
         8    immediately?
         9                MR. NEWMAN:     Form.
        10          A.    Anybody who calls us is going to get
        11    treated as immediate as we can.
        12    BY MR. HECHT:
        13          Q.    Okay.    And you were going to transport him
        14    to the hospital, correct?
        15          A.    I was going to?
        16          Q.    Right.    I mean, isn't that why you
        17    responded, was to take him to the hospital?
        18          A.    We were called for a trauma.         So,
        19    essentially, I was the medical personnel to assess
        20    this patient.     And from that point on, whether, you
        21    know, he got a cut on his hand or not, I can assess
        22    whether the officers want me to get him medically
        23    released at the hospital or not.          So my intentions
        24    are always to treat and transport a patient.
        25          Q.    Okay.    So when you went to the scene and


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Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 111 of
                                      184

                                                                      Page 111
         1    you made contact with Tavares Docher, you knew he
         2    had a medical need and you need -- that needed to be
         3    treated immediately and you were going to transport
         4    him to the hospital, correct?
         5          A.    Eventually, yes.
         6          Q.    All right.     Let me just see if I have
         7    anything else.
         8                As you sit here today, did you give
         9    Tavares Docher enough Ativan which caused him to go
        10    into respiratory distress?
        11                MR. NEWMAN:     Object to the form.
        12          A.    No.
        13    BY MR. HECHT:
        14          Q.    You did not cause Tavares Docher to go
        15    into respiratory distress?
        16                MR. NEWMAN:     Form.
        17          A.    No.
        18    BY MR. HECHT:
        19          Q.    Did the sheriff's officers cause Tavares
        20    Docher to go into respiratory distress?
        21                MS. BARRANCO:      Object to the form.
        22                MR. NEWMAN:     Form.
        23          A.    You'd have to ask them.
        24    BY MR. HECHT:
        25          Q.    If someone is being punched in their


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Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 112 of
                                      184

                                                                      Page 112
         1    stomach or kicked in their abdomen, would you inject
         2    that person with 4 milligrams of Ativan?
         3                MR. NEWMAN:     Object to the form.
         4                MS. BARRANCO:      Object to the form.
         5          A.    Is that patient being combative?
         6    BY MR. HECHT:
         7          Q.    Sure.
         8          A.    Are they causing harm to themselves and
         9    others?
        10          Q.    Sure.
        11          A.    Then, at that specific case, I would give
        12    the patient Ativan to protect him from himself and
        13    to protect others around him.
        14          Q.    Okay.    What if the patient was not a
        15    danger to himself or to others but was being punched
        16    in his stomach and kicked in his stomach?            Would you
        17    still give him 4 milligrams of Ativan?
        18                MS. BARRANCO:      Object to form.
        19                MR. NEWMAN:     Join.
        20          A.    Is that patient being combative?
        21    BY MR. HECHT:
        22          Q.    No.
        23          A.    Then what is the need of giving him a
        24    sedative?
        25          Q.    I'm just asking the question.


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Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 113 of
                                      184

                                                                      Page 113
         1          A.    I don't know if you're trying to say that
         2    somebody who has trauma, just because they have
         3    trauma they need sedation.
         4          Q.    Let me ask you a different question.
         5                If someone is suffering trauma to their
         6    airway, would you still inject them with
         7    4 milligrams of Ativan if they're being combative?
         8                MS. BARRANCO:      Form.
         9                MR. NEWMAN:     Join.
        10          A.    Yes.
        11                MR. HECHT:     All right.     I don't have
        12          anything else.      Thanks.
        13                          CROSS-EXAMINATION
        14    BY MS. BARRANCO:
        15          Q.    I have a few questions for you,
        16    Mr. Rosario, to try to follow up a few things that
        17    plaintiff's counsel had asked you.
        18                And for the record, I represent the
        19    Sheriff of St. Lucie County and four of his deputies
        20    that are being sued in this case that's been brought
        21    by Mr. Tavares through his mother.          And the names of
        22    the deputies that I represent are Deputy Calvin
        23    Robinson, Deputy Clayton Mangrum, Deputy Christopher
        24    Newman and Deputy Wade Courtemanche.
        25                Do you know any of those individual


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Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 114 of
                                      184

                                                                      Page 114
         1    defendants that I just named?
         2          A.    No.
         3          Q.    If they were to walk in this room right
         4    now, would you be able to recognize, you think, any
         5    of them?
         6          A.    Might, but I probably won't associate
         7    their name with who they are.
         8          Q.    Then, would I be safe in assuming that
         9    you're not friends with any of my clients?
        10          A.    That is correct.      I don't know any of
        11    those --
        12          Q.    Have you ever socialized with any of the
        13    deputies that are being sued in this case?
        14          A.    No.
        15          Q.    So when you arrived on scene where
        16    Mr. Docher was on May 11th, 2014, do you remember
        17    recognizing any of the law enforcement personnel
        18    that was on the scene that evening?
        19          A.    No.
        20          Q.    And I know you're employed with the
        21    St. Lucie County Fire Rescue --
        22          A.    Fire District.
        23          Q.    -- Fire District.       Okay.
        24          A.    Yes.
        25          Q.    Okay.    Is that a separate entity than the


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Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 115 of
                                      184

                                                                      Page 115
         1    St. Lucie County Sheriff's Office?
         2          A.    Yes.
         3          Q.    And when you've been asked questions by
         4    plaintiff's counsel about your or our protocols or
         5    your or our educational guidelines, were you
         6    referring to the Fire District's protocols and
         7    educational guidelines?
         8          A.    Yes.
         9          Q.    Do you understand that the St. Lucie
        10    County Sheriff's Office deputies are not required to
        11    follow the guidelines and the educational guidelines
        12    and protocols that you have been shown here today?
        13          A.    Yes.
        14          Q.    Are you aware that they may have their own
        15    policies and procedures that they follow?
        16          A.    Yes.
        17          Q.    Have you been shown today any of the
        18    St. Lucie County Sheriff's Office policies or
        19    procedures?
        20          A.    No.
        21          Q.    So it's a completely different entity; is
        22    that right?
        23          A.    Yes.
        24          Q.    Now, I know plaintiff's counsel had asked
        25    you some questions about blunt force trauma and had


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Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 116 of
                                      184

                                                                      Page 116
         1    asked you about what that was, and you mentioned
         2    something about external action where a body can be
         3    struck by an outside force.         Is that what you were
         4    referring to?
         5          A.    That's correct.
         6          Q.    Now, can blunt force trauma, in your
         7    experience, also occur when a person hits himself
         8    against a hard object, whether it's the ground or a
         9    fist?
        10          A.    Yes.    Anything outside of the patient's
        11    body.
        12          Q.    Okay.    So would you agree with me, then,
        13    that to the extent Mr. Docher suffered any blunt
        14    force trauma on May 11, 2014, that you yourself did
        15    not witness, you don't know whether that was a
        16    result of someone striking or touching Mr. Docher or
        17    whether that was Mr. Docher striking or touching
        18    someone or something external to his own body?
        19                MR. HECHT:     Form.
        20          A.    Yes.    I'm not aware of what happened prior
        21    to me arriving.
        22    BY MS. BARRANCO:
        23          Q.    Now, just so I'm clear, as you sit here
        24    today -- and I know we're talking about something
        25    that happened almost three years ago -- do you have


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Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 117 of
                                      184

                                                                      Page 117
         1    an independent recollection at all of this
         2    particular call at the CVS in Fort Pierce involving
         3    Mr. Docher and yourself and these deputies?
         4          A.    Nothing that was not recalled through
         5    reading my report.
         6          Q.    Well, then, let me ask you, in looking at
         7    your report, does that refresh your independent
         8    recollection at all, or are you just going by what's
         9    in your report and you have no other independent
        10    recollection of this particular call?
        11          A.    I can only go by my report because it was
        12    so long, and I've had thousands of patients since
        13    then.
        14          Q.    That was my next question.         How many
        15    patients have you attended to since May 11th of
        16    2014?
        17          A.    I can't tell you the specific number, but
        18    it's a large amount of patients and with various
        19    ailments.
        20          Q.    Okay.    Now, in looking at your report --
        21    and you can refer to -- I guess -- I believe your
        22    report was marked as an exhibit to your deposition.
        23          A.    Exhibit 3.
        24          Q.    Okay.    Is that a final version of your
        25    report, or were there any earlier versions, as far


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Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 118 of
                                      184

                                                                      Page 118
         1    as you're aware, like draft copies?
         2          A.    No.    This is the report that we write and
         3    send through our server after a call.
         4          Q.    And do you know how long after this
         5    incident you authored that particular report?
         6          A.    It would be -- I believe if you go into
         7    the administration -- administrative portion of the
         8    report-writing system, you might be able to see the
         9    time the report was written.         But because of this
        10    one specific call, it does not stop us from running
        11    calls after.      As soon as our truck's clean, we're at
        12    the hospital and the patient's turned over, we could
        13    have had three, four other calls.          And I'm -- I
        14    become -- you know, get backed up on reports, so I'm
        15    sitting there writing reports as things happen --
        16          Q.    Okay.
        17          A.    -- per call.
        18          Q.    Let me refer you to your report.          If you
        19    could look at it for me, the narrative section.             And
        20    per the copy that I have, it's on page 3 of 6.
        21          A.    Okay.
        22          Q.    And you've got the narrative section which
        23    you kind of went through already, with the H and the
        24    O and the T and the R.
        25          A.    Yes.


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Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 119 of
                                      184

                                                                      Page 119
         1           Q.   If I can direct you to the R section.            See
         2    where it says, "Reassessment -- "Upon reassessment,
         3    the patient had ROSC prior to turnover"?
         4           A.   Yes.
         5           Q.   What is that ROSC?       What does that stand
         6    for?
         7           A.   Return of spontaneous circulation, meaning
         8    that there's no external CPR being done for the
         9    mechanical part of the heart to actually work how
        10    it's intended to work.
        11           Q.   So he was doing that on his own at that
        12    point?
        13           A.   Yes.    Yes.
        14           Q.   And then it says, "Patient care TOT ER
        15    staff with verbal report without incident."            And
        16    then it says, "Witness statement taken from rescue
        17    crew after call."      Is that the statement you were
        18    referring to that you gave to the sheriff's office?
        19           A.   Yes.    That is correct.
        20           Q.   And then it says, "R3 was placed OOS until
        21    statement and decon was done."
        22                What does that mean?
        23           A.   Rescue 3 was placed out of service for
        24    that moment in time until we can restock the truck,
        25    clean up the truck, clean our stretcher, and that


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Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 120 of
                                      184

                                                                      Page 120
         1    statement to the officer was finished.
         2          Q.    And what's decon mean?
         3          A.    Decontaminate.
         4          Q.    Okay.    Do you recall if you personally had
         5    to decontaminate?
         6          A.    I was part of the decontamination because
         7    it was the truck that I was in for that day, so I
         8    want to make sure that everything was kosher for my
         9    next patient.
        10          Q.    That everything is clean and sterile for
        11    the next person.
        12          A.    Yes, yes.     Basically resetting the truck
        13    back to where we can get more patients.
        14          Q.    Now, when you noted decon was done, does
        15    that necessarily mean that there was Mr. Docher's
        16    blood or bodily fluids on either yourself or the
        17    truck?
        18          A.    A lot of times when patients bleed, when
        19    they bleed, they bleed onto the stretcher cushion.
        20    The cushion, it's black.        Sometimes we can't see
        21    blood, but we spray everything and we wipe it down
        22    thoroughly.     And we also restock the truck from
        23    things that we've used during the call.           That's part
        24    of our decon, restocking also.
        25          Q.    And is that part of the fire rescue's


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Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 121 of
                                      184

                                                                      Page 121
         1    protocols?
         2          A.    It's not a protocol, per se, but it's
         3    almost like common sense of once -- if you use it,
         4    you have to replace it.
         5          Q.    And clean it.
         6          A.    And clean it.      Yeah.   Not only for us with
         7    bodily fluids and then possible -- anything that
         8    comes out of those bodily fluids, but for our
         9    patients also, since we're involved in every part of
        10    patient care.
        11          Q.    Okay.    Now, I'm going to direct your
        12    attention, to the extent that you need it, to your
        13    report, if you need it.
        14                Did you ever -- I know there's mention in
        15    your report, say, under "Assessment" on the first
        16    page.   You've got "within normal limits" towards the
        17    bottom.    You've got "Airway, breathing quality."
        18    And one of the things is skin temp.           Is that
        19    something different than body temperature?
        20          A.    It's the temperature that you can assess
        21    when we touch somebody.        If they are -- have
        22    environmental issues, you can feel that patient is
        23    really hot and dry.       You can tell that they're
        24    possibly dehydrated, heat stroke or things like
        25    that.   Or if they're cold and the patient had


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Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 122 of
                                      184

                                                                      Page 122
         1    passed, I can tell that they're cool to the touch
         2    and that they had passed with some time lapsing
         3    between the time I got called and the time I assess
         4    them.   So that's part of our assessment portion.
         5           Q.   Okay.    Now, in regard to Mr. Docher, I
         6    understood your testimony to be that when you first
         7    arrived on the scene, the St. Lucie sheriff's
         8    deputies were there with Mr. Docher in the parking
         9    lot.    And did you believe it was safe for you to
        10    actually make physical contact with Mr. Docher at
        11    that point in time?
        12           A.   When we initially were called, I
        13    questioned as to why we're still -- why we're here
        14    at this time because the patient didn't seem to be
        15    calm yet.
        16           Q.   And what do you mean, you questioned?
        17           A.   Because normally if there's a call that
        18    there's a possibility of -- that harm could be done
        19    from the patient to anybody interacting with the
        20    patient, we stage.       There's a staging process.        And
        21    the department S.O., through our communications
        22    division, would call us and say that the scene is
        23    secure and safe.
        24           Q.   So staging, do you mean waiting?
        25           A.   Waiting at least a block or two away from


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Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 123 of
                                      184

                                                                       Page 123
         1    the actual scene until the sheriff's department
         2    controlled the scene.
         3          Q.    Now, do you recall whether you staged in
         4    this instance with Mr. Docher?
         5          A.    I don't remember.
         6          Q.    Would that be noted in your report
         7    anywhere?
         8          A.    It would be noted -- I believe it would
         9    be -- you can make -- you can -- let's see.            You can
        10    assume, based on the time the call was received and
        11    the call was -- the call -- by the time we arrived.
        12    So based on the call received and the time we
        13    arrived, I don't believe that we staged because
        14    usually staging takes some time, depending on their
        15    situation.
        16          Q.    Okay.    And what were you just looking at
        17    to figure that out?
        18          A.    Page 5 of 6, it tells you the date and
        19    time through our CAD, computer-animated dispatch,
        20    automated dispatch, as to when certain events
        21    happen.
        22          Q.    And is that listed under your Incident
        23    Details in your report?
        24          A.    It is listed under -- yes.         That is
        25    correct.    That would be two pages.


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Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 124 of
                                      184

                                                                      Page 124
         1          Q.    Now, I want to clarify something you
         2    testified to earlier.
         3                Do you know whether or not Mr. Docher was
         4    conscious when you arrived on the scene of the CVS?
         5          A.    He was in and out of a state of calm and
         6    moving around, like, I guess trying to escape or
         7    something.
         8          Q.    Okay.    Well, I'm looking at your report,
         9    page 1.    And under "Assessment" with 18 -- time of
        10    1836, which I guess is military time for 6:36 in the
        11    evening --
        12          A.    Yes.
        13          Q.    -- do you see there that you've got
        14    patient listed as conscious at that point in time?
        15          A.    Where?    At 1836?
        16          Q.    Yes, on the first page of your report.
        17          A.    Oh, yes.
        18          Q.    So is that accurate or not?
        19          A.    He was -- when you write a report to
        20    explain that he was in and out of a state of calm
        21    and combativeness, it's hard to put a time as to
        22    when specifically -- because these times are
        23    approximate -- as to when specifically he was moving
        24    around and struggling with the officers or calm.
        25          Q.    Well, as -- and I'm a lawyer, not a


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Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 125 of
                                      184

                                                                      Page 125
         1    medical professional, and I know now what your
         2    training has been in the medical field.           Do you, in
         3    your training, see a difference between somebody
         4    being calm and somebody being unconscious?
         5           A.   Depending on if they want to respond or
         6    not.   I've had patients that we had to use smelling
         7    salts on.    And if we determined them not to be -- or
         8    to be conscious but they're acting unconscious just
         9    for the sake of the whole medical incident, so
        10    that's kind of a case-by-case basis.
        11           Q.   And it sounds like you don't know whether
        12    or not Mr. Docher, from his perspective, whether he
        13    was intentionally being uncooperative or
        14    intentionally being unresponsive or --
        15           A.   Or just resting or -- because, like I
        16    said, he was in and out of combativeness.            Whether
        17    he was resting or unconscious, it's -- to find out
        18    the consciousness of a patient, you would have to
        19    put him on an EEG machine, and that's -- test the
        20    brain waves and see if you're actually literally
        21    conscious or if you're just resting.
        22           Q.   Okay.    Do you know whether -- based on
        23    your training, whether or not Mr. Docher, in your --
        24    in your presence ever became unconscious?
        25           A.   He became unresponsive upon my assessment


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Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 126 of
                                      184

                                                                      Page 126
         1    at 1843.
         2          Q.    And how long was that after your arrival
         3    on the scene?
         4          A.    1836 is when I first started assessing him
         5    on scene in general.       And at 1843 is when I did the
         6    assessment that he has not become conscious.
         7          Q.    And was it after that point that you
         8    administered the Ativan or before that point?
         9          A.    I have -- if he was not conscious and
        10    Ativan is supposed to sedate, there would be no
        11    point in giving Ativan after somebody's unconscious,
        12    so I had given him Ativan prior to him not having
        13    any consciousness.
        14          Q.    And is that because, based on your earlier
        15    testimony, you administered the Ativan because
        16    Mr. Docher was combative?
        17          A.    Yes.
        18          Q.    Did any of the deputies on the scene ever
        19    tell you to give this gentleman a shot of something?
        20          A.    Not that I recall.       I don't -- I remember
        21    one asking me -- a female asking me how long it's
        22    going to take for it to take effect.
        23          Q.    You mean, the shot?
        24          A.    The Ativan.     Yes.
        25          Q.    Would that have been after you gave the


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Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 127 of
                                      184

                                                                      Page 127
         1    Ativan?
         2          A.    That was after.      And because the patient
         3    was still combative and he had a few more instances
         4    of kind of squirming and moving around or trying to
         5    get away or something and then would calm, and then
         6    I remember telling her, you know, two to three
         7    minutes or something, you know, just to -- because I
         8    guess they -- they looked tired.          They looked
         9    winded.
        10          Q.    "They" being who?
        11          A.    The officers, because I don't know what
        12    happened before we got there, but it seemed like an
        13    incident that had worn them physically, and so they
        14    wanted this to move along because it seems like this
        15    happened -- I don't know when it happened -- it
        16    seems like whatever's been going on had been going
        17    on quite a bit of time before I got there because of
        18    the officers that were either hurt or trying to
        19    subdue him or something.
        20          Q.    And do you have an independent memory -- I
        21    think you told us that you recall the officers --
        22    some of them being injured.
        23          A.    Uh-huh.
        24          Q.    Is that a yes, just for the record?
        25          A.    Oh, yes.


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Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 128 of
                                      184

                                                                      Page 128
         1          Q.    Okay.    Do you have an independent memory
         2    of which officers were injured?
         3          A.    No.   There was one when I arrived -- there
         4    was one that asked for a Band-Aid or something, and
         5    I think he had a scuff on his elbow.           It might have
         6    been -- it might have been one or two that were
         7    asking for Band-Aids, and I gave that out of our
         8    stock.
         9          Q.    Now, did you ever assess any of the
        10    officers' injuries, you yourself?
        11          A.    No, no.    He asked for a Band-Aid and I
        12    gave him a Band-Aid.
        13          Q.    Do you know, just from your own personal
        14    knowledge, whether any of the deputies on the scene
        15    went and sought medical treatment for their
        16    injuries?
        17          A.    No.
        18          Q.    Now, getting back to the skin temperature
        19    versus the body temperature, did there come a time
        20    that you ever measured Mr. Docher's body
        21    temperature?
        22          A.    With a thermometer, I don't believe so.
        23          Q.    Or any kind of measurement device,
        24    however --
        25          A.    A thermometer is the equipment of choice


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Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 129 of
                                      184

                                                                      Page 129
         1    that we have on our truck, and that could be used --
         2    we don't use it rectally, but we can do it axillary.
         3          Q.    Under the arm?
         4          A.    Yes.    Under the arm or oral.
         5          Q.    Could you look at your report and see if
         6    you ever got a reading for Mr. Docher's body
         7    temperature?
         8          A.    No.
         9          Q.    Is that something you typically would do?
        10          A.    It's a case-by-case basis, not on all the
        11    patients.    If we get called for a specific call for
        12    a sick person and they explain to me that they have
        13    been having chills, anything that exhibits the flu,
        14    then -- and now our protocols have this thing called
        15    a sepsis alert, but that's if somebody is septic.
        16    They have been taking antibiotics, maybe they're not
        17    working, then, yes, we would assess the body
        18    temperature.
        19          Q.    Did the fact that Mr. Docher, that he was
        20    combative and not being compliant, did that impact
        21    your ability to measure his body temperature?
        22                MR. HECHT:     Form.
        23          A.    It was not a decision that I made to do,
        24    so --
        25


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Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 130 of
                                      184

                                                                      Page 130
         1    BY MS. BARRANCO:
         2           Q.   Just you didn't do it.        You don't know
         3    why.
         4           A.   I didn't do it because I didn't feel it
         5    was necessary.
         6           Q.   Based on the type of call it was?
         7           A.   Yes.
         8           Q.   Do you know anything, based on your
         9    training and experience, about excited delirium?
        10           A.   Yes.
        11           Q.   Tell me what you know about it.
        12           A.   Excited delirium happens -- that protocol
        13    came out around the time where these certain exotic
        14    drugs have been introduced to the market, one being
        15    the one that a lot of people recognize, was the guy
        16    down, I believe, in Miami, who was high on bath
        17    salts and ate another gentleman's face.
        18                So there's a lot of exotic drugs that --
        19    certain other drugs that may cause the person's
        20    body, their metabolism, to be different than normal.
        21    And so what has been happening with the police
        22    officers, the sheriff's officers, is -- well, not
        23    sheriff's -- not for St. Lucie because they don't
        24    have tasers.     But when you give -- when you tase
        25    somebody, it could cause the patient's heart to go


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Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 131 of
                                      184

                                                                      Page 131
         1    into SVT or a higher excited phase.           And excited
         2    delirium in our protocol is treated with Ativan.
         3          Q.    Do you know if excited delirium can occur
         4    in someone who's not on any kind of, as you
         5    described it, exotic drug?
         6          A.    I'm not sure.
         7          Q.    Do you know if Mr. Docher was ever -- his
         8    blood or bodily fluids were ever tested for any kind
         9    of synthetic drugs or exotic drugs?
        10          A.    No.
        11          Q.    Do you know if there is a test to be able
        12    to determine that?
        13          A.    I'm pretty sure.      I'm not 100 percent.
        14    Yeah.   That's posthospital.        But I'm pretty sure
        15    that's how they determined the gentleman down in
        16    Miami to have bath salts in his system.           From what I
        17    have read, there has to be specific tests for those.
        18    Just a general blood screen -- or drug screen won't
        19    show some of the exotic things in the blood.
        20          Q.    And I could assume but I want to ask you,
        21    did you have anything to do with Mr. Docher's care
        22    once he was taken to the hospital?
        23          A.    No.
        24          Q.    Do you remember any of the deputies riding
        25    in the ambulance with Mr. Docher and yourself on the


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Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 132 of
                                      184

                                                                      Page 132
         1    way to the hospital?
         2          A.    Yes.
         3          Q.    Do you remember how many deputies?
         4          A.    One.
         5          Q.    Do you remember the name of that deputy?
         6          A.    No.
         7          Q.    Do you remember what he looked like?
         8          A.    Yes.
         9          Q.    Tell me.
        10          A.    He was a stocky guy.       He was dark-skinned.
        11    He mentioned his experience at the sheriff's
        12    department being new.       He also mentioned that he was
        13    an Iraqi -- I believe it was Iraqi war veteran or I
        14    believe some sort of war veteran.          And that's all he
        15    mentioned there.
        16          Q.    Did you ever have any discussions with any
        17    of the deputies on the scene that were having
        18    contact with Mr. Docher?        Did you ever have any
        19    discussions with them, other than what you've
        20    already told us here today, in regard to what had
        21    occurred with Mr. Docher before your arrival?
        22          A.    Other than what is stated on the H portion
        23    of my report, no.
        24          Q.    Okay.    Did anyone tell you -- and if you
        25    need to refer to your report, please do.            Did anyone


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Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 133 of
                                      184

                                                                      Page 133
         1    ever tell you that Mr. Docher had been unconscious
         2    at any time on the scene before your arrival?
         3          A.    I was not told that information.
         4          Q.    So whether he was or not, you don't know.
         5          A.    No.    I mean, initially we got called for
         6    trauma, so I'm assuming it was just I'm going to be
         7    treating a patient that's involved in some sort of
         8    trauma.    We get calls often by the police entities
         9    about trauma, whether self-induced or not.            So
        10    that's what my mindset.        All right.     There's going
        11    to be a trauma.      So if I hear anything, I didn't
        12    know what was going on.
        13          Q.    Now, you mentioned earlier and your report
        14    says that there was a laceration on Mr. Docher's
        15    head, on the right side of his head, with minimal to
        16    no bleeding?
        17          A.    Yes.
        18          Q.    Can you describe for me the severity of
        19    that injury?      Was it a minor injury, a serious
        20    injury, or something in between?
        21          A.    Prehospital, I could -- at times I can
        22    determine whether a specific laceration may require
        23    stitches.    But depending on the doctor on call or at
        24    the hospital or the PA that treats a specific
        25    patient, they may use stitches.          They may use glue.


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Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 134 of
                                      184

                                                                      Page 134
         1    They may use staples.       They may just leave it as is
         2    if it's severe enough.       You know, just put a
         3    Band-Aid and antibiotic ointment on it and it will
         4    heal itself, so it's different.
         5          Q.    Well, the fact that this particular
         6    laceration, when you visualized it, had minimal to
         7    no bleeding, did that impact your assessment of the
         8    severity of the head wound?         Did it suggest to you
         9    that it was less serious or more serious?
        10          A.    It was just a matter of fact.         He had a
        11    cut on his head and just dried blood or bleeding
        12    slowly.
        13          Q.    And just so I'm clear, in your presence,
        14    did you ever see Mr. Docher being combative?
        15          A.    Yes.
        16          Q.    Did you, in your presence, ever see
        17    Mr. Docher resisting the deputy's efforts?
        18          A.    Yes.
        19          Q.    And did Mr. Docher ever resist your
        20    efforts to get him care?
        21          A.    When we attempted to put him on a
        22    backboard, which we do for patients with any type of
        23    injury to the head, any trauma, we -- our previous
        24    protocol was to put him on a long spinal board.             As
        25    we attempted to put him on a long spinal board with


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Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 135 of
                                      184

                                                                      Page 135
         1    a cervical mobilization device, we found quickly
         2    that it was not in the patient's interest to be on a
         3    board that he has a possibility of sliding off of.
         4          Q.    Because he could fall off and hurt
         5    himself?
         6          A.    Yes.    He needs to stay in one spot.
         7          Q.    Okay.    Let me refer you back to your
         8    report.    According to my copy, it's page 4 of your
         9    report under the Treatment section.           And I see 1843.
        10          A.    Yes.
        11          Q.    Apparently, there's several entries that
        12    you've got 1843.      The last 1843, it says, "CPR,
        13    successful, one attempt, Sinclair, Thomas
        14    EMT-Paramedic."
        15                What does that entry mean?
        16          A.    That means CPR was successfully performed.
        17          Q.    Was that done by your partner, Thomas
        18    Sinclair?
        19          A.    Yes.    As I was doing the airway -- I was
        20    taking care of his airway -- he was the extra hand
        21    to be able to take care of CPR as I was securing the
        22    airway.
        23          Q.    So when you say CPR in that instance, are
        24    you referring to chest compressions?
        25          A.    Chest compressions, yes.


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Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 136 of
                                      184

                                                                      Page 136
         1          Q.    Now, if you go down to 1848, the second
         2    1848, I see an entry of "CPR, successful, one
         3    attempt, St. Lucie County Sheriff's Office."
         4          A.    Yes.
         5          Q.    What does that entry mean?
         6          A.    That was the gentleman that rode with us.
         7          Q.    The deputy?
         8          A.    The deputy, yes.      I told Tom to get me
         9    specific drugs out of the drug box, so he was not
        10    able to continue chest compression.           So since this
        11    deputy -- I know they have at least the training of
        12    first responder-type training, I put him to work, in
        13    essence.    And as I was ventilating the patient, I
        14    would coach him, be like, "Hey, you need to go a
        15    little faster."
        16          Q.    Coach who?
        17          A.    The deputy in the proper CPR.         So I would
        18    tell him to go either faster or deeper, depending on
        19    his performance of CPR.
        20          Q.    And in terms of the CPR that the deputy
        21    was performing in the back of the ambulance or the
        22    fire rescue truck, I guess it is, what specifically
        23    was he doing?
        24          A.    Chest compressions.
        25          Q.    On Mr. Docher.


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Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 137 of
                                      184

                                                                      Page 137
         1          A.    Yes.
         2          Q.    And were the deputy's chest compressions
         3    on Mr. Docher ultimately successful, based on your
         4    report?
         5          A.    They looked successful.
         6          Q.    Okay.    So I'm just looking at your report.
         7    It says "CPR, successful."
         8          A.    He positively did CPR.        Yes.
         9          Q.    Okay.
        10          A.    And, again, on that portion of our report,
        11    we have unchanged, successful, and worsening, so
        12    that's something that we have to pick through this
        13    program.
        14          Q.    So those are your only options for that
        15    part of it.
        16          A.    For -- yeah, for anything, for any
        17    assessment.
        18          Q.    And can you tell me what your -- and I
        19    don't know what page it would be on your copy of
        20    your report.     What was your -- ultimately your
        21    impression of Mr. Docher, I guess it was?            I see a
        22    primary impression and a second impression and an
        23    other impressions.       Can you tell me what your
        24    impressions were of Mr. Docher?
        25          A.    What page is that?


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Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 138 of
                                      184

                                                                      Page 138
         1          Q.    I have it starting at the very bottom of
         2    page 4, but I don't know if it's the same in your
         3    copy.
         4          A.    Okay.    Okay.   Yes.    What do you need to
         5    know?
         6          Q.    Yeah.    Can you tell me what your primary
         7    impression was of Mr. Docher?
         8          A.    My primary impression, according to my
         9    report, it was behavioral and/or psychiatric
        10    disorder, meaning he was combative.           It's a
        11    behavioral type call.
        12          Q.    Now, do you know -- well, let me ask you
        13    this:   Where did you come up with that impression?
        14    What was that based upon?
        15          A.    Based on my initial assessment, that he's
        16    been in contact with the sheriff's department and
        17    possibly not complying, and so he was struggling
        18    with authority, and so that would be deemed as a
        19    behavioral issue.
        20          Q.    Now, could you tell whether or not
        21    Mr. Docher had any mental illness that he had?
        22          A.    No, I don't have any history of
        23    Mr. Docher.
        24          Q.    So he could have but you just don't know.
        25          A.    I don't know.


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Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 139 of
                                      184

                                                                      Page 139
         1          Q.    And then your secondary impression was the
         2    traumatic injury?
         3          A.    Uh-huh.
         4          Q.    Is that a yes?
         5          A.    Yes.
         6          Q.    Was that related to the head laceration
         7    you already told us about?
         8          A.    Yes.    The head laceration, and I also
         9    mentioned that there was fresh blood on his nose and
        10    his mouth.
        11          Q.    Could you tell, from looking at it,
        12    whether or not the blood was coming from his nose or
        13    had come from somewhere else and it ended up by his
        14    nose?
        15          A.    No.    It was around his nose and his mouth.
        16    The one above on his head seemed to dry to a point.
        17    It wasn't actively bleeding, but the one on his
        18    mouth was still bleeding, I guess, around his nose.
        19    So specifically I wouldn't be able to tell you that
        20    the blood came just directly from the mouth.             If it
        21    came out of the nose, it might have spilled onto the
        22    mouth and it looked like it came out of the mouth.
        23    But around his face, from his nose to his chin,
        24    essentially, he was -- there was bleeding, active
        25    bleeding.


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Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 140 of
                                      184

                                                                      Page 140
         1           Q.   Okay.    And then at page 5 of your report,
         2    I see under, at the least on my copy, at the bottom
         3    there's a section that says "Patient."           You have
         4    Mr. Docher's name, black male.         And then it says 100
         5    pounds.
         6           A.   Uh-huh.
         7           Q.   Does that sound right to you, that he was
         8    100 pounds?
         9           A.   We don't have any way of measuring
        10    patients.    When I mentioned previously when we get
        11    parameters with our protocols, a lot of them are
        12    weight-based.     And because of our stretcher or none
        13    of our equipment have the capability of assessing
        14    weight, they give us parameters that are within safe
        15    limits that if we are off with weight by 100 pounds,
        16    then we still can't cause harm to the patient based
        17    on our treatment, but we guess with our weights.
        18           Q.   Well, do you know what his actual weight
        19    was?
        20           A.   No.   I didn't have any tools to measure
        21    that.
        22           Q.   Okay.    So was 100 pounds something that
        23    you had to type in, 1-0-0, or was that just like a
        24    base parameter?
        25           A.   No.   It was a blank spot in our


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Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 141 of
                                      184

                                                                      Page 141
         1    report-writing program, and we put in what we think.
         2    It is a requirement in our writing program.            So we
         3    have to put some sort of weight in there.
         4                That -- that part mainly takes in effect
         5    when things like dopamine, Cardizem, like, other
         6    medications are weight-based.         That's when they look
         7    at, okay, did you give the dosage within the
         8    parameters?     How much did you assume he weighed?
         9    That's where that comes in.
        10           Q.   Okay.    And I know earlier -- I think in
        11    your report you mentioned something about that the
        12    deputies -- deputy or deputies, when you got on
        13    scene, were reporting to you that Mr. Docher seemed
        14    very strong to them.
        15           A.   Uh-huh.
        16           Q.   Did you ever witness Mr. Docher acting in
        17    a manner that appeared that he was very strong for
        18    his size?
        19           A.   He was -- more than one officer had to
        20    restrain him.     And him seemingly to be a smaller
        21    guy.   And when I first got on scene, the officers
        22    were scraped.     So how is the small guy, you know,
        23    able to manhandle people like this that are larger
        24    than him?
        25                So the struggle itself seemed like


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Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 142 of
                                      184

                                                                      Page 142
         1    something that he showed that he was strong.
         2          Q.    All right.     I'm going to show you -- I'm
         3    going to mark it as Defendants' Sheriff and
         4    Sheriff's Deputies 1 for identification.            I'll show
         5    it to your lawyer first and ask you to look at that.
         6          A.    Sure.
         7                MS. BARRANCO:      And while you're doing
         8          that, just on the record, I know on that
         9          document is contained your date of birth and
        10          your driver's license number, and I'm going to
        11          ask that those two items be redacted before it
        12          gets copied and marked as an exhibit to this
        13          deposition, for privacy purposes.
        14                (Thereupon, marked as Defense Exhibit 1.)
        15    BY MS. BARRANCO:
        16          Q.    Do you remember -- well, first off, let me
        17    ask you, do you recognize that document I just
        18    showed you?
        19          A.    Yes.
        20          Q.    What is it?
        21          A.    It was a Statement Form, a written
        22    statement form of the incident after the incident
        23    happened.
        24          Q.    And did anyone tell you what to put in
        25    that narrative section?


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Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 143 of
                                      184

                                                                      Page 143
         1          A.    I think I asked -- I might have asked,
         2    what, do I just write everything that I wrote on the
         3    report or -- I wasn't 100 percent sure what they
         4    wanted outside of my report.
         5          Q.    And do you remember what you were told?
         6          A.    Just write what you saw.
         7          Q.    Did anybody tell you specifically what to
         8    write that you saw?
         9          A.    No.
        10          Q.    Okay.    Can you just -- and this is really,
        11    frankly, just so I know exactly what your words are
        12    there.     Is that your handwriting?
        13          A.    That is my handwriting.
        14          Q.    Is there anything on there that's not your
        15    handwriting?
        16          A.    The date and anything -- the whole section
        17    which says, "SWORN to and subscribed before me this
        18    date," that part is not.
        19          Q.    That's on the bottom?
        20          A.    Yes.
        21          Q.    Okay.
        22          A.    This date of statement and the time is not
        23    my handwriting and the case number.           Rescue 3 is
        24    not -- anything in -- that is my handwriting is
        25    contained under my name, information, including


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Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 144 of
                                      184

                                                                       Page 144
         1    driver's license and what have you.           And I --
         2          Q.    You said that is your handwriting or not?
         3          A.    Yeah.    What I'm saying, anything in this
         4    section between my personal information down to the
         5    narrative portion is my handwriting and then my
         6    signature.
         7          Q.    Okay.    Okay.   Can you just read for me
         8    what you wrote there in the narrative section?
         9          A.    Sure.
        10                "Upon arrival, found" -- I don't know what
        11    I wrote on there.
        12                MR. NEWMAN:      You want him to read it
        13          literally?
        14                MS. BARRANCO:      Well, yeah, because I know
        15          there were a couple words that I wasn't sure
        16          of.
        17                MR. NEWMAN:      So what she's asking you to
        18          do is read it out loud just so she understands
        19          it's your handwriting.
        20                THE WITNESS:     Yeah.    I'm trying to
        21          understand what I wrote there.
        22                MS. BARRANCO:      He's trying to read his own
        23          handwriting.     Isn't that the worst one, when
        24          it's your own hand?
        25                Mr. Rosario, can I just see that?          Maybe I


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Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 145 of
                                      184

                                                                      Page 145
         1           could tell you what I think it says.
         2                Do you mind if I just stand next to him?
         3           Maybe it would be quicker.
         4    BY MS. BARRANCO:
         5           Q.   And I'm standing over your shoulder, just
         6    for the record.
         7                Does the narrative say, "Upon arrival,
         8    found several S.O."?
         9           A.   "Several S.O. with a combative patient.
        10    Some of them had injuries as I approached the
        11    patient.    The patient was struggling with several
        12    S.O. on him, trying to keep him calm.           The patient's
        13    head showed trauma.       I decided to chemically sedate
        14    him.   See" -- and I referenced the run number.
        15                "After I secured the straps in the
        16    truck" --
        17           Q.   Does it say sharps?
        18           A.   I'm sorry.     Not sharps -- straps.
        19           Q.   Does that say straps?
        20           A.   No.   It's sharps.
        21           Q.   Oh, okay.
        22           A.   Yeah.    Once you give them medication for
        23    intramuscular needles not secured.
        24           Q.   Okay.
        25           A.   "After I secured the sharps in the truck,


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Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 146 of
                                      184

                                                                      Page 146
         1    I approached the patient, and he was still combative
         2    and cuffed.     Two to three minutes later, the patient
         3    stopped moaning.      S.O. then assisted by placing the
         4    stretcher next to the patient, picking him up, then
         5    placing the patient on the stretcher.           1 S.O. rode
         6    with us.    Treatment found at SLCFD," the route
         7    number and the reference.
         8          Q.    And, for the record, the run number was
         9    what?
        10          A.    16522.
        11          Q.    Now, you just mentioned something about --
        12    going up about four lines -- about two to three
        13    minutes later, the patient stopped -- you said
        14    moaning.
        15          A.    No.    That's moving.
        16          Q.    Moving?
        17          A.    Yeah.    That's moving.
        18          Q.    Okay.    Okay.
        19                Okay.    And then S.O. then assisted by
        20    placing stretcher next to the patient?
        21          A.    Yes.
        22          Q.    Okay.    All right.     Thank you.
        23                Oh, and just for the record, what was the
        24    date and time that you filled this out, according to
        25    the statement, anyway?


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Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 147 of
                                      184

                                                                      Page 147
         1          A.    It is 5/11/2014 at 1920.
         2          Q.    Which civilian time would be --
         3          A.    7:20.
         4          Q.    -- 7:20 p.m.?
         5          A.    Yes.
         6          Q.    I'll give this back down there.          I need to
         7    have her make a copy for me.
         8                All right.     Was there anything about that
         9    statement that you just read that is incorrect?
        10          A.    It references my report.        And aside from
        11    the times being approximate in that report, there's
        12    nothing on here that's incorrect.
        13          Q.    Okay.    Is there anything else you remember
        14    about this specific incident with Mr. Docher that
        15    you haven't been asked about that just stands out in
        16    your mind, one way or the other?
        17          A.    It was a call that required me to change
        18    gears a lot in terms of treatment.          Initially when
        19    we go on certain calls, the -- we deal with one,
        20    maybe two forms of cardiac rhythms.           He went through
        21    four of them, and all that different treatment
        22    modalities.     So it was one that challenged me, but I
        23    was able to perform what I needed to do at the time
        24    from asystole to V-tach to SVT, which when you shock
        25    SVT, you have to do changes in the monitor to not


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Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 148 of
                                      184

                                                                       Page 148
         1    shock them back into asystole or V-tach, back to
         2    normal signals.
         3                So as far as the type of range that he
         4    went through in a call like that, that's what stands
         5    out.
         6           Q.   And I know you were asked some questions
         7    earlier about the Ativan, but do you, based on your
         8    training and experience as an EMT paramedic, do you
         9    personally have an opinion, one way or the other,
        10    about what caused Mr. Docher to suddenly go into
        11    cardiac arrest?
        12           A.   As with any call, I always review the call
        13    for myself personally because I always try to better
        14    myself for my next patient.         And this call I
        15    particularly reviewed my treatment and I am well
        16    aware of what I did for my treatment.           If the
        17    specific -- if all the planets aligned and
        18    everything happened in the exact same way, I
        19    wouldn't change my treatment.
        20                I'm sorry.     What was the question?
        21           Q.   My question was, based on your training
        22    and experience, whether or not you personally had an
        23    opinion as to why Mr. Docher suddenly went into
        24    cardiac arrest.
        25           A.   I did have speculation, yes.


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Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 149 of
                                      184

                                                                      Page 149
         1          Q.    Okay.    Well, since we're in a deposition,
         2    let me ask, what is your speculation in that regard?
         3          A.    I speculated that the patient experienced
         4    an external pericardial tamponade, which means when
         5    somebody has a pericardial tamponade, what happens
         6    is the sac around the heart due to trauma fills with
         7    blood, and then now the heart beating inside of this
         8    sac does not have the proper amount of movement to
         9    actually make a complete beat, and eventually it
        10    stops because you're hindering from actually
        11    beating.    When you stop the heart from beating -- if
        12    you physically got into somebody's chest and held
        13    the heart down, it will stop.
        14                From what I -- as reviewing the call
        15    myself, from what I perceived is that when the
        16    patient was being subdued -- meaning, somebody was
        17    on his thoracic region from his back -- that after
        18    some time in struggle, your oxygen demand increases
        19    because you're struggling.        You're working out,
        20    whatever.    Your oxygen demand increases, so your
        21    heart rate increases also.        So you have to breathe
        22    fast to compensate for your heart rate.           Otherwise,
        23    you're going to be circulating unoxygenated blood in
        24    your body.
        25                So for his case, since he has obviously


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Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 150 of
                                      184

                                                                      Page 150
         1    been in a struggle with the officers prior to our
         2    arrival, not knowing how long, the act of somebody
         3    placing their weight upon his thoracic region could
         4    have caused his heart to not have enough room to
         5    work, and compress.
         6                Also, he's a young guy.        A lot of medical
         7    ailments don't really come early on in life, so
         8    arteriosclerosis and blood clots, all that stuff
         9    does not happen to a seemingly healthy young guy.
        10    You know, he was -- you know, he was a smaller guy,
        11    but it doesn't seem like he had any, like, cardiac
        12    issues or anything like that.
        13                So to have somebody -- their initial
        14    rhythm go from obviously moving around to actually
        15    asystole only concluded me in my opinion to say his
        16    heart was physically stopped.         And the reason why he
        17    came back with ROSC was because he's still young.
        18    And so we were able to do CPR for a short time and
        19    revive the heart muscles with oxygen, along with
        20    ventilation.     And then we were able to see the heart
        21    rhythm.    We were able to shock him into somewhat
        22    more of a normal heart rhythm but still a rapid
        23    heart rhythm.     And from there we were able to shock
        24    him again into a normal heart rhythm because his
        25    heart was not deprived of oxygen for that long.             And


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Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 151 of
                                      184

                                                                      Page 151
         1    then from that point on, he maintained his own heart
         2    rhythm.
         3          Q.    Now, based on what you just told me, I
         4    think you said compression to the thoracic --
         5          A.    Thoracic region.
         6          Q.    -- thoracic region, do you personally have
         7    any knowledge as to whether or not there was
         8    compression of Mr. Docher's thoracic region?
         9          A.    I saw when they were subduing him, that
        10    officers, as they were keeping him calm or keeping
        11    him from moving, that they were on his thoracic
        12    region.
        13          Q.    How long of a period of time did you see
        14    that occurring?
        15          A.    It was an off-and-on deal.         As I
        16    mentioned, he would be combative and then we would
        17    be relaxing.     And as he was relaxed, they would pull
        18    off of him.     And as they started trying to move him
        19    or do something with him, he would start thrashing
        20    again, so they would get back on him.
        21                So like I mentioned, I'm sure he was -- he
        22    was worked up.      He had been involved in whatever the
        23    officers had been going on for some time.
        24                So if you were to run two miles and I all
        25    of a sudden get behind you and keep you from


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Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 152 of
                                      184

                                                                      Page 152
         1    breathing, essentially that's how the anaconda does
         2    to his prey.     The prey does die of asphyxiation
         3    initially.     He dies of tamponade which causes the
         4    heart to stop so they don't struggle anymore and
         5    eventually they stop breathing shortly after.             And
         6    so that's, in my opinion, how I assessed this
         7    situation.
         8          Q.    Well, in regard to Mr. Docher, though, do
         9    you have any independent knowledge about whether or
        10    not any of that thoracic compression occurred before
        11    you got there?
        12          A.    I can't answer for whatever happened
        13    before.
        14          Q.    Or how long -- if it did occur, how long
        15    it was in place for?
        16          A.    I wasn't timing anything.         I just know
        17    that --
        18          Q.    I mean, before you got there.
        19          A.    Oh, before I got there?
        20          Q.    Obviously, you have no idea.
        21          A.    Yeah.    I have no idea what happened before
        22    I got there.
        23          Q.    And you mentioned something about
        24    Mr. Docher being a seemingly healthy young man.             And
        25    as you sit here today, Mr. Rosario, do you have


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Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 153 of
                                      184

                                                                      Page 153
         1    really any independent knowledge of Mr. Docher's
         2    health on the date of May 11th, 2014?
         3          A.    Like, prior?
         4          Q.    Yeah.    I mean, you said he's seemingly
         5    healthy, but do you know whether or not --
         6          A.    Well, I can only go by appearance.
         7          Q.    -- he had prior problems?
         8          A.    I can only go by appearance.         He's not --
         9    he wasn't overweight.       He seemed in decent shape.
        10    That's all I can go by.        Whether he had a medical
        11    history of asthma or cardiac congenital history
        12    from -- I can't tell you that.
        13          Q.    How about psychiatric?
        14          A.    I can't -- I can't comment to that because
        15    I didn't have verbal contact with him.
        16          Q.    Or how about drug use?
        17          A.    I don't know his history.
        18          Q.    Or alcohol use?
        19          A.    The only alcohol use that I was given
        20    information from was from the officers.           He thinks
        21    there was alcohol involved.
        22          Q.    At the time.
        23          A.    At the time, yes.
        24          Q.    Right.    But, I mean, in terms of his past
        25    history, were you aware of whether or not he had any


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Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 154 of
                                      184

                                                                      Page 154
         1    issues involving alcohol abuse, as opposed to just
         2    use, but abuse?
         3          A.    I am not aware of anything of this patient
         4    prior to me meeting him on that day.
         5                MS. BARRANCO:      All right.     I have no
         6          further questions for you.         Thank you.     I
         7          appreciate your time.
         8                MR. HECHT:     Any follow-up?
         9                MR. NEWMAN:     I have no questions, and
        10          we're going to read the transcript if it's
        11          transcribed.
        12                COURT REPORTER:      Did you want this
        13          transcribed?
        14                MR. HECHT:     Yeah.
        15                COURT REPORTER:      Did you want a copy?
        16                MS. BARRANCO:      Yes, please.     Can I also
        17          get a copy of what was marked as Defendants'
        18          Exhibit 1?
        19                COURT REPORTER:      Right now.     Sure.
        20                MS. BARRANCO:      I would like the actual one
        21          that's made an exhibit to the original to be
        22          redacted of those two things.
        23                COURT REPORTER:      Sounds good.
        24                Mr. Newman, did you want a copy?
        25                MR. NEWMAN:     I do.    And I'm going to take


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Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 155 of
                                      184

                                                                      Page 155
         1          the Errata Sheet.
         2                COURT REPORTER:      Yes.    Got it.    I'll send
         3          it to you.
         4                (The proceedings concluded at 1:18 p.m.)
         5
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Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 156 of
                                      184

                                                                      Page 156
                                   CERTIFICATE OF OATH




              STATE OF FLORIDA
              COUNTY OF ST. LUCIE




                             I, the undersigned authority, certify
                  that JOSE ROSARIO personally appeared before me
                  and was duly sworn on the 13th day of April,
                  2017.
                             Signed this 18th day of April, 2017.




                                    ________________________________
                                    NINETTE BUTLER
                                    RPR, CRR, CRC, RSA, FPR
                                    Notary Public, State of Florida
                                    My Commission No. FF 144710
                                    Expires: 10/11/18




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Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 157 of
                                      184

                                                                      Page 157
                                CERTIFICATE OF REPORTER


              STATE OF FLORIDA
              COUNTY OF ST. LUCIE


                             I, NINETTE BUTLER, RPR, CRR, CRC, RSA,
                  FPR, do hereby certify that I was authorized to
                  and did stenographically report the foregoing
                  deposition of JOSE ROSARIO; pages 1 through 155;
                  that a review of the transcript was requested;
                  and that the transcript is a true record of my
                  stenographic notes.
                             I FURTHER CERTIFY that I am not a
                  relative, employee, attorney, or counsel of any
                  of the parties, nor am I a relative or employee
                  of any of the parties' attorneys or counsel
                  connected with the action, nor am I financially
                  interested in the action.
                             Dated this 18th day of April, 2017.


                                    ________________________________
                                    NINETTE BUTLER
                                    RPR, CRR, CRC, RSA, FPR




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Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 158 of
                                      184

                                                                      Page 158
              April 18, 2017
              JOSE ROSARIO
              c/o WILSON, ELSER, MOSKOWITZ,
              EDELMAN & DICKER, LLP
              111 North Orange Avenue, Suite 1200
              Orlando, Florida 32801
              ATTN: BENJAMIN W. NEWMAN, ESQ.

              Re: TAVARES DOCHER vs. CHRISTOPHER NEWMAN
              Case No.: 2:16cv14413
              Please take notice that on the 13th day of April,
              2017, you gave your deposition in the above cause.
              At that time, you did not waive your signature.
              The above-addressed attorney has ordered a copy of
              this transcript and will make arrangements with you
              to read their copy. Please execute the Errata
              Sheet, which can be found at the back of the
              transcript, and have it returned to us for
              distribution to all parties.

              If you do not read and sign the deposition within
              thirty (30) days, the original, which has already
              been forwarded to the ordering attorney, may be
              filed with the Clerk of the Court.
              If you wish to waive your signature now, please sign
              your name in the blank at the bottom of this letter
              and return to the address listed below.
              Very truly yours,

              NINETTE BUTLER, RPR, CRR, CRC, RSA, FPR
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              JOSE ROSARIO




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Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 159 of
                                      184

                                                                      Page 159
                                       ERRATA SHEET
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                   In Re:    TAVARES DOCHER vs. CHRISTOPHER NEWMAN
                                Case No.: 2:16cv14413
                                     JOSE ROSARIO
                                     April 13, 2017

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              Under penalties of perjury, I declare that I have
              read the foregoing document and that the facts
              stated in it are true.
              ____________                    __________________________
              Date                            JOSE ROSARIO




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Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 160 of
                                      184
                                                                                           Page 1

               A          acidosis 69:7        71:20,25 72:10   alert 82:10        anybody 25:19
       a.m 1:21 5:1       ACLS 8:16,17         72:17 73:14,17     129:15             101:12 110:10
         54:11,11           8:21 14:23       advanced 6:18      algorithms           122:19 143:7
       AA 10:2              93:15              7:24 8:22 53:4     19:25            anymore 152:4
       abdomen 112:1      act 150:2          adversely 46:1     aligned 148:17     anyway 146:25
       ability 96:19,20   acting 125:8       advised 61:3       allergies 65:18    apneic 63:21
         129:21             141:16           affect 31:1 35:5     66:11              68:15
       able 6:12,25       action 30:15,15    affirm 5:4         allow 33:2,4       apparently
         7:11 8:1,17        43:9 116:2       agency 11:2        allowed 25:1         93:25 135:11
         13:5,7,16 14:8     157:17,18        ago 10:10            57:9             appearance
         14:8,11,18       actions 105:12       116:25           allows 53:17,24      153:6,8
         15:2 18:10,20    active 50:12       agree 32:19        Allstate 9:8       APPEARAN...
         19:7,16 20:11      67:23 77:16        116:12             10:15,24 11:2      3:1
         20:16,17,21        139:24           ahead 18:8         ALS 53:3           appeared
         22:23 23:16      actively 139:17      51:20 55:4       altered 28:18        141:17 156:9
         25:3,9 27:22     actual 123:1         62:11 75:5       ambulance          apply 72:12,14
         30:18,22,25        140:18 154:20      94:18              15:19 55:24        99:22,23
         34:10 35:3       ADAM 3:6           ailment 20:3,15      131:25 136:21    appreciate
         37:9 44:9 48:8   added 50:25          20:15 27:22      amend 88:17          154:7
         57:23 64:12      address 158:16       40:12            amendment          apprenticeship
         67:12 76:8       admin 9:20         ailments 20:2        90:3,5,12          7:9 9:24 38:17
         77:11 80:1,16    administer 6:25      82:16 117:19     amount 33:3,16     approach 98:24
         82:15 94:5         12:23 14:2         150:7              55:25 87:20      approached
         96:11 97:4         23:22 24:13      Air 95:16            98:6 117:18        145:10 146:1
         114:4 118:8        32:8 38:11       airway 19:7 68:4     149:8            approaching
         131:11 135:21      43:15,22 53:18     68:21,22         anaconda 152:1       19:23 81:10
         136:10 139:19      86:21              109:11,11        and/or 138:9         109:6
         141:23 147:23    administered         113:6 121:17     angle 11:23        appropriate
         150:18,20,21       34:3 36:7 42:2     135:19,20,22     anguish 21:13        37:18
         150:23             86:15 90:9       alcohol 23:4,7     answer 16:25       approved 6:24
       abnormal 73:22       99:7 126:8,15      23:12,23 24:1      17:25 21:17        105:14
         73:24 74:9       administering        24:16 25:25        26:9 27:13       approximate
         78:5               12:6 13:22         26:19,23 27:10     29:9 45:23         124:23 147:11
       abnormally           15:4 25:24         27:15 28:5,24      46:20 47:5       Approximately
         21:14              32:14 38:3         30:19,21 31:1      62:12 79:1         12:18
       above-address...     42:10 43:1,25      31:5 34:23,25      80:13 97:4       April 1:21
         158:9              44:15 45:1,19      35:4 38:22,25      99:15 107:13       156:10,12
       Absolutely           47:1 52:18         42:15,19,25        152:12             157:19 158:1,7
         54:23            administration       60:22,25 61:2    answered 45:22       159:4
       absorption           10:3,6 12:12       61:7,11,13         47:4 99:14       apron 15:23
         37:16              118:7              66:17 97:9,12    answers 97:22      areas 41:9
       abuse 154:1,2      administrative       153:18,19,21       98:9             arm 129:3,4
       accepted 12:1        118:7              154:1            antibiotic 134:3   arms 94:15
       accident 45:7      adopted 95:18      alcoholic 23:14    antibiotics        arrangements
       accidents 43:11      104:15             23:15 24:6         129:16             158:9
       accurate 124:18    adult 32:14        alcoholism         anxiety 20:7       arrest 148:11,24
                            39:10,12 40:2      23:18              40:18 97:20      arrival 65:9 66:3

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Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 161 of
                                      184
                                                                                           Page 2

         67:20 74:15         70:4 72:2          36:13 44:18        111:9 112:2,12     153:25 154:3
         94:3,10 126:2       74:22 85:25        45:5 46:3,5        112:17 113:7     axillary 129:2
         132:21 133:2        96:16,22,24        103:23 104:16      126:8,10,11,12
         144:10 145:7        108:18 110:19      114:8 133:6        126:15,24               B
         150:2               110:21 121:20    asthma 20:16         127:1 131:2      B 9:2
       arrive 57:21          122:3 128:9        153:11             148:7            bachelor's 10:5
       arrived 60:2,24       129:17           asystole 68:19     attack 23:16       back 13:1,16
         67:5,9 107:19     assessed 74:19       93:16 147:24       25:14             20:12 37:3
         109:3,23            80:22 90:18        148:1 150:15     attempt 78:20       47:8,10 50:5
         114:15 122:7        152:6            ate 130:17           78:24 79:9        85:8,16 120:13
         123:11,13         assessing 70:2,3   athletic 21:10       100:1 135:13      128:18 135:7
         124:4 128:3         73:3 81:7,25       40:11              136:3             136:21 147:6
       arriving 60:3         126:4 140:13     Ativan 12:7,14     attempted 84:7      148:1,1 149:17
         116:21            assessment 60:2      12:24 13:22        84:10 94:9        150:17 151:20
       arterial 39:12,16     62:4 63:7 68:6     14:3,16,24         102:3,17          158:10
         39:19,24            68:8 69:20         15:4 20:10         134:21,25        backboard 84:4
       arteries 25:14        70:22,25 71:8      24:19,23 29:4    attempting          84:7,8,10,13
         108:20              71:16,18,19        29:12,16,25        76:21             84:18 85:1,3,4
       arteriosclerosis      72:7,9 75:15       30:5 31:1,5,9    attempts 93:25      85:4,7,14
         150:8               75:19,23 76:10     31:11,17,19,21   attended 117:15     134:22
       ash@searcyla...       80:6,15 81:11      32:15,20 33:18   attention 58:7     backed 15:19
         3:7                 85:18,22,24        34:3,16,18,21      121:12            118:14
       aside 147:10          86:1,14 87:8       34:22 35:4,7     ATTN 158:4         background
       asked 18:17           87:24 88:18,20     35:12,21 36:5    attorney 157:14     103:19
         45:21 47:3          89:7,11 90:6       36:7,9,12,18       158:9,13         backing 15:14
         64:13 66:7,10       90:13 96:1,2       37:10,18,22      attorneys           15:22,23
         66:13 82:2,22       98:23 99:16        38:3,20 39:1       157:16           bag 51:15
         99:13 105:19        121:15 122:4       41:11,13,15,15   authored 118:5     Band-Aid 128:4
         113:17 115:3        124:9 125:25       41:17,18 42:2    authority           128:11,12
         115:24 116:1        126:6 134:7        42:10,13,16        138:18 156:8      134:3
         128:4,11 143:1      137:17 138:15      43:1,15,22,25    authorized         Band-Aids
         143:1 147:15      assessments          44:15 45:1,10      99:21 157:7       128:7
         148:6               78:23              45:19 46:1,10    automated          bar 16:8 28:16
       asking 26:4         assigned 25:2        46:13,16 47:1      123:20           BARNHART
         39:14 46:7        assist 109:11        53:6,16 62:21    available 47:24     3:4
         79:25 82:16       assisted 146:3       63:15 68:12      Avenue 3:19        Barranco 3:11
         101:13 103:16       146:19             86:15,21,24        158:3             3:14 4:6 17:1,8
         112:25 126:21     associate 114:6      87:4,8,10,11     AVPU 82:10          17:15,24 44:4
         126:21 128:7      associated 45:1      87:18,20 88:19   aware 13:24         62:10 75:4,25
         144:17            assume 26:20         88:22 89:12,13     30:13 38:23,24    92:13 94:17
       aspects 9:19          27:2 28:10         89:17 90:3,8,9     38:25 41:22       100:25 108:7
       asphyxiation          78:25 87:9         91:12,15,22        52:23 60:24       108:12 111:21
         152:2               92:8,9,25          93:20 99:7,12      79:22 86:5,10     112:4,18 113:8
       assault 58:3          123:10 131:20      100:12,15,24       103:7,8,11        113:14 116:22
       asserted 73:6         141:8              101:14,17          104:10,11         130:1 142:7,15
       assess 20:17,18     assumed 45:25        102:14,15,16       115:14 116:20     144:14,22
         20:21 27:22       assuming 15:19       105:20 107:1,3     118:1 148:16      145:4 154:5,16


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Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 162 of
                                      184
                                                                                          Page 3

        154:20            began 5:1 6:2        62:16 67:25       63:22 121:17     Butler 2:1
       base 140:24        beginning 8:25       74:16 108:16      138:1 140:2       156:15 157:6
       based 19:20          27:5 49:6 71:7     108:20,24         143:19 158:15     157:21 158:18
        21:4 24:5 25:1    behalf 3:2,8,16      133:16 134:7     bottoms 49:24     buttocks 62:22
        29:23 37:2,5,6    behavior 95:20       134:11 139:17    Boulevard 1:24     63:16 68:12
        37:6 43:14          95:24 96:7,18      139:18,24,25      3:12 55:15
        57:23 59:24         97:10            Blizzard 4:15       56:9 57:16                C
        60:1 67:7,10      behavioral           51:23            bounding 69:9     c/o 158:2
        89:21 91:22,24      138:9,11,19      block 122:25       box 136:9         CAD 123:19
        92:2,4,16         believe 24:18      blood 13:5 39:24   brachial 74:18    call 6:12,13 8:14
        97:13 110:6         39:6 51:21         44:8 61:24       brain 19:9,13       32:10 39:6
        123:10,12           62:2 75:16         62:8 68:2,4       22:4 96:22         41:14 45:12
        125:22 126:14       95:11 99:8         74:16 108:4,23    125:20             55:17,20 56:2
        130:6,8 137:3       117:21 118:6       110:2,3 120:16   break 54:8,10       56:2,3,3 57:16
        138:14,15           122:9 123:8,13     120:21 131:8      54:13 92:23        57:18 58:2,13
        140:16 148:7        128:22 130:16      131:18,19        breath 20:9         59:6,9,14
        148:21 151:3        132:13,14          134:11 139:9      22:15              63:24 64:11,15
       Basic 8:20         believed 101:17      139:12,20        breathe 14:9        67:19 79:7,19
       basic-level 6:9    believes 60:18       149:7,23 150:8    21:11 22:18        81:23 94:7
        6:15                67:15,15 92:19   BLS 8:19            36:14 71:25        96:9 97:7 98:7
       basically 19:6     belligerent        Blue 11:4,6         149:21             107:5 109:9,16
        29:16 94:1          28:15            blunt 43:6,8,16    breathing 19:10     109:18,24
        120:12            ben.newman...        43:23 44:1,16     21:7 71:20,24      110:1 117:2,10
       basis 7:1 17:16      3:21               45:2,25 46:3      72:2,10,16,18      118:3,10,17
        18:1,15 21:19     BENJAMIN             46:14,15 47:2     73:7,10,22         119:17 120:23
        22:18 31:23         3:21 158:4         47:11,15          78:9 80:23         122:17,22
        32:8 33:19        benzodiazepine       115:25 116:6      86:2,3,6,19,25     123:10,11,11
        43:18 44:5          22:20,21 25:24     116:13            86:25 87:2,4       123:12 129:11
        53:25 83:7          26:18 30:8       Blvd 3:4            87:25 88:4,6       130:6 133:23
        96:14 98:2        benzodiazepines    board 68:10         88:14 108:1        138:11 147:17
        109:13 125:10       14:3,7 23:1        84:21 134:24      109:12 121:17      148:4,12,12,14
        129:10              30:10 52:12,24     134:25 135:3      152:1,5            149:14
       basket 14:15       benzos 30:14       bodily 45:10       breaths 21:14     called 19:24
       bath 130:16        best 106:12          120:16 121:7,8    40:5,6,8,13        30:5 41:13
        131:16            better 148:13        131:8             72:21,22 73:12     56:23 60:13
       bay 15:22          bicarb 69:6        body 7:20,20,23     73:16 74:8,9       62:13 67:11
       Bayshore 1:23      billed 58:2          7:25 20:20        86:20 89:15        94:2 110:18
        1:24              birth 5:15 142:9     21:23 39:16,20   Brevard 10:25       122:3,12
       Beach 3:4,5 11:3   bit 9:5 68:24        43:9,10,12       Brian 4:15          129:11,14
        11:4,5,6            127:17             46:1 116:2,11     51:23              133:5
        158:20            black 120:20         116:18 121:19    broad 13:10       calling 56:6
       beat 149:9           140:4              128:19,20        broken 14:1       calls 7:2 56:2
       beating 149:7,11   blank 140:25         129:6,17,21      brought 113:20      64:7,9 103:19
        149:11              158:15             130:20 149:24    buffer 25:10        105:25 109:14
       beats 40:4 78:3    bleed 120:18,19    bothering 82:17    building 15:14      110:10 118:11
       becoming 27:6        120:19           bottle 41:18       bumper 15:25        118:13 133:8
        34:2              bleeding 61:22     bottom 58:9,16     bunch 49:1          147:19


                                   www.phippsreporting.com
                                        888-811-3408
Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 163 of
                                      184
                                                                                            Page 4

       calm 20:11           17:16 18:1,15      66:16             circulating           103:1 104:14
         22:23 79:10        21:18 31:22      certainty 75:21       149:23              104:16 106:6
         83:24 93:20        32:8 33:19       certificate 4:7,8   circulation           107:7,14 112:5
         94:10 97:23        43:18 44:5         8:3,18 156:1        69:16 119:7         112:20 113:7
         98:10 122:15       53:24 83:7         157:1             city 5:17             126:16 127:3
         124:5,20,24        96:14 98:2       certificates 8:16   civilian 147:2        129:20 134:14
         125:4 127:5        109:13 125:10    certified 6:7       clarification         138:10 145:9
         145:12 151:10      129:10             8:23 9:14 12:1      26:2                146:1 151:16
       Calvin 1:9 3:9     CAT 96:19          certify 156:8       clarify 124:1       combativeness
         113:22           catch 20:9           157:7,13          class 6:8,10,11       24:4,20 38:4,6
       capability         catching 18:9      cervical 68:10        22:21               38:7 47:14
         140:13           cause 14:12          135:1             classes 8:14 12:1     63:14 68:11
       car 9:9 10:19,20     17:12,20 31:21   CEUs 8:14           classroom 44:23       97:16 101:25
       cardiac 7:24         32:20 34:21,23     14:20             Clayton 1:8 3:9       124:21 125:16
         8:22 13:4,6        36:5 43:11       challenged            113:23            combination
         49:11,12 106:3     52:12,24 53:2      147:22            clean 118:11          35:4
         147:20 148:11      78:14 84:20      change 83:12          119:25,25         come 20:2 26:18
         148:24 150:11      96:4 102:1         147:17 148:19       120:10 121:5,6      26:22 64:6
         153:11             103:2 111:14       159:6             clear 23:19 26:3      104:6 108:15
       cardioverted         111:19 130:19    changes 50:2          27:25 46:20         128:19 138:13
         69:11              130:25 140:16      147:25 159:2        50:8 74:2           139:13 150:7
       Cardizem 141:5       158:7            chemical 16:20        116:23 134:13     comes 7:19
       care 6:9,15,17     caused 16:17       chemically          Clerk 5:10            32:14 46:13
         27:23 56:1         43:8 87:21         145:13              158:14              95:7 121:8
         69:17 75:1,2       111:9 148:10     chest 12:11 69:9    CLEs 15:7             141:9
         76:7 96:12         150:4              86:11 99:24       clients 114:9       coming 65:10
         100:17 101:11    causes 31:21         100:2 103:6       clip 91:6             139:12
         102:1 119:14       152:3              135:24,25         clots 150:8         commands 97:4
         121:10 131:21    causing 37:13        136:10,24         coach 136:14,16     comment 153:14
         134:20 135:20      40:19 75:8         137:2 149:12      cold 121:25         Commission
         135:21             112:8            CHF 109:10,10       college 13:11         156:17
       career 9:3 11:15   Caution 52:11      chief 51:24         coma 17:13,21       committee 50:1
         15:10 42:1       Center 1:23        child 9:11            41:6 70:18,20     common 31:7,15
         44:12,21 46:21   central 23:1,4     chills 129:13         70:24 71:2,9        36:2 121:3
         46:24              29:4,19 30:1     chin 139:23           90:20 91:10,16    communicatio...
       carefully 95:21      30:11,14,19      choice 45:11        combative 4:18        122:21
       carotid 74:17        31:8,16,21         93:17 106:11        22:24 24:6,13     company 9:8
       carry 41:19,25     Centre 3:12          128:25              38:9 50:24          10:17
         51:14,16         cerebral 97:1      choices 71:25         63:11,13 67:12    compensate
         103:24 105:8     certain 6:23         85:19,20            68:9 79:17          20:20 73:7
       carts 13:2           7:19,20,21       choose 33:4           83:23 84:15         149:22
       case 1:3 109:22      33:3,16 43:2       53:11,24            87:10,12,15,17    compilation
         112:11 113:20      78:18 96:10      chose 100:23          88:3,5 95:12        49:16
         114:13 143:23      97:4 123:20      Christopher 1:8       95:14,15,20,24    complete 100:18
         149:25 158:6       130:13,19          3:8 113:23          96:7,18 97:5        101:11 149:9
         159:3              147:19             158:5 159:3         97:10,20 98:15    completely 83:6
       case-by-case       certainly 54:3     CID 63:14             100:6,8 102:25      115:21

                                   www.phippsreporting.com
                                        888-811-3408
Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 164 of
                                      184
                                                                                            Page 5

       compliant            98:1              copies 118:1       counsel 113:17        157:6,21
         129:20           considered          copy 54:25           115:4,24            158:18
       complying            37:11 78:5,6        58:17 118:20       157:14,16         cuffed 146:2
         138:17             97:25               135:8 137:19     count 76:6,16       curious 29:13
       compress 150:5     consistently          138:3 140:2      counted 8:15        current 5:22
       compression          14:22               147:7 154:15     County 1:10,12      currently 10:3,4
         136:10 151:4,8   constantly 14:20      154:17,24          3:10,16 4:23        11:18
         152:10             85:6                158:9,10           5:23,25 6:3 7:4   cushion 120:19
       compressions       consult 32:18       coronary 25:13       7:11 8:13           120:20
         135:24,25          38:8 53:14        Corporate 3:12       11:15 13:12,13    cut 15:24 50:3
         136:24 137:2       89:19             correct 6:15         15:11 28:2          58:18 62:25
       compromise         contact 26:18,22      23:2 29:9 30:6     29:24 45:17         79:2 96:21
         52:13              65:10 66:2          30:10 33:10,11     46:24 48:3          110:21 134:11
       computer 58:25       75:14 77:20         35:5,6 40:23       51:8,24 105:22    CVAs 97:1
       computer-ani...      82:21 83:17         50:10,15 51:9      113:19 114:21     CVS 117:2
         123:19             84:2 92:5           51:10 52:16,25     115:1,10,18         124:4
       concern 92:22        95:22 107:20        54:19 57:10,13     136:3 156:5
       concerned 39:21      111:1 122:10        57:14 60:23        157:4                    D
       concluded            132:18 138:16       61:13,20 62:17   couple 144:15       D 4:2
         150:15 155:4       153:15              65:1,2,23        course 13:21        daily 22:18
       condition          contained 51:21       66:17,18 69:21   courses 10:1,2      damage 16:11
         107:21,21          57:24 142:9         71:14,15 72:23     23:10              19:13
         108:10 109:4       143:25              73:16 74:10      Court 1:1 5:2       damaging 19:8
       conditioned        continual 26:8        76:13 77:12,23     47:9 154:12,15    danger 75:11
         22:17            continue 136:10       77:24 78:3         154:19,23          101:6,18
       conducive 77:19    continued             80:23 81:1         155:2 158:14       112:15
       confined 11:24       101:25              83:14,15,18,21   Courtemanche        dangerous 95:16
       confirmed 68:18    continuing 15:3       83:24 84:11        1:9 3:9 113:24    dark-skinned
       confused 87:23       15:8 27:6,7         86:3,6,8,16,17   CPR 68:19 69:8       132:10
       confusing 64:21      85:18               86:22 87:19        119:8 135:12      date 5:15 50:22
       congenital         contraindicati...     88:18,18,22        135:16,21,23       50:24 123:18
         153:11             39:1 46:15          89:12,17,25        136:2,17,19,20     142:9 143:16
       congestive 21:4    contraindicati...     90:1,4,10,11       137:7,8 150:18     143:18,22
       conjugate 97:3       36:9 38:19          90:14,15,17      CRC 2:2 156:16       146:24 153:2
       connected            46:18               91:5 93:10,11      157:6,21           159:23
         157:17           control 68:22         95:10 98:10,12     158:18            Dated 157:19
       conscious 70:16      74:23,25 76:20      98:16 99:7       credit 8:15         day 37:11 120:7
         108:2 124:4,14     76:21 100:18        101:2,4,20       crew 63:23           154:4 156:10
         125:8,21 126:6     100:23              102:4,5,8,18       64:15,24 95:17     156:12 157:19
         126:9            controlled 74:13      104:17 106:15      119:17             158:7
       consciousness        123:2               106:16,22        cric 12:11          days 158:13
         41:3 78:25       controlling           107:3,15,17      cricothyrotomy      deal 24:5,12
         79:6,16,21,22      67:22               109:16 110:14      12:11              95:19 104:15
         79:24 125:18     cool 122:1            111:4 114:10     Cross 4:6            147:19 151:15
         126:13           COPD 20:16            116:5 119:19     CROSS-EXA...        dealing 107:7,8
       consider 14:7        21:5 40:17          123:25             113:13            decent 153:9
         37:24 73:24      copied 142:12       correctly 24:10    CRR 2:2 156:16      decide 38:10


                                   www.phippsreporting.com
                                        888-811-3408
Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 165 of
                                      184
                                                                                          Page 6

       decided 86:20       123:1 132:12        136:20 141:12       21:12 31:24     division 11:19
        89:16 145:13       138:16            deputy's 134:17       49:13             122:22
       decision 85:9      dependent 35:10      137:2             digital 51:17     Docher 1:4
        89:20,21 91:24     35:10,16,16       derives 7:15        direct 4:6 5:11     36:21 37:8,23
        92:2 129:23       depending 7:1      describe 133:18       58:7 119:1        39:5 50:16
       declare 159:21      21:9,16 32:3      described 131:5       121:11            54:15 60:24
       decompression       36:3,19 70:7      describing 33:9     direction 84:12     61:13 65:10
        12:11              72:24 73:25       designates 84:6       97:23 98:10       66:3 69:23,25
       decon 119:21        74:11 123:14      detailed 60:1         105:23 107:5      70:10 72:13,15
        120:2,14,24        125:5 133:23      details 58:10       directly 139:20     72:17 73:2,4
       decontaminate       136:18              59:5 60:4         director 105:14     73:10 74:4
        120:3,5           depends 17:17        123:23            discretion 33:13    79:5,8,16
       decontaminati...   deposition 1:16    determine             94:6 107:2        80:10,16 81:13
        120:6              117:22 142:13       131:12 133:22     discuss 94:11       81:15,21 82:21
       deem 18:11          149:1 157:9       determined          discussed 44:25     83:17 84:10,17
        53:25              158:7,12            62:25 63:2,20     discussions         84:25 86:6
       deemed 138:18      depressant 23:5      68:15 80:25         132:16,19         87:3 89:14
       deep 21:14          29:5,19 30:1        125:7 131:15      disorder 138:10     92:11 95:23
       deeper 136:18       30:14,19 31:8     developed 70:21     dispatch 57:19      97:24 100:22
       defendants 1:13     31:17             development           60:6 123:19,20    101:6 102:8,18
        3:8,16 114:1      depressants 23:2     72:7              dispatched          102:21 107:8
       Defendants'         30:11             device 68:11          57:19 58:13       107:20 111:1,9
        142:3 154:17      depression           128:23 135:1        59:6              111:14,20
       Defense 4:20        16:16,18,23       devoted 12:23       displace 67:13      114:16 116:13
        142:14             17:2,6,12,18        13:22             disposal 56:17      116:16,17
       defibrillated       17:20 18:5,8      DICKER 3:18         distance 77:9       117:3 122:5,8
        69:7               18:13,18,19,20      158:3               80:15             122:10 123:4
       deficiency 40:17    18:22,25 19:1     die 17:5 21:25      distract 84:23      124:3 125:12
       define 18:17        19:4,5,17,22        22:7,8 152:2      distress 19:12      125:23 126:16
        19:16,18 76:19     21:8,15 31:7      dies 152:3            21:13 111:10      129:19 131:7
        107:20             31:15,22 32:21    difference 6:20       111:15,20         131:25 132:18
       defining 79:24      52:12,20,25         18:12,24          distribution        132:21 133:1
       degree 10:2,5      deprived 150:25      104:23 125:3        158:11            134:14,17,19
        41:3              depth 35:7,13      different 8:14      district 1:1,1,12   136:25 137:3
       dehydrated         depths 35:22         22:14 31:23         1:12 3:16,17      137:21,24
        121:24            deputies 113:19      33:24 36:20         5:23,25 6:3 7:4   138:7,21,23
       delirium 130:9      113:22 114:13       37:17 49:12,23      7:11 8:13 9:24    141:13,16
        130:12 131:2,3     115:10 117:3        49:25 59:2          11:16 13:12,14    147:14 148:10
       deliverance         122:8 126:18        64:10 79:21         14:22 15:6,7      148:23 152:8
        102:1              128:14 131:24       83:6,10 96:15       15:11 26:7        152:24 158:5
       demand 149:18       132:3,17            99:4,5 113:4        28:2 29:25        159:3
        149:20             141:12,12           115:21 121:19       45:17 46:24     Docher's 62:8
       DENNEY 3:3          142:4               130:20 134:4        48:3 51:8,24      72:2 73:22
       departed 57:20     deputy 51:24         147:21              55:23 105:22      74:2 86:2 97:8
       department          113:22,23,23      differentiate         114:22,23         100:2 103:6
        9:18 67:3          113:24 132:5        18:21             District's 115:6    120:15 128:20
        77:17 122:21       136:7,8,11,17     differently 21:11   divided 105:4       129:6 131:21

                                   www.phippsreporting.com
                                        888-811-3408
Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 166 of
                                      184
                                                                                         Page 7

        133:14 140:4      drug 12:12 13:2  effective 102:7    enforcement         ETOH 60:17,20
        151:8 153:1        14:25 24:7      effort 78:7          65:4 75:22          61:3 67:14
       Docher-Neeley       30:15,16 57:8   efforts 134:17       114:17            evaluate 95:21
        1:5 4:15           97:9 131:5,18     134:20           engine 16:8           95:23 96:6
       doctor 44:24        136:9 153:16    Eighteen 84:6      ENTER 159:2           97:8
        133:23            drugs 13:3,4,5,6 either 9:10        entered 89:6,7      evaluation 96:12
       document 51:21      22:21,22 24:7     16:10,19 37:14   entire 11:14        evaluations 97:2
        142:9,17           49:14 130:14      50:3 57:23         44:12,20          evening 114:18
        159:21             130:18,19         65:15 93:6       entities 133:8        124:11
       doing 9:7 41:5      131:9,9 136:9     120:16 127:18    entity 114:25       event 82:14
        80:14 99:17       drunk 28:9,11      136:18             115:21            events 123:20
        102:19 119:11      29:1 42:3,5,6   ejected 45:7       entries 135:11      eventually
        135:19 136:23     dry 121:23       EKG 68:18 69:9     entry 135:15          109:12 111:5
        142:7              139:16          elbow 128:5          136:2,5             149:9 152:5
       door 16:7,9        due 63:14 68:11  electric 8:2       environment         everybody 22:14
       dopamine 141:5      149:6           ELSER 3:18           40:19               98:4
       dosage 24:25       duly 156:10        158:2            environmental       everybody's
        32:2,3,3,14                        emergency 4:13       49:10 98:17,22      31:23 33:23
        33:1,14 37:18             E          4:17 6:8 104:2     99:11 106:4         98:2
        141:7             E 4:2              109:5              121:22            exact 86:23 87:7
       dosages 14:17      E-14 104:4       emphysema          Epi 69:5              148:18
        33:2,9,17         earlier 105:18     20:16            epilepsy 22:22      exactly 143:11
       dose 25:11,12,16     117:25 124:2   employed 8:12      epinephrine         exaggerated
        25:18 32:20         126:14 133:13    26:6 114:20        93:12,17            108:17
        33:6 34:11,17       141:10 148:7   employee 157:14    equipment           Examination
        35:10,16 36:12    early 150:7        157:15             105:7 128:25        4:3 5:11
        36:18 37:10,11    East 3:12 55:15 employer 5:22         140:13            examine 41:2
        37:22,24,25         56:9 57:16     employment 7:3     ER 69:17 119:14     example 25:12
        53:18,22            109:15           106:10           Errata 4:9 155:1    excessive 98:17
       doses 7:21 25:9    eclampsia 22:23 employs 55:23         158:10 159:1        98:22 99:10
        31:20 53:13         38:4           EMS 37:6 95:17     escape 124:6        excited 130:9,12
       draft 118:1        EDELMAN          EMT 6:14,18,21     ESQ 3:6,14,21         131:1,1,3
       drank 28:23          3:18 158:3       7:5,16 9:12,13     158:4             execute 158:10
       draw 39:24         Edition 4:14       9:17,19 11:17    essence 109:7       execution 4:9
       Drawer 3:5         education 8:25     12:9 44:21         136:13            exhibit 48:10,13
       dried 74:16          15:3,8 105:9     57:5,5 148:8     essentially 93:10     48:22 49:23
        134:11            educational 49:5 EMT-Parame...        110:19 139:24       50:6,9 51:6,12
       drink 42:11          49:14 50:3       135:14             152:1               51:20 52:2
       drinking 26:25       97:25 103:17   EMT/firefighter    established           54:22 55:5,7
        27:3,4 42:5         103:22 104:7     12:5               83:14               55:10 94:24
        60:25 61:2,13       104:10,21,24   encompassed        estimate 88:8         95:2,4,5 104:2
        66:17               105:5,6,16       24:20,21         estimated 88:24       106:6,14 107:7
       drips 57:8           115:5,7,11     encompasses        etiologies 95:20      107:14 117:22
       drive 11:8 18:11   EEG 70:15          47:13 48:6         95:24 96:7          117:23 142:12
        21:3                125:19         ended 139:13         98:16,20 99:10      142:14 154:18
       driver's 142:10    effect 31:8,16   energy 73:6        etiology 7:19         154:21
        144:1               126:22 141:4     79:11              96:17 97:10       exhibits 4:11,20

                                   www.phippsreporting.com
                                        888-811-3408
Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 167 of
                                      184
                                                                                            Page 8

         129:13         factor 16:20,20         11:15 13:12,14      115:15             116:19 129:22
       existence 51:9   facts 159:21            15:5,7,11 26:7    follow-up 154:8      142:21,22
       exotic 130:13,18 failure 19:14           28:2 29:24        following 5:1      format 59:1
         131:5,9,19        21:4 22:4,5          45:17 46:24         33:25 56:3       forms 13:6 20:3
       expeditely          36:5                 48:3 51:8,24        81:5 95:18         20:25 147:20
         109:13         fair 24:16 51:11        55:23 105:22        98:15 99:20      Fort 11:1,13
       experience 18:4  fall 12:8 24:3          114:21,22,23        104:5,15           55:16 117:2
         19:21 29:24       85:8 98:3            115:6 120:25      follows 5:10       Forum 158:19
         35:20 43:14       107:9,10 135:4       136:22              105:13,22        forwarded 4:9
         44:13 95:16    falls 47:15,16       firefighter 6:8      force 43:6,8,16      158:13
         116:7 130:9    far 30:13 38:21         6:10,11 7:5         43:23 44:1,16    found 67:20
         132:11 148:8      117:25 148:3         9:14 11:17          45:2,25 46:3       135:1 144:10
         148:22         fast 71:20 72:10        44:21               46:14,15 47:2      145:8 146:6
       experienced         72:17,18,23       Firefighter/E...       47:11,16           158:10
         149:3             81:1 149:22          6:5,6 27:6          115:25 116:3,6   four 74:19
       experiences      faster 73:7,7        firefighter/par...     116:14             103:11 113:19
         19:19             136:15,18            26:5              foregoing 157:8      118:13 146:12
       expert 23:7      fatal 16:23 17:3     firm 97:23 98:10       159:21             147:21
       Expires 156:17      17:9              first 48:16 65:7     form 4:23 16:24    four-lead 68:18
       explain 75:2     February 6:1            85:23 121:15        17:7,8,14,15     Fourth 4:13
         124:20 129:12  feel 20:8 53:25         122:6 124:16        17:22,24 18:14   FPR 2:2 156:16
       explained 110:1     121:22 130:4         126:4 136:12        19:2 20:6          157:7,21
       extensive 96:12  felt 37:17              141:21 142:5        21:21 22:1,13      158:18
       extent 116:13    female 126:21           142:16              23:6,24 24:17    frankly 143:11
         121:12         femoral 74:18        fist 116:9             26:1 27:11,20    fresh 110:2
       external 16:17   FF 156:17            five-minute            28:3,6,19 29:6     139:9
         16:20 43:9     field 96:20,21,23       54:10               30:12,20 31:3    friends 114:9
         77:8 78:14        96:25 125:2       fix 23:18 85:15        31:10,18 32:22   front 29:14
         108:20 116:2   Fifty 34:6           flatlined 93:10        34:24 35:9,15      44:10 54:18
         116:18 119:8   figure 96:2          flesh 68:4             36:6 42:17         55:10
         149:4             123:17            flip 49:21             43:3,7,17 44:3   Ft 3:13
       extra 6:22 11:25 figured 80:18        Florida 1:1,11         45:21 47:3       full 100:22
         135:20         filed 158:14            1:24 3:5,10,13      51:17 61:1,8     function 7:11
       extremity 99:25  filled 146:24           3:20 156:4,16       62:10 70:6       further 12:10
         100:3,16 101:5 fills 149:6             157:3 158:4,20      75:4,25 80:11      27:23 37:14
         101:16 103:10  final 117:24         flow 68:21             87:5 88:7          75:8 96:3
         103:23         financially          flu 129:13             91:17,23 92:13     102:2 103:3,21
       eyes 41:10 90:25    157:17            fluids 120:16          92:24 93:21        154:6 157:13
                        find 9:3 51:2           121:7,8 131:8       94:14,17 98:11
               F           82:13 125:17      Flumazenil             99:13 100:25            G
       F-L-U-M-A-Z... fine 55:3                 41:20,24            101:1 102:9      Galleria 3:12
         41:21          finger 91:7          focus 72:9 76:6        107:16,22        game 18:9
       face 85:8 130:17 finished 120:1       follow 48:3 69:8       108:7,11,12      garage 16:7
         139:23         fire 1:12 3:16          93:16 97:4          109:25 110:9     gas 39:24
       fact 19:18          5:23,25 6:3 7:4      103:14,21           111:11,16,21     gaze 97:3
         129:19 134:5      7:11 8:13 9:15       106:9 107:8,13      111:22 112:3,4   gears 147:18
         134:10            9:16 10:3,4,5        113:16 115:11       112:18 113:8     general 98:7


                                   www.phippsreporting.com
                                        888-811-3408
Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 168 of
                                      184
                                                                                      Page 9

         104:8 105:7      glue 133:25        gotten 29:1      94:22 103:12      134:11,23
         126:5 131:18     go 7:8,14 9:7,15     46:19 65:13    103:24            139:6,8,16
       generality 47:12     11:9 17:13,21      100:18        handed 48:21       145:13
       generally 13:15      27:16 32:9       greater 53:13    49:22            head-to-toe 60:2
       gentleman            33:3 51:20       ground 67:21    handwriting       headings 65:19
         126:19 131:15      53:12 55:4         76:23,24 83:17 143:12,13,15      65:21
         136:6              62:11 65:7         85:5 95:16     143:23,24        heal 134:4
       gentleman's          75:5 79:10         116:8          144:2,5,19,23    health 153:2
         130:17             82:8,11,15       group 14:6      handwritten       healthy 150:9
       getting 20:7         86:13 94:18      guardian 1:5     55:2              152:24 153:5
         27:23 57:7         98:1,3 102:24    guess 56:5,21   Hang 48:15        hear 24:9 45:14
         128:18             111:9,14,20        57:3 117:21   happen 22:5        66:21 133:11
       GIUFFREDA            117:11 118:6       124:6,10 127:8 97:6 118:15      heard 41:20
         3:11               130:25 136:1       136:22 137:21  123:21 150:9     heart 13:7,7
       give 5:5 24:23       136:14,18          139:18 140:17 happened 64:10     20:12,18,18
         24:24 25:1,9       147:19 148:10    guessing 10:10   67:8 93:3         21:4 23:16
         25:15 32:6         150:14 153:6,8     16:3           116:20,25         25:14 73:7
         33:2,4,12,14       153:10           guideline 49:8   127:12,15,15      119:9 130:25
         33:22 34:4,5     goal 27:19           103:22 104:24  142:23 148:18     149:6,7,11,13
         34:20 35:1       going 20:1,4         106:14         152:12,21         149:21,22
         36:12 38:18        25:15 28:15      guidelines 4:13 happening 96:9     150:4,16,19,20
         42:13 46:13        29:3 31:20,24      4:18 49:4,5    130:21            150:22,23,24
         64:16 94:23        33:23 35:17        50:3 98:1     happens 130:12     150:25 151:1
         97:22,23 98:9      42:19 45:10        103:18 104:3,7 149:5             152:4
         98:10 99:17        46:18,20 48:12     104:21 105:5,6hard 15:24        heat 121:24
         103:18 106:23      49:1,2 51:19       105:7,16,16    99:25 100:3,16   Hecht 3:6 4:6
         107:2 111:8        54:6,16 60:7       106:18,21      101:5,16          5:12 17:4,10
         112:11,17          79:1,1 80:2,19     115:5,7,11,11  103:10,12,22      17:19 18:3,16
         126:19 130:24      80:20 81:5       guy 108:20       116:8 124:21      19:15 21:24
         140:14 141:7       83:11,12 84:19     130:15 132:10 harm 14:12         22:6,19 23:8
         145:22 147:6       85:9,16 92:23      141:21,22      37:14 41:16       24:8 25:5
       given 34:11          92:25 93:8         150:6,9,10     43:12 75:8        26:12,14 27:24
         37:16 47:12        94:23 95:12                       84:20 87:21       28:8,22 29:10
         60:3 63:15         97:6 98:3                H        102:2 103:3       30:17,24 31:6
         64:18,18 68:12     107:9 109:12     H 60:10 63:3     112:8 122:18      31:12 32:1,24
         69:5 87:10,11      110:10,13,15      81:19,20 92:16  140:16            35:2,11,19
         87:18 93:12,13     111:3 117:8       118:23 132:22 HazMat 11:24        36:16 42:22
         97:13 106:11       121:11 126:22    half 34:13      head 43:16,23      43:5,13,19
         126:12 153:19      127:16,16        hand 5:2 49:1    44:2,17 45:3,9    44:11 46:4
       gives 32:7           133:6,10,12       110:21 135:20   45:20 47:2        47:8,18 48:11
       giving 25:3 29:8     142:2,3,10        144:24          61:7,22,24        48:20 51:19
         42:16 87:20        146:12 149:23    handcuffed       62:8,9,16         52:5,7 54:8,12
         112:23 126:11      151:23 154:10     75:17 83:21     67:24 68:1        54:25 55:4,8
       Glasgow 41:6         154:25            102:24 103:25   96:16,21,24       57:1 58:19,23
         70:18,20,23      good 21:10         handcuffs 75:15  108:5,14,16,23    59:3 61:5,10
         71:2,9 90:20       84:20 91:21       75:20 77:1,3,5  110:2,4 133:15    62:15 63:9,10
         91:10,16           154:23            92:8,23 93:1,2  133:15 134:8      69:19 70:8

                                   www.phippsreporting.com
                                        888-811-3408
Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 169 of
                                      184
                                                                                          Page 10

         75:10 76:3         57:4                      I         increases 20:19       37:10,23 90:3
         80:21 87:13      history 60:12      idea 91:21 102:6     149:18,20,21        100:14 101:13
         88:9 91:19         65:18 66:8          152:20,21       increments 33:2       102:14,16
         92:1,21 93:7       138:22 153:11    identification       53:6,12,16        injecting 91:11
         93:23 94:23        153:11,17,25        142:4           independent           91:14 93:19
         95:5,6 98:13     hit 15:21,24       identify 28:3        1:12 3:17           99:11 101:17
         99:19 101:3      hits 116:7         illness 138:21       36:25 37:5        injection 34:12
         102:12 106:1     hitting 15:13      IM 63:15             59:24 117:1,7       36:18 88:19,22
         107:18,24        hold 22:15         imaging 96:25        117:9 127:20        89:11,13
         108:8 109:1      holding 34:15      immediate            128:1 152:9         100:11,13
         110:5,12         homeowners 9:9        68:22 109:9       153:1             injure 92:6,7,7
         111:13,18,24       10:20               110:11          Indicating 58:19      96:3
         112:6,21         honest 97:22       immediately        indications         injured 67:17
         113:11 116:19      98:9                68:17,20 90:4     105:12              92:11,15,18
         129:22 154:8     honor 9:2             108:10 109:4    individual 23:22      93:1 127:22
         154:14           hospital 27:20        109:20 110:8      25:24 43:22         128:2
       held 7:4 11:16       27:23 39:24         111:3             44:16 113:25      injuries 45:10
         149:12             45:13 110:14     impact 129:20      individually 1:8      45:10 77:9
       help 14:11 19:13     110:17,23           134:7             1:9,9,10,11 3:9     81:9 96:2 97:1
         25:13 37:12,13     111:4 118:12     impression 62:5      3:9,9,10,16         128:10,16
         37:18 46:1         131:22 132:1        137:21,22,22    inebriated 23:17      145:10
         57:6 64:8 79:1     133:24              138:7,8,13      infections 40:20    injury 58:13
         80:20 81:4       hot 121:23            139:1           influence 23:12       59:7,10,14,21
         85:10            hour 54:7          impressions          23:23 24:1,7        59:22,25 62:3
       helper 57:2        hours 15:3            137:23,24         24:16 25:25         62:13 68:6,7
       helping 107:12     human 31:2         improved 85:19       26:19,21,23         93:6 94:2 96:4
       hemorrhage           35:5 39:16,19       87:11             27:10 28:4          96:16 108:24
         74:13            hundred 93:2       incident 4:16        42:15,19,24         133:19,19,20
       Heron 11:4,6       hurt 85:8 127:18      36:23 37:1      influx 57:4           134:23 139:2
       hey 14:14,16         135:4               50:16 58:10     information         inputs 89:1
         21:1 46:12       hurting 82:17         59:5 69:18        65:14 80:20       inside 149:7
         84:12 104:10     hypersensitivity      118:5 119:15      133:3 143:25      instance 106:25
         136:14             36:9 38:21          123:22 125:9      144:4 153:20        123:4 135:23
       high 9:1,2,2       hypo 21:22            127:13 142:22   initial 62:4        instances 16:14
         11:23 36:12,18   hypotension           142:22 147:14     75:19 138:15        25:4 127:3
         37:25 93:5         52:19,24         include 70:5         150:13            instructed 42:9
         130:16           hypothetical       includes 8:2       initially 11:1        44:14 46:25
       higher 31:20         17:23 34:20         11:23 105:10      19:23 96:1        instructor 44:24
         73:23 131:1        76:1,4           including 44:12      122:12 133:5      insufficient
       highlighted        hypovolemia           44:22 143:25      147:18 152:3        18:11
         95:13              108:23           Incomplete         initiate 97:19      insurance 9:8,9
       hindering          hypoxia 21:20         17:23           inject 33:17 87:3     9:9 10:18,19
         149:10             21:22,25 22:7    incorrect 147:9      89:16 91:21         10:20,20
       hindrance 84:23      22:9 98:16,21       147:12            100:23 112:1      intended 87:19
         85:1               99:10            incorrectly 89:7     113:6               119:10
       HIPAA 58:5         hypoxic 21:2       increase 40:20     injected 34:15      intentionally
       hired 9:17 13:16                                           34:17 35:21         125:13,14

                                   www.phippsreporting.com
                                        888-811-3408
Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 170 of
                                      184
                                                                                       Page 11

       intentions           41:12             118:23 125:10     153:5,17            54:2,9 57:17
         110:23           IRSC's 13:1         127:4 128:23     knowing 86:18        65:7 84:13
       interact 108:2     issue 46:13 67:2    131:4,8           86:19 89:14         92:8,9 105:17
       interacting          138:19          kinds 44:8          150:2               123:9
         122:19           issues 8:14 14:6  King 68:21         knowledge         lethal 25:11,16
       interaction 31:1     16:18 46:11     knew 42:24          128:14 151:7        25:18
         31:4 33:23         121:22 150:12     52:16 64:6        152:9 153:1      letter 4:8,15
       interactions         154:1             111:1            kosher 120:8         158:15
         12:13 14:17,25   it'll 49:24       know 9:19 15:14                      level 6:17 13:6
         105:11           items 142:11        16:8 23:7                 L           42:6
       interest 135:2     itinerary 13:1      25:16,20 26:16   LAC 61:18         license 8:3 9:18
       interested         IV 12:12,12         28:17,20 29:14   laceration 61:19     14:22 38:16
         157:18             68:22 69:4        29:23 33:23        61:21 62:9         142:10 144:1
       interfere 101:25   IVs 57:7            36:8,10,10         67:23 110:2     licensing 14:21
       intervene 21:4                         38:21 42:1,6       133:14,22       life 7:24 8:20,22
       intervention               J           44:20 46:7         134:6 139:6,8      53:4 150:7
         19:13            J 1:10 3:10         51:1 56:18,19    lack 19:9 20:19 lift 85:4
       interview 65:1     JANICE 1:5          59:23 61:9       lacking 21:2      lifted 63:19
       intoxication       Janite 4:15         65:9 67:8 69:1   Lakes 3:4            68:13
         97:9             job 11:19,21        72:8 74:3        lapsing 122:2     light 16:8
       intramuscular        20:13 44:23       75:17 76:5       large 37:11       limbs 103:11
         145:23             48:7 57:6         77:2 79:14         117:18          limit 107:11
       intramuscularly    Join 62:12 92:14    80:9 81:8        larger 141:23     limits 121:16
         37:16,23 42:16     94:19 112:19      82:13,20,23,24   late-stage           140:15
         53:18 62:22        113:9             83:2,10,16         109:10          line 58:12 96:10
         86:16,21         JOLLY 3:11          85:5,21 94:13    Lauderdale 3:13      159:6
       intravenous        Jose 1:11,17        94:15 98:5       law 65:3 75:22    lines 146:12
         36:17 37:17        3:16 4:5 5:9,14   110:21 113:1       114:17          lip 20:24
       intravenously        156:9 157:9       113:25 114:10    lawyer 124:25     listed 86:23
         33:18 35:21        158:2,22 159:4    114:20 115:24      142:5              98:21 123:22
       introduce 81:3       159:23            116:15,24        lead 96:22           123:24 124:14
       introduced         joules 69:7,11      118:4,14           108:22             158:16
         130:14           jugular 69:4        121:14 124:3     learn 7:19,21,24 lists 97:21
       intubation 14:8    July 7:10           125:1,11,22        9:18,19 42:18 literally 58:16
       invasive 12:9      June 51:23          127:6,7,11,15    learned 18:5         125:20 144:13
       involved 45:18                         128:13 130:2,8     24:12 25:23     little 9:5 49:7
                                  K                              28:2 42:14
         60:17 61:4,11                        130:11 131:3,7                        59:1 68:24
         67:14 97:12      keep 14:24          131:11 133:4       48:8               69:3 91:6,8
         121:9 133:7        45:12 50:9        133:12 134:2     leave 134:1          136:15
         151:22 153:21      58:5 63:17        136:11 137:19    left 61:23 67:25 live 5:17 96:13
       involvement          103:2 145:12      138:2,5,12,24    legal 1:5         LLP 3:18 158:3
         54:15              151:25            138:25 140:18    legs 99:24 100:2 location 11:2
       involving 50:16    keeping 151:10      141:10,22          103:6           long 5:24 11:7
         117:2 154:1        151:10            142:8 143:11     length 19:8          12:16 21:15
       Iraqi 132:13,13    Ken 1:10 3:10       144:10,14        lessen 55:25         33:20 50:4
       ironclad 33:21     kicked 112:1,16     148:6 150:10     lesser 53:22         68:10 117:12
       IRSC 9:13 11:11    kind 37:3 56:19     150:10 152:16    let's 15:17 34:14    118:4 126:2,21

                                   www.phippsreporting.com
                                        888-811-3408
Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 171 of
                                      184
                                                                                     Page 12

         134:24,25          105:22 113:19  53:10,15,21       105:23 106:3       31:23 35:17
         150:2,25           114:21 115:1,9 55:21 60:20       107:5,21 108:9     36:4 130:20
         151:13 152:14      115:18 122:7   61:6,9,11 62:7    109:3 110:19      metabolisms
         152:14             130:23 136:3   67:7 70:12        111:2 125:1,2      22:14
       look 9:3 12:12       156:5 157:4    71:23 72:12,20    125:9 128:15      metabolize
         13:1 48:7,15     lung 40:17       74:14 78:8,12     150:6 153:10       31:24
         49:23 51:2       lungs 20:17      81:24 84:5,17    medically          Miami 130:16
         59:1 95:12                        88:5 90:23        110:22             131:16
         98:15,19 99:9           M         91:2 98:8        medication 6:25    micrograms
         118:19 129:5     M 3:14           105:12 107:1      21:5 24:2          25:16
         141:6 142:5      M-10 52:8        110:16 119:22     27:15 29:16       middle 18:22
       looked 37:7        machine 125:19   120:2,15          35:1 37:12,15     mild 18:12,17,22
         127:8,8 132:7    maintain 14:20   122:16,24         41:13,25 45:11     18:25 19:3
         137:5 139:22      19:7            126:23 133:5      47:13 93:17        20:6
       looking 57:18      maintained 9:17  135:15 136:5      99:18,18          miles 151:24
         85:11 86:1        14:21 151:1     152:18 153:4      145:22            military 124:10
         97:17 104:1      making 70:17     153:24           medication-in...   milliequivalents
         117:6,20         male 39:10,13   meaning 21:22      40:18              69:6
         123:16 124:8      40:2 140:4      21:23 27:21      medications        milligram 32:16
         137:6 139:11     man 65:10        74:15 78:13       7:20,22 8:2        33:5,10 38:11
       looks 48:23,23      152:24          87:11 119:7       13:8,15 14:25      53:6,11,16
         49:15 89:9       management       138:10 149:16     25:3,8 41:17       69:5
         108:17            10:2           means 18:6         57:8 65:18        milligrams
       Lorazepam 30:6     Mangrum 1:8      53:11 72:18       66:14 94:6         25:15 32:16,17
       lot 14:4 24:20      3:9 113:23      81:25 82:24       105:11 141:6       33:1,5,5,5,10
         40:20 47:13      manhandle        90:24 104:16     medicine 50:2       33:18 34:18
         49:3 50:1 64:7    141:23          135:16 149:4     meeting 154:4       37:17 38:7,8
         104:9 108:15     manner 141:17 measure 39:15       members 95:17       38:11 42:16
         108:16 120:18    manufacturer     129:21 140:20    memory 57:24        43:1 53:7,17
         122:9 130:15      29:17,21       measured           67:7 127:20        53:18,23 62:21
         130:18 140:11    mark 48:13       128:20            128:1              63:15 68:12
         147:18 150:6      49:21 51:20    measurement       mental 21:13        86:15,21 88:14
       loud 28:15          54:21 55:4      128:23            28:18 138:21       89:16 91:11,21
         144:18            94:24 142:3    measures 97:19    mentally 20:7       107:1,3,4
       low 21:22,23       marked 48:9     measuring 140:9   mention 64:2        112:2,17 113:7
         24:24 25:6        52:1 55:6,10   mechanical         121:14            millimeters
         91:10,16          95:1 104:2      69:12 119:9      mentioned           39:13,19
       LSB 63:14           117:22 142:12 medic 9:21,22       94:20 102:23      mind 19:25 20:8
       Lucie 1:10,11,24    142:14 154:17   9:23 11:9         116:1 132:11       36:24 54:21
         3:10,16 4:23     market 130:14    38:15             132:12,15          145:2 147:16
         5:18,23,24 6:3   Mascara 1:10    medical 4:13,17    133:13 139:9      mindset 133:10
         7:3,10 8:13       3:10            6:8,9,15,17,24    140:10 141:11     mine 58:23 63:1
         10:24 11:15      matter 134:10    15:15 32:10       146:11 151:16     minimal 61:22
         13:12,13 15:11   max 53:7,12,16   46:6 49:10        151:21 152:23      67:24 133:15
         28:2 29:24       mean 24:1 25:6   65:18 66:8       mercury 39:13       134:6
         45:17 46:24       26:5 32:2       95:16 102:1       39:19             minor 133:19
         48:3 51:7,24      36:25 40:9      104:3 105:14     metabolism         minute 40:4,5,6

                                   www.phippsreporting.com
                                        888-811-3408
Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 172 of
                                      184
                                                                                     Page 13

        40:8,14 72:21     84:22 85:5,6    136:14 138:4        109:25 110:9     numbers 34:19
        72:22 73:12,16    103:2 124:6,23  147:6               111:11,16,22     numerous
        74:8,9 78:3       127:4 146:15   needed 109:4         112:3,19 113:9    104:13
        86:20 89:15       146:16,17       111:2 147:23        113:24 144:12
       minutes 22:16      150:14 151:11  needle 12:11         144:17 154:9             O
        22:16 88:21      muffle 67:1     needles 145:23       154:24,25        O 61:15,15 63:3
        90:13,16 91:11   multiagency     needs 19:12          158:4,5 159:3      118:24
        91:14 127:7       48:6            56:18 108:10      Ninette 2:1        Oath 4:7 156:1
        146:2,13         multijurisdicti...
                                          109:19 110:7        156:15 157:6     object 16:24
       Misstates 27:11    48:6            135:6               157:21 158:18      17:7,14,22
        80:12 87:6       multiple 55:23  nervous 23:1,4     nitroglycerine       18:14 19:2
       mitigate 6:12     muscles 150:19   29:4,19 30:1        25:13              22:1,13 23:6
       moaning 146:3                      30:11,14,19       nitty-gritty 9:4     23:24 24:17
        146:14                  N         31:8,16,21        noises 70:17         26:1 27:11
       mobilization      N 4:2           never 46:14 66:5   nonverbal 70:11      28:6,19 29:6
        68:10 135:1      name 5:13 56:24  66:7,10,13        normal 16:21,22      30:12,20 31:10
       modalities         114:7 132:5     102:3,16            39:9,12,18         31:18 32:22
        147:22            140:4 143:25   new 132:12           40:1 69:12         34:24 35:9,15
       moderate 18:13     158:15         Newman 1:8 3:8       72:25 73:14,15     36:6 42:17
        18:18            named 65:10      3:21 16:24          73:17,23 74:6      43:3,7,17 44:3
       moist 68:6         114:1           17:7,14,22,25       74:8 78:6,8,9      45:21 47:3
       moment 119:24     names 113:21     18:14 19:2          121:16 130:20      61:1,8 62:10
       monitor 147:25    narrative 60:8   21:21 22:1,13       148:2 150:22       70:6 75:4,25
       monitored 36:8     60:11 81:21     23:6,24 24:17       150:24             80:11 87:5
       months 9:17        92:16 118:19    26:1,9 27:11      normally 122:17      88:7 91:17,23
       morning 11:8       118:22 142:25   28:6,19 29:6      North 3:19           92:13,24 93:21
       MOSKOWITZ          144:5,8 145:7   30:12,20 31:3       158:3              94:17 99:13
        3:18 158:2       nature 58:13     31:10,18 32:22    nose 68:3 110:3      100:25 101:1
       mother 1:5         59:6,9,14,17    34:24 35:9,15       139:9,12,14,15     102:9 107:16
        113:21            97:7            36:6 42:17          139:18,21,23       107:22 108:7
       motor 41:10       near 76:9        43:3,7,17 44:3    Notary 156:16        108:11 109:25
        90:25            necessarily      45:21 47:3        note 26:25 81:17     111:11,21
       mouth 68:3         120:15          48:15 52:3,6        93:9               112:3,4,18
        110:3 139:10     necessary 53:25  54:6,9,24 55:1    noted 32:11          116:8
        139:15,18,20      86:24 102:10    56:25 58:17,22      61:21 67:24      objection 17:1
        139:22,22         130:5           58:24 61:1,8        77:22 120:14       31:3 44:4
       move 20:14 75:7   need 7:1 9:14    62:12 63:7          123:6,8          objective 18:23
        79:13,14 84:20    22:18 24:2      68:23 69:3        notes 55:2           61:17
        85:4 108:2        26:2,10 32:7    70:6 80:11          157:12           objects 43:10
        109:14 127:14     32:17 33:16     87:5 88:7         notice 28:13       observe 52:19
        151:18            38:13 39:24     91:17,23 92:14      158:7              53:1
       moved 63:18        42:21 53:1,21   92:24 93:21       number 12:25       obvious 45:9
        68:13             54:4 88:14      94:19 95:3          34:4,15 36:1     obviously
       movement 79:12     93:4 110:7      98:11 99:13         76:1,2 97:17       149:25 150:14
        149:8             111:2,2 112:23  101:1 102:9         98:14 117:17       152:20
       moving 5:19        113:3 121:12    105:18 107:16       142:10 143:23    occur 14:6 116:7
        78:19 80:18       121:13 132:25   107:22 108:11       145:14 146:7,8     131:3 152:14


                                   www.phippsreporting.com
                                        888-811-3408
Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 173 of
                                      184
                                                                                        Page 14

       occurred 69:21      24:9 25:6,20       102:20 104:1     oral 129:4          103:21 104:5
         85:23 132:21      26:20 27:1,25      106:2,5,14,20    Orange 3:19         118:20 121:16
         152:10            28:9,12 29:1,3     106:25 107:13      158:3             123:18 124:9
       occurring           29:15,18,22        107:19 108:9     order 99:4          124:16 135:8
         151:14            30:3,5 31:15       109:2,22 110:6   ordered 68:20       137:19,25
       off-and-on          31:19 34:7,21      110:13,25          158:9             138:2 140:1
         151:15            36:25 37:5,20      112:14 114:23    ordering 158:13     159:6
       office 4:23 64:13   39:4,18 41:5       114:25 116:12    orders 32:12       pages 1:19 4:4
         115:1,10,18       42:23 47:25        117:20,24        organ 19:14         104:13 123:25
         119:18 136:3      48:12,21 49:9      118:16,21          22:5              157:9
       officer 60:17       49:11,14,17        120:4 121:11     organs 19:9        pain 78:19 82:23
         61:3,12 63:19     50:5,14 51:1,4     122:5 123:16     oriented 82:14     painful 78:11,14
         67:14 68:2,13     51:11,19 52:6      124:8 125:22     original 154:21     78:16 82:11
         76:9 87:21        52:11,18 53:3      128:1 132:24       158:13           painfully 78:23
         92:7,19 93:3,5    53:15 54:3,17      135:7 137:6,9    Orlando 3:20       Palm 3:4,5 11:5
         97:11 120:1       54:21 56:22        138:4,4 140:1      158:4             158:20
         141:19            57:15 58:7,23      140:22 141:7     outside 32:9       paper 29:15
       officers 37:14      59:4 60:5,9,23     141:10 143:10      40:19 116:3,10   paperwork 29:8
         65:15,16 67:13    61:6,18 62:6       143:21 144:7,7     143:4             29:11
         67:17,21,23       63:22 64:14,20     145:21,24        overdose 41:15     paramedic 6:19
         70:17 73:5        65:6,13 66:5       146:18,18,19     overhaul 6:13       6:21,22 7:6,7
         75:3,9,12,23      66:19 67:10        146:22 147:13    overweight          7:12,14,15,16
         79:8,9,13         69:20,23 70:1      149:1              153:9             7:17 8:4 11:17
         92:10,12,17       70:9,12,18,22    old 65:11          oxia 21:22          12:6,9,14,16
         93:1,6 94:1,9     71:1,5,9,17,19   on-the-job 27:8    oximeter 39:9       13:19 14:20
         96:4 100:21       72:8,16,20,22    once 121:3         oximetry 39:2       18:8 23:10,21
         101:7,19          73:9 74:7,17       131:22 145:22      39:15 40:22       24:11 25:22
         102:19,20         75:2,11,14,18    one-year 13:23       91:4              26:15 27:7
         103:1,4,5,10      76:8,12 77:6       14:1             oxygen 20:20,21     33:13 34:2
         110:22 111:19     77:10,14,18,21   ones 50:12           21:2,23,23        42:2 46:6
         124:24 127:11     78:7,11,16       online 10:2          22:18 39:12,16    47:25 48:2
         127:18,21         79:5,15 80:7       32:10              39:19 91:3        55:19,22,25
         128:2 130:22      80:22 81:12,20   Onset 82:8           149:18,20         56:6,17 57:10
         130:22 141:21     81:24 82:2,19    OOS 119:20           150:19,25         57:11 81:4
         150:1 151:10      83:4,13 84:4,9   open 16:9,10       oxymoron 19:6       106:10 148:8
         151:23 153:20     84:14 85:11,16     25:13                               paramedics
       officers' 128:10    85:21 86:1,10    operations                 P           55:24 57:4,13
       officially 7:10     86:13,18 87:17     11:18,21 12:2    P.A 3:11            101:21
       Oh 69:1 80:1        87:23 88:10      opinion 94:5       p.m 1:21 80:10     parameter 32:7
         82:8 90:9         89:1,4,10,14       148:9,23           147:4 155:4       33:24 107:10
         124:17 127:25     89:19,23 90:12     150:15 152:6     P.O 3:5             140:24
         145:21 146:23     91:1,9 92:2,9    opposed 154:1      PA 3:4 133:24      parameters
         152:19            93:8,12,18       opposite 19:11     packaged 27:20      24:24,25 25:7
       ointment 134:3      94:13,23 95:12   OPQRST 82:8        page 4:3,12,22      25:17,18 32:9
       okay 10:13 11:7     96:5,16 97:8     OPQRTS 82:23         52:8 57:18        33:22 36:11
         11:14 12:16       97:17 98:8,14    option 18:10         58:8 59:5 60:7    38:18 105:25
         16:4,13,16        99:1,3,9,20      options 137:14       65:7 69:21        106:11,23

                                  www.phippsreporting.com
                                       888-811-3408
Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 174 of
                                      184
                                                                                      Page 15

        107:11 140:11    66:1 67:11,15     106:7 107:7,9     person 16:19       piece 50:21
        140:14 141:8     67:16,18,20,22    107:14 108:16       19:6 24:7 28:9   pieces 105:7
       parentheses       68:9,11,14,17     109:8,9 117:12      28:10,13,20      Pierce 11:1,13
        99:22            68:19 69:4,4,7    117:15,18           30:22,23 36:3      55:16 117:2
       parenthesis       69:8,10,11,15     120:13,18           36:15 43:12      pin 103:1
        85:12            69:16 70:3,4,7    121:9 125:6         46:12 82:14      place 82:14 84:7
       parking 122:8     70:11 72:25       129:11 134:22       84:6 93:16         152:15 158:19
       part 48:23 49:6   81:10,22 82:7     140:10              112:2 116:7      placed 63:18
        49:13 50:1       82:13 83:9,11    pattern 21:7         120:11 129:12      68:13,17 94:22
        59:12 68:8       84:8,14 85:5,7   pauses 21:15       person's 43:12       119:20,23
        70:25 71:15      85:8,10 87:9     pavement 61:23       130:19           placing 84:19
        81:11 96:1       87:15 88:3        67:25             personal 128:13      146:3,5,20
        98:23 99:2,16    92:20 95:21      PDF 51:18            144:4              150:3
        104:6 119:9      96:12,14 97:22   penalties 159:21   personally 120:4   Plaintiff 1:6 3:2
        120:6,23,25      98:2,5,6,14,24   people 22:15,17      148:9,13,22        4:11 48:9 52:1
        121:9 122:4      99:17 102:2       24:3 33:20          151:6 156:9        55:6 95:1
        137:15 141:4     106:12,22         40:16 108:3       personnel 95:18    plaintiff's 48:13
        143:18           107:12 108:18     109:8 130:15        110:19 114:17      48:22 49:22
       partially 16:10   109:19 110:20     141:23            persons 43:10        50:8 51:6,12
       particular 117:2  110:24 112:5     perceived          perspective          51:20 94:24
        117:10 118:5     112:12,14,20      149:15              125:12             113:17 115:4
        134:5            119:3,14 120:9   percent 11:5       pertinent 95:13      115:24
       particularly      121:10,22,25      27:17 39:11,11    Pharmacologic      planets 148:17
        148:15           122:14,19,20      39:22 50:23         101:23           plans 5:19
       parties 157:15    124:14 125:18     51:5 58:1         phase 131:1        plausible 21:18
        158:11           127:2 133:7,25    75:16 91:1        Phipps 1:23        please 5:3,13
       parties' 157:16   136:13 140:3      93:2 94:21          158:19             24:10 26:10
       partner 135:17    140:16 145:9      131:13 143:3      phrased 15:17        47:7 132:25
       partner's 56:3    145:11,11        percentage         physical 20:15       154:16 158:7
       partners 56:18    146:1,2,4,5,13    39:22               31:8,16 99:20      158:10,15
       parts 95:13       146:20 148:14    perfect 96:11,13     101:24 102:4,7   point 21:3,6
       passed 122:1,2    149:3,16 154:3   perform 70:18        102:17,22          30:22 42:20
       patent 68:4      patient's 20:17    77:14 147:23        122:10             51:8 75:7,17
       patient 19:24     41:2 61:21,23    performance        physically 20:23     77:2 82:18
        20:5,23 21:1,2   61:24 68:1,3      136:19              102:21 127:13      86:5 94:1
        24:15,22 25:10   84:24 97:20      performed 63:8       149:12 150:16      100:11 103:7,9
        26:17 27:18,20   116:10 118:12     68:8 70:23        physician 6:25       103:24 110:20
        33:14,18 34:3    130:25 135:2      71:2,6 135:16       25:3 32:6,10       119:12 122:11
        34:12 35:10,14   145:12           performing           32:11,12,17        124:14 126:7,8
        35:16 36:7,19 patients 4:18        136:21              34:1 38:8 44:7     126:11 139:16
        41:9 42:9,19     14:10 22:24      pericardial          53:13              151:1
        43:15 44:1       23:11 24:6,12     149:4,5           physician's        poisonings
        45:2,6,19 46:2   34:16 35:20      period 79:10         38:16              106:4
        47:1 53:19       38:9 41:16        151:13            physiology 9:21    police 76:9
        56:1 60:18       50:25 80:5       perjury 159:21     pick 85:20           92:10 130:21
        62:24 63:1,11    95:13,15 97:6    permission           137:12             133:8
        63:13,15,19,20   99:5 104:14,17    38:13             picking 146:4      policies 115:15

                                www.phippsreporting.com
                                     888-811-3408
Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 175 of
                                      184
                                                                                         Page 16

        115:18             22:24             privacy 142:13      25:2 32:5,6        59:18 64:8,9
       policy 94:12       preeclampsia       probably 10:9       33:3,12,20         84:10 85:2
       pool 108:4,23       38:5               16:2 20:6          36:11 38:18        87:8,11 88:4
       Port 1:24 5:18     prehospital         36:14 65:3         43:20 44:6         89:4 91:6
        10:24              23:15 27:19        114:6              47:17,19,20,23     94:14 100:19
       portion 14:4        39:21,23 44:6     problems 153:7      48:7 49:16,18      124:21 125:19
        47:10 49:6         44:7 133:21       procedural 49:4     50:9,22 51:14      134:2,21,24,25
        92:16 98:23       prerequisite        49:8 105:5,15      51:22 89:22        136:12 141:1,3
        118:7 122:4        7:17 9:21         procedures 12:9     94:7 95:8          142:24
        132:22 137:10     presence 125:24     94:12 115:15       103:20 105:4
        144:5              134:13,16          115:19             106:18,20                Q
       posed 101:6        present 83:11      proceedings 5:1     115:4,6,12        quality 82:9
       position 6:4        93:15              155:4              121:1 129:14       121:17
       positions 7:5      presented 14:5     process 7:9,9       140:11            quantity 71:20
        11:16              91:18              9:12,16 80:6      provided 14:22      71:24 72:3,10
       positive 69:12     presenting          122:20             47:22,25 51:22     72:17 73:10,22
        94:4               20:23 98:5,24     professional       provocation         80:23 86:2
       positively 137:8   pressure 108:21     1:23 46:6          82:9              question 26:11
       possibility 85:6   pretty 131:13,14    125:1             psychiatric         26:12 31:13
        93:5 95:19        prevent 19:13      professor 44:24     138:9 153:13       33:12 37:8,20
        104:16 122:18      42:15,25          program 9:24       PTA 74:13           39:18 43:20
        135:3             preventative        137:13 141:1,2    public 13:11        45:15 48:17
       possible 61:3       97:19             programs 38:17      15:16 48:4         49:20 79:15
        69:6 97:9         previous 92:19     progressing 22:3    58:5 156:16        81:12 84:1
        99:23 121:7        93:25 134:23      proper 102:1       puddle 61:24        95:22 96:6
       possibly 34:6,13   previously 22:2     136:17 149:8       62:8 68:1          98:19 100:14
        81:16 84:19        57:3 74:7         property 16:12     pull 15:16 51:17    101:14 102:15
        92:6,7 97:11       140:10            protect 112:12      151:17             103:16 112:25
        97:12 121:24      prey 152:2,2        112:13            pulse 39:2,9,15     113:4 117:14
        138:17            Prima 55:15        protocol 7:22       40:22 69:9         148:20,21
       posthospital        56:9 57:16         24:3,4 32:13       74:18,18,18,18    questioned
        131:14             109:15             32:25 33:25        77:23 89:24,25     122:13,16
       postintubation     primary 55:19       38:2 48:4,5,24     90:4,17,19        questionings
        14:24 22:24        55:22 56:5,17      49:5,6,10          91:4,10,15         42:12
       posts 15:25         56:23,23           50:24 51:7         93:9,14           questions 46:7
       postsedation        137:22 138:6,8     53:17 88:13       pulseless 63:21     54:14 83:12
        45:11             printed 59:1        93:15 95:18        68:16              97:4,23 98:10
       potential 95:20    printouts 58:24     103:13,14,18      pulses 68:5         105:19 113:15
        95:23 96:6,17     prior 7:16 37:7     104:9,12,15,19     69:13              115:3,25 148:6
        97:10 98:16,20     60:2 69:16         104:22,23         punched 111:25      154:6,9
        99:9 108:22        74:15 80:12        105:1,10,13,14     112:15            quicker 145:3
       potentially         88:24 89:11        105:19 107:4,8    PURDY 3:11         quickly 135:1
        95:15 97:20        94:3,9 95:21       107:10 121:2      purpose 60:6       quite 127:17
       pounds 140:5,8      99:11 101:16       130:12 131:2      purposes 58:6      quote 57:6
        140:15,22          116:20 119:3       134:24             104:10 142:13
                                                                                          R
       pouring 61:7        126:12 150:1      protocols 6:24     pursed 20:24
       preclampsia         153:3,7 154:4      13:14 24:23       put 14:15 20:22    R 63:3 69:14


                                   www.phippsreporting.com
                                        888-811-3408
Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 176 of
                                      184
                                                                                           Page 17

         118:24 119:1       119:2,2           referenced          remove 14:11       represent
       R3 119:20          reassure 97:22        105:18 145:14       96:2               113:18,22
       radial 74:18         98:9              references          renew 8:6,18       representative
       raise 5:2 13:5     recall 54:15 64:8     147:10            renewal 8:17         64:12
       range 34:5,9,10      66:24 75:18,22    referring 29:11     repeat 33:7 47:6   reprimanded
         36:14 72:21        76:25 79:7          50:9 85:12,14       49:15 91:13        15:11,13
         148:3              82:5 83:3 84:3      85:17 115:6       rephrase 26:13     reprimands 16:5
       rapid 68:5,5         120:4 123:3         116:4 119:18        31:13 37:20      requested 47:10
         150:22             126:20 127:21       135:24            replace 121:4        157:10
       rate 16:21 20:12   recalled 117:4      refresh 59:16       report 4:16        require 20:10
         20:18,19 35:7    receive 7:2 66:1      117:7               26:25 32:11        33:20 87:1
         35:13 37:16        108:18            refreshed 14:24       37:2,3,6 54:3      133:22
         40:1,25 73:8     received 26:6       regard 122:5          54:18,21 55:5    required 73:6
         73:11,15 77:8      57:18 88:25         132:20 149:2        55:9 57:17,24      115:10 147:17
         77:11 78:2         123:10,12           152:8               59:23 60:1       requirement
         149:21,22        Recess 54:11        regarding 32:13       64:1 65:8 67:8     8:12 141:2
       rates 35:22        recognize 27:4,8    regards 50:24         67:10 69:17      requires 6:22,23
       Rayon 99:24          27:14 95:19         98:20               71:3,14,17         11:22
         100:1,15 101:5     114:4 130:15      regathering           72:14 81:17      rescue 56:10,11
         101:16 103:5       142:17              79:10               88:17,23 89:23     57:5 60:13
       reach 25:1         recognizing         region 149:17         117:5,7,9,11       63:23 64:15,24
       react 7:23           114:17              150:3 151:5,6       117:20,22,25       68:18 114:21
       reacts 7:20        recollection 37:1     151:8,12            118:2,5,9,18       119:16,23
       read 4:8 21:12       37:6 59:16,24     related 67:11         119:15 121:13      136:22 143:23
         29:20 47:8,10      117:1,8,10          139:6               121:15 123:6     rescue's 120:25
         63:5,11 67:6     record 15:16        relates 12:6 15:4     123:23 124:8     rescues 11:22,23
         69:3 131:17        37:7 58:5,25        25:23 37:8          124:16,19          11:23
         144:7,12,18,22     113:18 127:24     relative 157:14       129:5 132:23     research 51:3
         147:9 154:10       142:8 145:6         157:15              132:25 133:13    resetting 120:12
         158:10,12          146:8,23          relax 20:10           135:8,9 137:4    resist 134:19
         159:21             157:11              22:23               137:6,10,20      resisting 134:17
       reading 39:9       rectally 129:2      relaxation 79:18      138:9 140:1      respiration
         63:17 103:13     redacted 142:11     relaxed 102:25        141:11 143:3,4     16:19,21 77:7
         117:5 129:6        154:22              151:17              147:10,11          82:9,9
       ready 39:7         reduce 87:20        relaxing 151:17       157:8            respirations
       real 15:23 76:1      97:20             released 9:25       report-writing       35:8,13,22
         96:9             reduced 16:19         110:23              72:1 118:8         68:5
       really 109:23      reduces 16:20       remedy 37:18          141:1            respiratory
         121:23 143:10    reevaluated           94:7              Reported 2:1         16:16,18,23
         150:7 153:1        62:25 63:2,20     remember 36:23      Reporter 4:8 5:2     17:2,5,12,20
       reason 15:12         68:15               67:4 76:5 77:5      47:9 154:12,15     18:5,7,11,13
         16:5 87:20       refer 117:21          83:20 92:25         154:19,23          18:18,19,19,21
         101:4,15           118:18 132:25       114:16 123:5        155:2 157:1        18:25,25 19:3
         150:16 159:6       135:7               126:20 127:6      reporting 1:23       19:5,12,17,22
       reasons 15:15      reference 13:16       131:24 132:3,5      141:13 158:19      19:24,25 20:2
       reassessment         37:3 64:4           132:7 142:16      reports 56:1         20:3 21:8,15
         69:8,14,15         146:7               143:5 147:13        89:2 118:14,15     27:21 31:7,15

                                   www.phippsreporting.com
                                        888-811-3408
Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 177 of
                                      184
                                                                                            Page 18

         32:20 36:5       reverse 41:11,13      45:18 46:25       sac 149:6,8           59:9 60:2,3,13
         40:1,12,25         41:18             Riviera 11:4,6      safe 74:24            60:24 67:5,9
         52:12,19,24      review 148:12       Robinson 1:9          100:19 114:8        67:13,17 68:18
         73:11,15 77:11     157:10              3:9 113:23          122:9,23            74:24 77:19
         78:2,7 111:10    reviewed 148:15     rode 136:6 146:5      140:14              92:18 107:19
         111:15,20        reviewing           role 55:12,14       safely 75:7 88:20     109:3,6,7
       respond 57:16        149:14              56:15,16,20       safety 95:17          110:25 114:15
         78:15 109:15     revise 50:20        roles 56:16         sake 125:9            114:18 122:7
         109:19 125:5     revision 48:25      roll 9:2            salts 125:7           122:22 123:1,2
       responded 55:15      50:23             Romazicon             130:17 131:16       124:4 126:3,5
         56:9 62:7        revisions 50:20       41:14,18,19,23    SaO2 91:1             126:18 128:14
         83:14 110:17     revive 8:1          room 114:3          saturation 20:22      132:17 133:2
       responder-type       150:19              150:4               91:3                141:13,21
         136:12           rhythm 69:12        Rosario 1:11,17     saw 9:6 61:18,21    school 9:1,2,3,12
       responding           93:16 150:14        3:16 4:5 5:9,14     110:2 143:6,8       9:13,15,16,22
         57:25 59:17,20     150:21,22,23        81:4 113:16         151:9               9:22,23 11:10
         62:3 78:22         150:24 151:2        144:25 152:25     saying 22:11          26:5,16 48:1,2
       responds 78:19     rhythms 49:12         156:9 157:9         34:16 45:6,15       48:4
       response 67:18       147:20              158:2,22 159:4      45:24 46:2        schooling 6:23
         78:13 81:22      riding 57:4           159:23              68:25 80:8        science 10:4
         82:1,1,22          131:24            ROSC 69:15            144:3             scraped 141:22
         90:24,25,25      right 5:2 10:16       119:3,5 150:17    says 32:16 43:21    screaming 66:23
         109:16             11:9,14 16:15     route 9:7 146:6       52:11,18 53:6     screen 131:18,18
       responsiveness       18:24 46:19       RPR 2:2 156:16        53:16 58:9,12     scuff 128:5
         78:11              49:9 51:1,19        157:6,21            59:6 60:13,16     se 121:2
       rest 40:2,10         54:2,5 56:4         158:18              63:4,7,23         SEARCY 3:3
       restart 13:7         58:22 59:4,13     RSA 2:2 156:16        64:14,23 65:17    second 58:12
       resting 125:15       61:7,22 62:22       157:6,21            65:22 71:20         136:1 137:22
         125:17,21          63:9,16 65:7        158:18              72:9,16 74:17     secondary 56:25
       restock 119:24       65:17 67:24       rude 82:19            74:19 81:20,22      57:2 139:1
         120:22             71:11 78:2        run 8:15 45:6         84:4,14 85:11     section 18:22
       restocking           88:16 89:8          59:19 64:7          85:17 87:14         68:6,7 118:19
         120:24             90:7,12 99:6        103:20 108:15       95:14 97:21         118:22 119:1
       restrain 102:21      106:17,25           145:14 146:8        99:20,23 104:2      135:9 140:3
         141:20             107:6 110:16        151:24              104:14 105:13       142:25 143:16
       restraints 94:15     111:6 113:11      running 118:10        107:1 119:2,14      144:4,8
         99:21,25 100:3     114:3 115:22                            119:16,20         sections 105:5
         100:16 101:6       133:10,15                 S             133:14 135:12       105:10
         101:16,23,24       140:7 142:2       S 3:6                 137:7 140:3,4     secure 122:23
         102:4,7,17,22      146:22 147:8      S.O 63:18,19          143:17 145:1      secured 145:15
         103:10,12,23       153:24 154:5        67:11,21,23       Scale 41:6 70:19      145:23,25
       result 116:16        154:19              68:2,13,14          70:20,24 71:2     securing 135:21
       results 94:5       rip 59:19             73:5 74:23,25       71:9 90:20        sedate 14:8
       retracting 20:25   rise 86:11            75:1 92:5,6         91:10,16            126:10 145:13
       return 69:15       risk 45:5,25 46:3     100:17 122:21     scan 96:19          sedated 45:8,12
         119:7 158:16     risks 43:25           145:8,9,12        SCAROLA 3:3         sedation 34:21
       returned 158:11      44:15,25 45:4       146:3,5,19        scene 6:12 57:21      34:22,23 35:5

                                   www.phippsreporting.com
                                        888-811-3408
Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 178 of
                                      184
                                                                                           Page 19

         52:8 113:3       send 8:17 118:3       119:18 122:7       52:19 53:1        smaller 141:20
       sedative 23:22       155:2               123:1 130:22       82:10               150:10
         24:13,15 87:1    sense 56:6 121:3      130:23 132:11    silent 66:25        smelling 125:6
         112:24           sensor 91:8           136:3 138:16     simple 45:15        socialized
       sedatives 12:6     sensory 41:10         142:4              81:12               114:12
         12:24 13:4,22    sentence 92:17      SHIPLEY 3:4        simply 33:17        sodium 69:6
         14:2 24:2        sentences 60:16     shock 98:17,21       58:24             sold 10:19
       sedatives-type       63:5                99:10 147:24     Sinclair 56:12      solely 89:20,21
         22:22            separate 114:25       148:1 150:21       57:10 84:5,9      solemnly 5:4
       see 21:1 27:17     separated 21:14       150:23             135:13,18         somebody 7:2
         45:5 46:2          49:10 106:3       short 15:23        single 20:4 34:17     14:8 19:3,11
         50:11,21 52:9    sepsis 129:15         27:19 95:25        36:17               20:7 21:10,11
         52:14,21 53:8    septic 129:15         150:18           sinus 69:12           21:12 23:25
         54:18 57:17      serious 107:21      short-of-breath    sir 52:10 53:9        27:15 28:14,14
         58:9,14,17         108:9,13,14,22      19:6               54:20 56:14         42:4,18 45:25
         59:4,11 61:17      109:3 110:7       shorten 60:21        62:1 71:22          85:2 86:24,25
         61:25 62:18        133:19 134:9,9    shortly 152:5      sit 76:6 88:16        88:11,13 113:2
         63:4 65:19       seriousness         shot 126:19,23       102:6 111:8         121:21 125:3,4
         68:6 71:21         108:18            shots 56:6           116:23 152:25       129:15 130:25
         74:19 76:22      server 118:3        shoulder 145:5     sitting 62:6          149:5,16 150:2
         77:7 86:14       service 119:23      show 6:12 48:12      73:17 118:15        150:13
         87:23,25 97:3    set 6:24 11:21        58:18 81:20      situation 7:1       somebody's
         99:17 104:3        24:4 44:6           104:25 131:19      14:11 21:9,16       16:21 18:10
         105:17 108:4       47:20 106:12        142:2,4            36:19 37:13,19      25:13 108:23
         108:14,19        setting 57:8        showed 69:9,9        70:2,9 72:24        126:11 149:12
         111:6 118:8      severe 17:20          69:11 142:1,18     73:25 74:2,11     somewhat
         119:1 120:20       18:2,5,13,19        145:13             80:20 81:7,8,9      150:21
         123:9 124:13       18:21,25 19:11    shown 51:7           82:7 83:9,13      soon 77:4 79:11
         125:3,20 129:5     134:2               115:12,17          85:15 89:18         118:11
         134:14,16        severity 133:18     shows 29:15          91:25 92:4        sorry 10:4 22:10
         135:9 136:2        134:8             sick 129:12          96:3,15 104:13      39:7 40:6 47:6
         137:21 140:2     shape 21:10         side 31:8,16         108:22 109:18       50:18 64:18
         144:25 145:14      28:3 40:16          61:22,23 67:24     123:15 152:7        68:23 69:1
         150:20 151:13      94:14 153:9         67:25 133:15     situations 43:2       76:12,13 79:2
       seeing 77:5        sharps 145:17       sighing 21:7         46:10 83:10         91:13 145:18
       seemingly 67:22      145:18,20,25      sign 4:8 39:2      size 141:18           148:20
         141:20 150:9     sheet 4:9 68:21       40:23,25         skills 69:2         sort 7:13,17
         152:24 153:4       155:1 158:10        158:12,15        skin 68:5 121:18      14:13,15 16:4
       seen 18:7 28:9       159:1             signals 148:2        128:18              20:15,22 25:10
         28:10,16 35:20   Sheriff 1:10 3:10   signature 144:6    SLCFD 146:6           40:17 42:8
         48:14,17           113:19 142:3        158:8,15,21      slide 84:22           47:13 56:8
         108:15           sheriff's 4:23      signed 32:5 34:1   sliding 135:3         78:16 94:14
       seizures 22:23       64:12 67:3          44:7 156:12      slow 35:7,12,22       102:17 132:14
         47:14              75:3 77:17        signs 19:16,21       68:23               133:7 141:3
       self-induced         94:8 103:9          20:25 22:3       slowly 69:3         sought 128:15
         133:9              111:19 115:1        27:9 28:3 39:3     134:12            sound 140:7
       selling 9:8          115:10,18           40:24 41:1       small 141:22        sounds 125:11

                                   www.phippsreporting.com
                                        888-811-3408
Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 179 of
                                      184
                                                                                          Page 20

         154:23              124:22,23          61:15 62:19      sterile 120:10     struck 43:10
       SOUTHERN              136:22 139:19      119:5 145:2      stick 14:9           116:3
         1:1                 143:7            standing 145:5     stimulation        struggle 67:1,2
       Southwest 1:24      speculated         stands 8:19 53:3     98:18,22 99:11     67:18 68:3
       space 11:24           149:3              147:15 148:4     stimuli 78:14,17     73:5 79:8
       speak 20:11         speculation        staples 134:1      stitches 133:23      92:18 94:3,21
         38:13 69:23,25      148:25 149:2     start 53:22          133:25             102:24 103:25
         70:10 78:20,24    spill 85:7           79:13 151:19     stock 128:8          141:25 149:18
         80:17 81:13,15    spilled 139:21     started 9:4,7      stocky 132:10        150:1 152:4
         82:12             spinal 68:10         79:13 126:4      stomach 112:1      struggling 70:17
       speaking 66:1         134:24,25          151:18             112:16,16          100:18 124:24
         70:5,13 79:3      split 56:2         starting 70:21     stop 13:7 109:12     138:17 145:11
       special 1:12 3:17   spoke 66:5 81:17     138:1              118:10 149:11      149:19
         11:18,21 12:2       81:21            state 5:13 8:18      149:13 152:4,5   stuff 15:15,18
       specialty 11:22     spontaneous          20:8 75:13       stopped 27:21        44:8 49:8,12
       specific 12:25        69:16 119:7        79:17,18 124:5     87:12,15,17        57:7,9 58:4
         14:14 20:5        spontaneously        124:20 156:4       88:3,5 146:3       106:4 108:19
         23:21 24:14         78:9 108:1         156:16 157:3       146:13 150:16      150:8
         26:12 27:15       spot 135:6         stated 22:2        stops 7:25         stumbling 28:14
         30:22,23 34:4       140:25             60:17 67:14        149:10           subdue 79:9
         34:19 36:1        spray 120:21         68:2,21 132:22   strapped 84:21       127:19
         46:12 48:5        spread 14:13         159:22             99:24 100:2      subdued 80:18
         55:17 58:4        squirming 79:14    statement 4:23       103:6              92:5 149:16
         60:3 64:8,9         84:22 127:4        24:16 28:5       strapping 84:25    subduing 67:21
         76:17 82:12       squirting 108:21     29:20 63:23      straps 145:15,18     76:18,19 151:9
         88:12,12 91:25    St 1:10,11,24        64:3,13,15,16      145:19           subjective
         92:4 97:13          3:10,16 4:23       64:17,19,22,23   stressful 95:15      108:13
         99:4 104:8,12       5:18,23,24 6:3     65:3 119:16,17   stretcher 63:18    subscribed
         106:12 107:10       7:3,10 8:13        119:21 120:1       63:20 68:12,14     143:17
         112:11 117:17       10:24 11:15        142:21,22          100:7,9,20       successful
         118:10 129:11       13:12,13 15:11     143:22 146:25      101:11 102:11      135:13 136:2
         131:17 133:22       28:2 29:24         147:9              119:25 120:19      137:3,5,7,11
         133:24 136:9        45:17 46:24      statements           140:12 146:4,5   successfully
         147:14 148:17       48:3 51:7,24       64:11              146:20             135:16
       specifically 12:3     105:22 113:19    states 1:1 92:17   strike 12:20,21    sudden 151:25
         13:9,12,13,21       114:21 115:1,9   Station 15:22        17:11 42:7       suddenly 148:10
         13:25 15:1          115:18 122:7     status 22:15         46:22 51:13        148:23
         22:25 23:13         130:23 136:3       28:18              55:13 77:21      sued 113:20
         24:2,6,19           156:5 157:4      stay 8:12 18:8       82:3 89:5          114:13
         25:21 26:16       staff 69:17          63:14 68:9       striking 116:16    suffered 44:1,16
         29:20 31:11,19      119:15             135:6              116:17             45:2,19 47:2
         32:4 38:4         stage 122:20       stays 6:7          stroke 121:24        116:13
         42:23 45:4        staged 123:3,13    stenographic       strokes 97:2       suffering 43:16
         46:11 47:11,15    stages 71:7          157:12           strong 60:19         43:22 113:5
         48:3 50:11,23     staging 122:20     stenographica...     67:12,16 92:20   sufficient 101:24
         77:4 78:18          122:24 123:14      2:1 157:8          141:14,17        sugar 13:6
         97:5 105:21       stand 60:10        steps 98:15          142:1            suggest 134:8

                                    www.phippsreporting.com
                                         888-811-3408
Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 180 of
                                      184
                                                                                      Page 21

       Suite 1:24 3:12      143:17 156:10    70:13 73:9         80:2 82:15      tests 41:9 131:17
         3:19 158:3,19    syllabus 13:18     74:1,4 80:19       88:17 102:20    Thank 146:22
       summarized         symptom 21:8       102:13,14          117:17 121:23     154:6
         105:15             21:15 82:10      103:22 106:6       122:1 126:19    Thanks 113:12
       SUMMER 3:14        symptoms 19:17     107:6 116:24       130:11 132:9    therapy 8:2
       summer@pur...        19:21 22:3     talks 52:8           132:24 133:1    thermometer
         3:14               23:14 27:9     tamponade            136:18 137:18     128:22,25
       Sunrise 3:12         28:4             149:4,5 152:3      137:23 138:6    thing 10:15
       supervisor 38:14   synonymous       tase 130:24          138:20 139:11     13:10,10 44:19
       support 7:24         79:20          tasers 130:24        139:19 142:24     58:20 72:25
         8:20,22 53:4     synthetic 131:9  taught 13:17         143:7 145:1       129:14
       suppose 59:5       system 23:1,4      24:19 26:17        153:12          things 7:18
       supposed 33:1        24:22 29:5       28:7 41:2        telling 89:10       11:24,25 12:10
         126:10             30:1,11,14,19    44:14,25           127:6             28:12 31:24
       supraventricu...     31:16,22 72:1  Tavares 1:4        tells 107:5         40:10,15,21
         69:10              118:8 131:16     36:21 37:8,23      123:18            47:13 64:7,8
       sure 11:7 15:17                       39:4 50:16       temp 121:18         65:25 82:11,22
         16:9 19:20               T          60:24 61:13      temperature         96:10 97:5,14
         26:10 27:25      T 62:19 63:3,5,6   62:7 65:10         121:19,20         97:21 98:21
         29:8 33:8          63:22 118:24     66:2 74:1,4        128:18,19,21      104:7,9 113:16
         39:14 46:8       tachycardia        80:10 81:13,15     129:7,18,21       118:15 120:23
         47:9 50:7,23       69:10            81:21 82:21      ten 9:17 46:22      121:18,24
         51:5,9 54:24     tachycardic        83:17 84:10,17     76:15             131:19 141:5
         55:1 58:1 61:2     77:25 86:19      95:23 111:1,9    ten-plus 28:1       154:22
         75:16 85:3         89:15            111:14,19          44:21 45:16     think 16:15
         93:2 94:21       tactics 94:11      113:21 158:5       46:21,23          24:18 46:19
         112:7,10 120:8   take 11:25 18:10   159:3            term 99:10          48:17 49:24
         131:6,13,14        34:20 41:17    teach 13:9 48:5    terms 8:1 12:14     91:20 93:18
         142:6 143:3        54:3,8,9 82:17 teachable 44:18      13:2 14:2,13      103:14 114:4
         144:9,15           98:8 109:10    teaches 12:10        20:6,15 23:11     127:21 128:5
         151:21 154:19      110:17 126:22 teaching 13:13        33:13 39:13       141:1,10 143:1
       surrounding          126:22 135:21    13:14              54:15 102:21      145:1 151:4
         75:23 81:8         154:25 158:7   team 12:2 63:19      105:24 136:20   thinking 19:25
         92:10 100:22     taken 10:1 27:15   68:14              147:18 153:24     41:22
       surroundings         39:23 63:23    technician 6:9     test 125:19       thinks 153:20
         79:23              64:15,23 90:6 tell 6:20 7:13        131:11          thirty 158:13
       suspended 15:12      98:15 119:16     8:25 12:3,25     tested 131:8      Thomas 84:5
       suspensions          131:22           13:25 15:2       testified 5:10      135:13,17
         16:5,6           takes 123:14       18:24 19:20        124:2           thoracic 149:17
       sustained 94:2       141:4            24:10 25:22      testify 77:11       150:3 151:4,5
         96:17            talk 15:17 32:25   26:21 29:25      testimony 5:5       151:6,8,11
       SVT 131:1            36:22 54:2,16    30:18,25 34:10     27:12 61:12       152:10
         147:24,25          64:12 74:3       35:3 36:1 37:9     71:5 73:11,21   thoroughly
       swear 5:4            80:1,3,5,5,8,9   38:2 39:7 42:4     80:12 87:6        120:22
       sweating 77:8      talking 31:11      57:15,23 67:4      100:21 109:2    thought 97:15
       switch 56:16         46:17 47:19      70:16 71:11,13     109:22 122:6    thousand 16:2
       sworn 5:10           50:15 66:20,21   74:7 76:8,16       126:15          thousands

                                   www.phippsreporting.com
                                        888-811-3408
Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 181 of
                                      184
                                                                                         Page 22

         117:12             151:13,23          41:23              97:16 109:16     trucks 51:16
       thrashing            153:22,23        trained 27:14        109:18,23        true 28:5 157:11
         151:19             154:7 158:8        30:21 41:11,12     110:1,18 113:2     159:22
       threat 101:11      times 28:15 34:2     41:12 45:18        113:3,5 115:25   truly 158:17
       threatening          34:11 35:12,25     46:25 82:6         116:6,14 133:6   truth 5:6,6,7
         95:17              50:2 55:24         83:8               133:8,9,11       try 18:8 41:16
       three 37:3 41:9      83:23,24 86:23   training 7:13,15     134:23 145:13      48:7 80:3,4,5
         65:19 85:19        87:7 88:8,8        7:16,18 12:4,4     149:6              82:13 113:16
         88:21 90:13,16     120:18 124:22      12:5,8,10,13     traumatic 58:13      148:13
         90:22 91:11,14     133:21 147:11      12:15,17,22,23     59:7,9,14,20     trying 20:20,24
         98:17 116:25     timing 152:16        13:19,23 14:1      59:22,25 62:2      82:19 113:1
         118:13 127:6     tired 127:8          14:1,2,4,5,19      108:24 139:2       124:6 127:4,18
         146:2,12         today 5:5 27:8       14:23,23 18:4    treat 20:1,3         144:20,22
       throat 14:9          36:22 37:7         19:21 23:9,20      23:11,13,17        145:12 151:18
       Thursday 1:21        62:6 88:17         23:21,25 24:5      24:12,14 26:17   tube 14:9
       tie 94:15            90:3 102:6         24:11,14,19        27:17,22 42:19   turn 45:12 85:7
       time 12:19,23        111:8 115:12       25:21 26:3,6,8     44:9 85:25       turned 69:17
         17:17 19:8         115:17 116:24      27:3,5,7,8         96:13 109:8        118:12
         21:3 22:4,9,11     132:20 152:25      29:23 31:4         110:24           turnover 69:16
         22:12 27:18      told 26:24 27:16     34:25 38:16      treated 17:2,9       119:3
         28:21 33:3,17      40:22 42:5         42:8 43:14         17:17 22:4,8     TV 28:16
         34:13 35:18        46:12,14 56:22     44:13,22 99:2      42:21 49:13      Twelve 40:3
         37:11 42:20        61:12 73:14        125:2,3,23         108:10 109:4     two 8:9 16:2,13
         46:20 47:24        74:11 80:7         130:9 136:11       109:19 110:7       56:13,18 60:16
         50:2,13 53:23      83:16 84:12        136:12 148:8       110:11 111:3       92:9 98:17
         54:1 57:15,21      90:2 94:9          148:21             131:2              99:25 122:25
         62:18 69:24        97:11,14 110:6   trans 11:23        treating 106:22      123:25 127:6
         70:11 77:3         127:21 132:20    transcribed          133:7              128:6 142:11
         80:19 86:24        133:3 136:8        154:11,13        treatment 47:17      146:2,12
         88:12,12,18,24     139:7 143:5      transcript           62:20 68:9,20      147:20 151:24
         89:1,4,6,7         151:3              154:10 157:10      70:23 77:22        154:22
         93:22 95:25      tolerate 84:15       157:11 158:9       82:10 85:22,23   type 11:22 30:8
         96:8,10,23       Tom 56:12            158:11 159:2       86:13 87:14        44:18 130:6
         97:15 98:5,6       57:10 84:9       transfer 95:21       88:2 93:8          134:22 138:11
         103:7,9,11,25      136:8            transferred 11:1     109:9 128:15       140:23 148:3
         106:13 107:12    tools 140:20       transport 95:14      135:9 140:17     types 13:3 49:12
         118:9 119:24     top 58:22 104:3      99:23 110:13       146:6 147:18       103:19
         122:2,3,3,11     TOT 119:14           110:24 111:3       147:21 148:15    typically 129:9
         122:14 123:10    total 69:5 90:20   trauma 43:6,8,8      148:16,19
         123:11,12,14     touch 78:19          43:16,23 44:1    treats 133:24             U
         123:19 124:9       121:21 122:1       44:16 45:2,9     tried 94:13        Uh-huh 15:20
         124:10,14,21     touches 14:23        45:20,25 46:3    truck 51:15 57:5     106:8 127:23
         127:17 128:19    touching 116:16      46:14,15 47:2      75:8 119:24,25     139:3 140:6
         130:13 133:2       116:17             47:11,16 49:11     120:7,12,17,22     141:15
         143:22 146:24    toxicity 41:15       58:4 60:14         129:1 136:22     ultimately 137:3
         147:2,23         track 29:4           67:11 75:6         145:16,25          137:20
         149:18 150:18    tradename            83:14 96:22,25   truck's 118:11     umbrella 47:16


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Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 182 of
                                      184
                                                                                    Page 23

        85:12,13,17,19     103:5,10 107:2      90:25 119:15 79:2 80:9         weighed 141:8
        137:11             107:11 121:3        153:15       82:20,24 83:2     weight 140:14
       unconscious         125:6 129:2       verify 29:7    85:3 88:16         140:15,18
        70:14 125:4,8      133:25,25         Vero 11:3      110:22 120:8       141:3 150:3
        125:17,24          134:1 153:16      version 117:24 124:1 125:5       weight-based
        126:11 133:1       153:18,19         versions 117:25131:20 144:12      140:12 141:6
       uncooperative       154:2             versus 18:18,19154:12,15,24      weights 140:17
        125:13           uses 14:18,23         128:19      wanted 9:7,10      well-being 84:24
       undergo 23:10       24:21 47:12       veteran 132:13 9:11 76:13         85:1
       undergoing 23:9   usually 20:18         132:14       127:14 143:4      went 9:3,11,12
       undergone 15:4      28:20 41:14       violent 14:10 war 132:13,14       9:15,20,22
        44:22              123:14            Vista 55:15 56:9
                                                           wasn't 24:14        38:15 110:25
       undersigned       utilize 39:4 41:5     57:16 109:15 46:17 74:16        118:23 128:15
        156:8              100:1,15 101:5    visualized 134:6
                                                            88:5 97:13         147:20 148:4
       understand          101:15            vital 39:2,3   109:23 139:17      148:23
        23:19 26:11      utilized 41:24        40:23,24,25  143:3 144:15      weren't 13:13
        45:14 46:9,9     utilizing 102:21      41:1         152:16 153:9      West 3:5 158:20
        73:19 74:5                           vitals 57:7 68:20
                                                           water 22:16        whatever's
        96:5 115:9               V             77:6,10,15  waves 125:20        127:16
        144:21           V-tach 147:24         88:25 90:6  way 16:11 28:3     wide 13:8 24:21
       understanding       148:1               91:22 108:19 33:22 53:22        25:4
        73:4 95:7        vague 17:22         VMR 11:24      58:9,16 76:18     WILSON 3:18
       understands         58:5              VOLUME 1:19    83:11 93:19        158:2
        144:18           values 39:23          4:4          94:14 96:24       winded 127:9
       understood        varies 21:5         vs 1:7 158:5   132:1 140:9       wipe 120:21
        122:6            variety 7:18          159:3        147:16 148:9      wish 158:15
       underwent           8:14 13:8                        148:18            withhold 49:2
        13:19 25:22        16:17 18:7             W        we'll 48:12 55:4   witness 4:8 5:8
       unhealthy 21:11     24:21 25:4      W 3:21 158:4     94:24              47:6 58:20
       UNITED 1:1          40:21 58:2      Wade 1:9 3:9    we're 25:3 32:4     63:23 64:2,11
       unknown 65:22     various 13:3       113:24          33:25 36:22        64:14,16,16,19
        65:24              20:2,25 40:10 wait 29:13 33:16   44:9 48:8 50:8     64:23 69:1
       unoxygenated        40:15 43:10     waiting 122:24   50:15 54:16        116:15 119:16
        149:23             46:10 105:4      122:25          57:18 60:3         141:16 144:20
       unquote 57:6        117:18          waive 158:8,15   74:1,2,3 85:16    word 19:4 60:21
       unresponsive      vascular 97:1      158:21          95:12 96:11       words 143:11
        125:14,25          108:15          walk 114:3       104:20 106:6       144:15
       updated 49:19     vehicle 45:8 56:8 walking 40:16    107:6 116:24      work 6:23 7:22
       UPS 9:5 10:8,13   Venous 74:13      want 9:10 10:9   118:11 121:9       13:3,4,5 25:17
        10:23,25 11:2    ventilating        19:4 25:20      122:13,13          33:24 38:16
       usage 14:25         136:13           26:16 27:25     149:1 154:10       44:8 53:22
       use 13:8 14:18    ventilation        29:22,23 31:13 we've 38:17 48:8    56:19 73:2
        19:4 22:25         150:20           33:4,14 34:19   83:13 104:2        96:10 99:22
        25:4 36:12       ventured 9:4       44:20 46:7,8    120:23             106:24 119:9
        48:8 60:21       verbal 41:10       52:3 54:8 55:1 webbing 99:24       119:10 136:12
        94:5 97:9          67:18 69:17      67:8 72:8,8     100:2,16 101:5     150:5
        99:21 101:8,10     81:22 82:1,11    74:3 76:1,4,4   101:16 103:5      worked 5:24

                                  www.phippsreporting.com
                                       888-811-3408
Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 183 of
                                      184
                                                                                     Page 24

        151:22              121:6 131:14    27:17 34:17       1839 84:4          156:11,12
       working 6:2          137:16 138:6    39:11,22 50:23    1840 85:21,22      157:19 158:1,7
        7:25 9:5,7,8        144:3,14,20     51:5 58:1          85:24 87:8,8      159:4
        10:5,17,23          145:22 146:17   69:11 75:16        87:10 89:6       203-7592 3:20
        11:15 25:11         152:21 153:4    91:1 94:21         90:5             2139 3:4
        28:1 29:24          154:14          131:13 140:4,8    1843 88:21        2455 3:12
        32:4 36:10        year 5:20 9:18    140:15,22          89:23 90:4,6,8   25 40:13
        45:16 129:17        9:23 10:12,13   143:3              90:14 126:1,5    28 6:1 78:3
        149:19              10:21 12:18,19 11 36:23 37:24      135:9,12,12       86:20 89:15
       works 46:1           12:22 26:15     52:16,23 54:2     1848 136:1,2      29 65:11
       world 96:11,13       46:23           57:12 116:14      18th 156:12
       worn 127:13        years 8:9 10:7   11:06 54:11         157:19                  3
       worse 85:19          28:1 37:4      11:14 54:11        1920 147:1       3 4:16 33:5 55:5
       worsening            44:21 45:16    110 77:23                             55:7,10 56:10
        137:11              49:23,25 65:11 111 3:19 158:3             2          56:11 60:7
       worst 144:23         116:25         113 4:6            2 4:15 6:8,10,11   97:17 117:23
       wouldn't 35:3      young 150:6,9    11th 55:14 89:11     33:5 51:20       118:20 119:23
        102:10 139:19       150:17 152:24   114:16 117:15       52:2 56:23       143:23
        148:19                              153:2             2:16cv14413 1:3 30 22:16 71:20
       wound 134:8                Z        12 40:8 73:15        158:6 159:3      72:10,17,20,22
       write 55:9 71:1    Z 98:4            74:8              20 22:15 40:3      73:12 158:13
        71:6 118:2        zone 25:10       120 69:7             71:20 72:10,17 30-milligram
        124:19 143:2,6                     1200 3:19 158:3      72:20,22 73:12   36:13
                                  0                             73:16 74:8,9   301 55:15 56:9
        143:8 159:2                        1216 3:12
       writing 118:15     02/15/06 4:17    13 1:21 159:4        89:16            57:16 109:15
        141:2             05/11/14 4:16    13th 156:10        20- 36:13        32801 3:20
       written 16:12      06/17/14 4:15     158:7             200 34:6,16,17     158:4
        47:20 118:9                        142 4:23           200-E 158:19     33304 3:13
                                  1
        142:21                             144710 156:17      2001 10:10,11    33401 158:20
                          1 1:19,19 4:4,4                     2005 6:1 49:24   33402-3626 3:5
       wrong 24:10          4:13,23 32:16 155 157:9
        89:4                                                  2006 7:8 8:4,10 3626 3:5
                            33:1,4,10 38:7 1551 158:19          13:18 16:3
       wrote 62:24 78:8     38:11 48:10,13 156 4:7              48:24 49:24            4
        87:24 143:2         48:22 49:23    157 4:8
        144:8,11,21                                           2007 7:10 8:4,11 4 4:17 32:16,17
                            50:6,9 51:6,12 158 4:8              13:19 14:21      33:1,5,10,18
                            53:6,11,16     159 1:19 4:4,9
              X                                                 15:2             34:18 37:17
       X 4:2                69:5,21 107:1 16522 146:10        2009 49:25         38:7,8,11
       x-ray 96:21          124:9 142:4,14 1680 1:24          2010 50:15         42:16 43:1
                            146:5 154:18   17th 51:23
                                           18 90:7 124:9      2014 36:23         53:7,12,17,18
               Y            157:9                               37:24 50:17,18   53:23 58:8,15
                          1-0-0 140:23      158:1
       yeah 11:7,7                         1829 57:19           51:9,23 52:16    62:21 63:15
         19:20 29:22      1,000 25:15                           52:23 54:2       68:12 86:15,21
         34:8 38:6        1:18 1:21 155:4 1830 57:20,20         55:14 57:12      88:14 89:16
         49:20 54:9,25    10/11/18 156:17 1834 57:22            89:11 114:16     91:11,21 94:24
                          10/16/81 5:16    1836 124:10,15
         55:3 63:9 67:7                     126:4               116:14 117:16    95:2,4,5 104:2
         91:14 95:5       10:00 1:21 5:1                        153:2            106:6,14 107:1
                          100 1:24 11:5    1838 78:20,22
         104:5 105:2                        79:5              2017 1:21          107:4,7,14


                                   www.phippsreporting.com
                                        888-811-3408
Case 2:16-cv-14413-RLR Document 155-1 Entered on FLSD Docket 11/02/2017 Page 184 of
                                      184
                                                                        Page 25

         112:2,17 113:7     90:10 99:7
         135:8 138:2      6:43 72:6 89:12
       4-milligram        6:47 93:9,11
         32:20 34:11      6:48 93:12
         36:17 37:9,22
         37:24                   7
       4:00 11:8          7:20 147:3,4
       407 3:20
                                 8
       462-3200 3:13
       48 4:13                    9
               5          911 7:2 109:5
       5 4:6 15:22        94 39:11,22
         57:18 59:5       95 4:17
         98:14 123:18     954 3:13
         140:1
       5/11/2014 147:1
       50 69:5 107:3
       52 4:15
       55 4:16
       561)686-6300
         3:6
       5b 99:20
       5c 101:23
       5th 55:12
               6
       6 57:18 58:8,15
         59:5 60:7 72:6
         118:20 123:18
       6:36 69:21 70:1
         70:2,19,20,24
         71:2,10,11,18
         71:19 72:5,6,9
         73:11,21 75:15
         75:19,24 76:10
         77:6,7 80:10
         80:14,22 81:3
         81:7,13 85:16
         124:10
       6:38 77:22 79:15
         80:10 81:15
         86:19
       6:39 85:11
       6:40 86:2,14
         87:14,24 88:2
         88:22 89:12


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